           Case 2:19-bk-21521-NB                             Doc 100 Filed 10/30/19 Entered 10/30/19 16:37:00                               Desc
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 Fill in this information to identify the case:

 Debtor name         Tatung Company of America, Inc.

                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)         2:19-bk-21521-NB
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true
                                                                   e and
                                                                      nd
                                                                      n d correct.
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        Executed on          October 30, 2019                        X
                                                                         Signature
                                                                             ature
                                                                                 e of individual
                                                                                   o inndiv
                                                                                        dii idual signing on behalf of debtor
                                                                                        d

                                                                         Jason
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                                                                               Chen
                                                                                hen
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                                                                         Printed
                                                                              ed name

                                                                         Chief
                                                                            ef Restructuring Officer
                                                                         Position
                                                                              ion or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                    Central District of California - Los Angeles Division
 In re      Tatung Company of America, Inc.                                                                           Case No.       2:19-bk-21521-NB
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Andrew Sun                                                          Common Stock 875,000                                        25%
 3018 Manning Ave
 Los Angeles, CA 90064

 Christina Sun                                                       Common Stock 875,000                                        25%
 341 S. Anita Ave
 Los Angeles, CA 90049

 Tatung Company                                                      Common Stock 1,750,000                                      50%
 22 Chungshan N. Rd. Sec. 3
 Taipei, Taiwan


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date October 30, 2019                                                       Signature
                                                                                            Jason
                                                                                               on C
                                                                                                  Ch
                                                                                                  Chen
                                                                                                   hen

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None

I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at      Long Beach, CA                                    , California.
                                                                                                     Jason
                                                                                                     Jaso
                                                                                                        on Ch
                                                                                                           Chen
                                                                                                            hen
Date:            October 30, 2019                                                                    Signature
                                                                                                     Sign
                                                                                                        naattur
                                                                                                             u e of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
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 Fill in this information to identify the case:

 Debtor name            Tatung Company of America, Inc.

                                                               CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:                       DIVISION

 Case number (if known)               2:19-bk-21521-NB
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $      13,000,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      12,492,292.68

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      25,492,292.68


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      10,360,239.69


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $               7,614.29

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      36,564,964.53


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        46,932,818.51




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Tatung Company of America, Inc.

                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)         2:19-bk-21521-NB
                                                                                                                              Check if this is an
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Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                             $906.43



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   Bank of the West                                         Checking                     4362                                 $760,663.97




            3.2.   Bank of the West                                         Savings                      3414                                  $11,132.70




            3.3.   Bank of the West                                         Payroll                      3901                                    $3,384.67




            3.4.   East West Bank                                           Operating                    2986                                 $167,751.30




            3.5.   East West Bank                                           Control                      3869                                    $2,187.50




            3.6.   East West Bank                                           Euro                         0710                                 $108,358.53


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 1
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            3.7.     East West Bank                                         CAD                              0711                       $40,945.37




            3.8.     East West Bank                                         CD                               3400                      $212,878.90



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                   $1,308,209.37
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Security Deposit held by Doc Acquisition, LLC (landlord)                                                            $1,376.38



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Striko-Westofen-Dy (trade)                                                                                           $508.03




            8.2.     Chuangwei (trade)                                                                                                 $138,312.00




            8.3.     City Whitehorse (trade)                                                                                            $10,478.16




            8.4.     Senzhen Di Si Da (trade)                                                                                            $7,387.50




            8.5.     Modernsolid (trade)                                                                                                  $597.50




            8.6.     KYVAS (Trade)                                                                                                      $13,824.00




            8.7.     Darfon Electronics (trade)                                                                                         $66,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
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 Debtor            Tatung Company of America, Inc.                                                Case number (If known) 2:19-bk-21521-NB
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            8.8.     Hon Hai Precision (trade)                                                                                               $16,920.00



                     Insurance Premiums to Chubb & Son, Euler Hermes, First Insurance Funding Corp. and
            8.9.     Great American Insurance Co.                                                                                            $70,572.42



            8.10
            .    California Franchise Tax Board                                                                                                $1,600.00



            8.11
            .    Senzhen KTC Commercial (trade)                                                                                              $22,784.00



            8.12
            .    GA Department of Revenue                                                                                                        $799.00




 9.         Total of Part 2.                                                                                                            $351,158.99
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                        4,125,819.39    -                         1,031,454.85 = ....                $3,094,364.54
                                              face amount                           doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                          $3,094,364.54
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last           Net book value of         Valuation method used   Current value of
                                                      physical inventory         debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 19.        Raw materials


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Tatung Company of America, Inc.                                               Case number (If known) 2:19-bk-21521-NB
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           materials for gaming
           monitor production                         9/30/2019                    $1,495,586.33       Avg Cost                       $1,495,586.33



 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Monitors, consumer
           products, accessory etc.                   9/30/2019                    $4,567,453.42       Ave cost                       $4,567,453.42



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                       $6,063,039.75
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                       752,890.77 Valuation method         invoice price       Current Value         752,890.77

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer equipment                                                         $51,619.89       Book value                        $51,619.89


           Misc. office equipment                                                       $6,869.20      Book value                          $6,869.20


           Automobiles                                                                $11,491.53       Book value                        $11,491.53


           Leasehold interest in leased office equipment                              $29,442.39       Book value                        $29,442.39

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $99,423.01
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Leasehold interest in lease of
                     automobiles                                                      $24,183.38     Book value                          $24,183.38



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Machinery and equipment                                                   $271,320.14     Book value                         $271,320.14



 51.       Total of Part 8.                                                                                                       $295,503.52
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and             Net book value of        Valuation method used        Current value of
            property                                      extent of              debtor's interest        for current value            debtor's interest
            Include street address or other               debtor's interest      (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Commercial real
                     property located at
                     2850 East El Presidio
                     Street, Long Beach,
                     California 90810                     Fee simple                 $13,000,000.00       BOV                                $13,000,000.00




 56.        Total of Part 9.                                                                                                               $13,000,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                              1,124,142.50 -                                  0.00 =
            Loan owed by Andrew Sun                                   Total face amount        doubtful or uncollectible amount                $1,124,142.50



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 6
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 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Advance for purchases                                                                                                       $156,451.00




 78.       Total of Part 11.                                                                                                     $1,280,593.50
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 7
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 Debtor          Tatung Company of America, Inc.                                                                     Case number (If known) 2:19-bk-21521-NB
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $1,308,209.37

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $351,158.99

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,094,364.54

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $6,063,039.75

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $99,423.01

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $295,503.52

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $13,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $1,280,593.50

 91. Total. Add lines 80 through 90 for each column                                                       $12,492,292.68             + 91b.           $13,000,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $25,492,292.68




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
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            Case 2:19-bk-21521-NB                            Doc 100 Filed 10/30/19 Entered 10/30/19 16:37:00                                        Desc
                                                             Main Document    Page 13 of 163
 Fill in this information to identify the case:

 Debtor name          Tatung Company of America, Inc.

                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)              2:19-bk-21521-NB
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    EAST WEST BANK                                Describe debtor's property that is subject to a lien            $10,332,265.04            $13,000,000.00
        Creditor's Name                               Commercial real property located at 2850
                                                      East El Presidio Street, Long Beach,
        9300 FLAIR DRIVE, 6TH                         California 90810 and substantially all other
        FLOOR                                         assets of the Debtor
        EL MONTE, CA 91731
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    IBM CREDIT LLC                                Describe debtor's property that is subject to a lien                  $27,974.65                        $0.00
        Creditor's Name                               Certain equipment and software as specified
        ONE NORTH CASTLE                              in UCC-1 financing statement
        DRIVE
        ARMONK, NY 10504
        Creditor's mailing address                    Describe the lien
                                                      UCC Financing Statement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        9/30/2018                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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            Case 2:19-bk-21521-NB                            Doc 100 Filed 10/30/19 Entered 10/30/19 16:37:00                                        Desc
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 Debtor       Tatung Company of America, Inc.                                                          Case number (if know)       2:19-bk-21521-NB
              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        MEGA INTERNATIONAL
 2.3                                                                                                                             Unknown              Unknown
        COMMERCIAL BANK                               Describe debtor's property that is subject to a lien
        Creditor's Name                               For Notice Purposes Only
        445 S. FIGUEROA STREET,
        SUITE 1900
        LOS ANGELES, CA 90071
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.
                                                       Disputed


                                                                                                                               $10,360,239.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        69

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
         IBM Credit LLC
         7100 Highlands Parkway                                                                                Line   2.2
         Smyrna, GA 30082




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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            Case 2:19-bk-21521-NB                            Doc 100 Filed 10/30/19 Entered 10/30/19 16:37:00                                           Desc
                                                             Main Document    Page 15 of 163
 Fill in this information to identify the case:

 Debtor name         Tatung Company of America, Inc.

                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)          2:19-bk-21521-NB
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $549.45        $549.45
           B&T SALES LLC                                             Check all that apply.
           1772 CUPRITE COURT                                         Contingent
           CASTLE ROCK, CO 80108                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales Commission
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $264.75        $264.75
           BEST WESTERN INTERNATIONAL                                Check all that apply.
           P.O. BOX 53505                                             Contingent
           PHOENIX, AZ 85072-3505                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales Commission
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 62
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           Case 2:19-bk-21521-NB                             Doc 100 Filed 10/30/19 Entered 10/30/19 16:37:00                                          Desc
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 Debtor       Tatung Company of America, Inc.                                                                 Case number (if known)   2:19-bk-21521-NB
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $187.30      $187.30
          COASTAL SECURITY                                           Check all that apply.
          CONSULTANTS LLC                                             Contingent
          11712 NEVIS DRIVE                                           Unliquidated
          MIDLOTHIAN, VA 23114                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $364.10      $364.10
          COAXIAL SYSTEMS ASSOCIATES                                 Check all that apply.
          INC.                                                        Contingent
          3896 BURNS ROAD                                             Unliquidated
          SUITE 103                                                   Disputed
          PALM BEACH GARDENS, FL
          33410
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $860.30      $860.30
          CONNECTIVITY CONSULTANTS,                                  Check all that apply.
          INC.                                                        Contingent
          69 FLOYDS WAY                                               Unliquidated
          BLAIRSVILLE, GA 30512                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $55.89      $55.89
          DLS INTERNATIONAL                                          Check all that apply.
          3465 OLD MILL ROAD                                          Contingent
          HIGHLAND PARK, IL 60035                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 62
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 Debtor       Tatung Company of America, Inc.                                                                 Case number (if known)   2:19-bk-21521-NB
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $462.60      $462.60
          EHP SOLUTION (HAN BYUL KIM)                                Check all that apply.
          11845 W. OLYMPIC BLVD                                       Contingent
          SUITE 1100W                                                 Unliquidated
          LOS ANGELES, CA 90064                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          EMPLOYMENT DEVELOPMENT                                     Check all that apply.
          DEPT.                                                       Contingent
          BANKRUPTCY GROUP MIC 92E                                    Unliquidated
          P.O. BOX 826880                                             Disputed
          SACRAMENTO, CA 94280-0001
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          FRANCHISE TAX BOARD                                        Check all that apply.
          BANKRUPTCY SECTION, MS:                                     Contingent
          A-340                                                       Unliquidated
          P.O. BOX 2952                                               Disputed
          SACRAMENTO, CA 95812-2952
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          INTERNAL REVENUE SERVICE                                   Check all that apply.
          (IRS)                                                       Contingent
          P.O. BOX 7346                                               Unliquidated
          PHILADELPHIA, PA 19101-7346                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 62
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           Case 2:19-bk-21521-NB                             Doc 100 Filed 10/30/19 Entered 10/30/19 16:37:00                                          Desc
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 Debtor       Tatung Company of America, Inc.                                                                 Case number (if known)   2:19-bk-21521-NB
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $832.25      $832.25
          JCLEMENTE & ASSOCIATES                                     Check all that apply.
          13013 MESA GRAND DRIVE                                      Contingent
          YUCAIPA, CA 92399-5702                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00      $0.00
          LOS ANGELES COUNTY TAX                                     Check all that apply.
          COLLECTOR                                                   Contingent
          P.O. BOX 54110                                              Unliquidated
          LOS ANGELES, CA 90054-0110                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $463.80      $463.80
          METRO SALES GROUP LLC                                      Check all that apply.
          7 PILZ CT.                                                  Contingent
          SUSSEX, NJ 07461                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $31.35      $31.35
          MIDWEST MARKETING,INC                                      Check all that apply.
          1807 S WASHINGTON,INC                                       Contingent
          NAPERVILLE, IL 60565                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 62
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 Debtor       Tatung Company of America, Inc.                                                                 Case number (if known)   2:19-bk-21521-NB
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $82.67      $82.67
          NORTHEAST GROUP                                            Check all that apply.
          129 MORGAN DRIVE                                            Contingent
          1ST FLOOR                                                   Unliquidated
          NORWOOD, MA 02062                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $675.75      $675.75
          PGSA-WEST                                                  Check all that apply.
          24 WADESWORTH CIRCLE                                        Contingent
          BRAMPTON, AB L6Z 1W7                                        Unliquidated
          CA                                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $49.90      $49.90
          PINNACLE MARKETING                                         Check all that apply.
          P.O. BOX 815035                                             Contingent
          DALLAS, TX 75381                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,796.05      $1,796.05
          PMA MARKETING, INC.                                        Check all that apply.
          13940 CEDAR RD. #361                                        Contingent
          UNIVERSITY HEIGHTS, OH 44118                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Commission
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 62
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 Debtor        Tatung Company of America, Inc.                                                                Case number (if known)          2:19-bk-21521-NB
               Name

 2.19       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $391.10    $391.10
            R.L. GRAHAM ASSOCIATES                                   Check all that apply.
            5310 THOMPSON AVE.                                        Contingent
            KANSAS CITY, MO 64124-2238                                Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Sales Commission
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $547.03    $547.03
            REPWORKS, INC.                                           Check all that apply.
            654 A. NEW LUDLOW RD.                                     Contingent
            SOUTH HADLEY, MA 01075                                    Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Sales commission
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                         $0.00    $0.00
            STATE BOARD OF EQUALIZATION                              Check all that apply.
            ACCOUNT INFO GROUP, MIC:29                                Contingent
            P.O. BOX 942879                                           Unliquidated
            SACRAMENTO, CA 94279-0029                                 Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     For Notice Purposes Only
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $0.00
           3M TOUCH SYSTEMS                                                         Contingent
           P. O. BOX 846372                                                         Unliquidated
           DALLAS, TX 75284-6372                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $0.00
           6379.52                                                                  Contingent
           2006 SOUTH BAKER AVENUE                                                  Unliquidated
           ONTARIO, CA 91761                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 6 of 62
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 Debtor       Tatung Company of America, Inc.                                                         Case number (if known)            2:19-bk-21521-NB
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $141.04
          A-1 COAST RENTALS                                                   Contingent
          24000 CRENSHAW BLVD.                                                Unliquidated
          TORRANCE, CA 90505                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rental
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $198.00
          ABB INC.                                                            Contingent
          DEPT. 3009                                                          Unliquidated
          CAROL STREAM, IL 60132-3009                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,379.52
          ABLE INDUSTRIAL                                                     Contingent
          2006 SOUTH BAKER AVENUE                                             Unliquidated
          ONTARIO, CA 91761                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Gaming
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $574,761.74
          ACROX TECHNOLOGIES CO., LTD                                         Contingent
          4F., NO.89 MINSHAN ST., NEIHU DIST.,                                Unliquidated
          TAIPEI CITY 114                                                     Disputed
          TAIWAN
                                                                             Basis for the claim:    Trade-HP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ACT TEST PANELS LLC                                                 Contingent
          P.O. BOX 673954                                                     Unliquidated
          DETROIT, MI 48267-3954                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ACULA TECHNOLOGY CORP.
          11, ALLEY 21, LANE 20                                               Contingent
          DASHING RD., LUCHU DIST.                                            Unliquidated
          TAOYUAN CITY 33862                                                  Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $996.82
          ADP, INC.                                                           Contingent
          P.O. BOX 31001-1874                                                 Unliquidated
          PASADENA, CA 91110-1874                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Payroll Processing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AESA S.A.                                                           Contingent
          CHEMIN DE LA PLAINE 7                                               Unliquidated
          COLOMBIER CH-2013                                                   Disputed
          SWITZERLAND
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AJ ALARM SYSTEMS                                                    Contingent
          P.O. BOX 1069                                                       Unliquidated
          YORBA LINDA, CA 92885                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,745.60
          ALL NATION SECURITY SERVICE, INC.                                   Contingent
          3701 WILSHIRE BLVD #530                                             Unliquidated
          LOS ANGELES, CA 90010                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Security Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALLENLUND COMPANY, INC.                                             Contingent
          P.O. BOX 51083                                                      Unliquidated
          LOS ANGELES, CA 90051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALLIED ELECTRONICS INC.                                             Contingent
          P.O. BOX 2325                                                       Unliquidated
          FORT WORTH, TX 76113-2325                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALLIED SAFE & VAULT CO. INC.                                        Contingent
          425 WEST SECOND AVE.                                                Unliquidated
          SPOKANE, WA 99201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ALUMNI ASSOCIATION OF TAIPEI FIRST                                  Contingent
          GIRLS' HIGH SCHOOL                                                  Unliquidated
          P.O. BOX 803                                                        Disputed
          SAN GABRIEL, CA 91778
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          ALVIN RAMALI                                                        Contingent
          9071 COBBLESTONE LANE                                               Unliquidated
          CYPRESS, CA 90630                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,958.18
          AMERICAN EXPRESS                                                    Contingent
          BOX 0001                                                            Unliquidated
          LOS ANGELES, CA 90096-0001                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AMPHENOL(MARYLAND),INC. dba                                         Contingent
          WILCOXON                                                            Unliquidated
          29531 NETWORK PLACE                                                 Disputed
          CHICAGO, IL 60673-1295
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AMRC, LLC                                                           Contingent
          1225 PONCE DE LEON AVE., SUITE 1001                                 Unliquidated
          SAN JUAN 00907                                                      Disputed
          PUERTO RICO
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ANDERSON SHUMAKER COMPANY                                           Contingent
          824 SOUTH CENTRAL AVENUE                                            Unliquidated
          CHICAGO, IL 60644                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AON RISK SERVICES                                                   Contingent
          P. O. BOX 849832                                                    Unliquidated
          LOS ANGELES, CA 90084-9832                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,080.00
          ARDENT LAW GROUP, PC                                                Contingent
          4340 VON KARMAN AVE,                                                Unliquidated
          SUITE 290                                                           Disputed
          NEWPORT BEACH, CA 92660
                                                                             Basis for the claim:    Consulting
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ARIZONA DEPT. OF REVENUE                                            Contingent
          P.O. BOX 29082                                                      Unliquidated
          PHOENIX, AZ 85038-9082                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ASKEW INDUSTRIAL CORP                                               Contingent
          13071 ARCTIC CIRCLE                                                 Unliquidated
          SANTA FE SPRING, CA 90670                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AT&T                                                                Contingent
          P. O. BOX 5025                                                      Unliquidated
          CAROL STREAM, IL 60197-5025                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AT&T                                                                Contingent
          P. O. BOX 5019                                                      Unliquidated
          CAROL STREAM, IL 60197-5019                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,201.71
          AT&T                                                                Contingent
          P.O. BOX 105262                                                     Unliquidated
          ATLANTA, GA 30348-5262                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AU OPTRONICS CORPORATION                                            Contingent
          1 LI-HSIN RD. 2, HSINCHU SCIENCE PARK,                              Unliquidated
          HSINCHU 300                                                         Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BAEYEUN SONG                                                        Contingent
          4216 PAYNE ROAD                                                     Unliquidated
          PLEASANTON, CA 94588                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BANK OF THE WEST-#0766-MICHELLE                                     Contingent
          BANKCARD CENTER                                                     Unliquidated
          PO BOX 4025                                                         Disputed
          ALAMEDA, CA 94501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BANK OF THE WEST-#5576-AMY                                          Contingent
          OLD NUMBER #3536 FEB 2019 ENDED                                     Unliquidated
          PO BOX 4025                                                         Disputed
          ALAMEDA, CA 94501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BANK OF THE WEST-#6837-BING                                         Contingent
          BANKCARD CENTER                                                     Unliquidated
          PO BOX 4025                                                         Disputed
          ALAMEDA, CA 94501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BANK OF THE WEST-#9005-EDDIE                                        Contingent
          BANKCARD CENTER                                                     Unliquidated
          PO BOX 4025                                                         Disputed
          ALAMEDA, CA 94501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BAUMER LTD.                                                         Contingent
          DEPT. 106099                                                        Unliquidated
          P.O. BOX 150468                                                     Disputed
          HARTFORD, CT 06115-0468
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,233.00
          BELDEN INC.                                                         Contingent
          28884 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1288                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BEST CHOICE FIRE PROTECTION CO.                                     Contingent
          10104 ARTESIA PLACE                                                 Unliquidated
          BELLFOWER, CA 90706                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,124.00
          BI-SEARCH INTERNATIONAL INC.                                        Contingent
          17550 GILLETE AVENUE                                                Unliquidated
          IRVINE, CA 92614                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Gaming
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BIZLINK TECHNOLOGY, INC.                                            Contingent
          47211 BAYSIDE PARKWAY                                               Unliquidated
          FREMONT, CA 94538                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $80.00
          BLUE CHIP PEST CONTROL, INC.                                        Contingent
          16691 GOTHARD ST., SUITE H                                          Unliquidated
          HUNTINGTON BEACH, CA 92647                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repair & Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BOARD OF EQUALIZATION                                               Contingent
          ENVIRONMENT FEES DIVISION                                           Unliquidated
          P. O. BOX 942879                                                    Disputed
          SACRAMENTO, CA 94279-6001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BOTTOMLINE TECHNOLOGIES (DE) INC.                                   Contingent
          P.O. BOX 412377                                                     Unliquidated
          BOSTON, MA 02241-2377                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $280.00
          BOYD CORPORATION                                                    Contingent
          P. O. BOX 740877                                                    Unliquidated
          LOS ANGELES, CA 90074-0877                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Gaming
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BROOKS INTERNET SOFTWARE, INC.                                      Contingent
          356 W. SUNNYSIDE, SUITE A                                           Unliquidated
          IDAHO FALLS, ID 83402-4615                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BROWNELL LTD.                                                       Contingent
          UNIT 2, ABBEY ROAD, PARK ROYAL                                      Unliquidated
          LONDON NW10 7XF                                                     Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BULL WILL CO. LTD.                                                  Contingent
          3F. NO.199, RUIHU ST.,                                              Unliquidated
          NEIHU DIST, TAIPEI 114                                              Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BUREAU OF ELECTRONIC & APPLIANCE
          REPAIR
          STATE OF CALIFORNIA                                                 Contingent
          DEPARTMENT OF CONSUMER AFFAIRS                                      Unliquidated
          P. O. BOX 942512                                                    Disputed
          WEST SACRAMENTO, CA 94258-0512
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CAL-LIFT, INC.                                                      Contingent
          13027 CROSSROADS PARKWAY SOUTH                                      Unliquidated
          CITY OF INDUSTRY, CA 91746                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CALIFORNIA DEPARTMENT OF TAX AND
          FEE
          ADMINISTRATION, RETURN PROCESSING                                   Contingent
          BRANCH                                                              Unliquidated
          P.O. BOX 942879                                                     Disputed
          SACRAMENTO, CA 94279-6001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $648.49
          CALIFORNIA WATER SERVICE COMPANY                                    Contingent
          P. O. BOX 51967                                                     Unliquidated
          LOS ANGELES, CA 90051-6267                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CaswStack                                                           Contingent
          P.O. BOX 95045                                                      Unliquidated
          CHICAGO, IL 60694-5045                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 Debtor       Tatung Company of America, Inc.                                                         Case number (if known)            2:19-bk-21521-NB
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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CBM SYSTEMS INC.                                                    Contingent
          1599 MONTE VISTA AVE                                                Unliquidated
          CLAREMONT, CA 91711                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CENTRAL CALIFORNIA FLUID SYSTEM                                     Contingent
          TECH INC                                                            Unliquidated
          325 BALBOA CIRCLE                                                   Disputed
          CAMARILLO, CA 93012
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $636.86
          CENTRAL TRANSPORT LLC                                               Contingent
          P.O. BOX 33299                                                      Unliquidated
          DETROIT, MI 48232-5299                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Feight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHAOZHOU STONESONIC DIGITAL
          WEST OF 2ND FLOOR (FACTORY
          BUILDING)
          LOT D5-3.1 HZQH TECHZZONE,                                          Contingent
          CHAOZHOU,                                                           Unliquidated
          GUANGDONG PROVINCE, 521000                                          Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,101.58
          CHEETAH EXPRESS INC.                                                Contingent
          835 GREENLEAF AVE,                                                  Unliquidated
          ELK GROVE                                                           Disputed
          VILLAGE, IL 60007
                                                                             Basis for the claim:    Trade-Export
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHEN-SOURCE INC.
          NO.50-16, SEC.1, MINSHENG N.RD,                                     Contingent
          GUISHAN                                                             Unliquidated
          DISTRICT, TAOYUAN CITY 33391                                        Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHIEFWAY TECHNOLOGY CO., LTD.
          18 FL-7 NO. 109, SECTION 1, ZHONGSHAN                               Contingent
          RD                                                                  Unliquidated
          XIN ZHUANG CITY, TAIPEI COUNTY                                      Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHINA TRADERITE COMPANY LMITIED                                     Contingent
          RM A,81F,SUCCESS COMMERICAL BLDG.                                   Unliquidated
          245-251 HENNESSY RD., WANCHAI                                       Disputed
          HONG KONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHINESE CONSUMER YELLOW PAGES                                       Contingent
          3940 ROSEMEAD BLVD.                                                 Unliquidated
          ROSEMEAD, CA 91770                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHINESE OVERSEAS MARKETING SVC INC                                  Contingent
          C.O.M.S.C                                                           Unliquidated
          3940 ROSEMEAD BLVD                                                  Disputed
          ROSEMEAD, CA 91770
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHROMALOX INC.                                                      Contingent
          P.O. BOX 536435                                                     Unliquidated
          ATLANTA, GA 30353-6435                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHUBB & SON                                                         Contingent
          P.O. BOX 382001                                                     Unliquidated
          PITTSBURGH, PA 15250-8001                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CHUNGHSIN TECHNOLOGY CO., LTD
          618-2 # GONGREN WEST ROAD,TIAOJIANG                                 Contingent
          AREA                                                                Unliquidated
          TAIZHOU, ZHEJIANG, 318000                                           Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CIM USA, INC.                                                       Contingent
          10813 N. W. 30TH STREET, SUITE 108                                  Unliquidated
          MIAMI, FL 33172                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CITY OF CARSON
          BUSINESS LICENSE DIVISION                                           Contingent
          701 E. CARSON STREET                                                Unliquidated
          P. O. BOX 6234                                                      Disputed
          CARSON, CA 90749-6234
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CITY OF LOS ANGELES                                                 Contingent
          P.O. BOX 30420                                                      Unliquidated
          LOS ANGELES, CA 90030                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CITY OF LOS ANGELES BUSINESS TAX                                    Contingent
          OFFICE OF FINANCE                                                   Unliquidated
          P. O. BOX 513996                                                    Disputed
          LOS ANGELES, CA 90051-3996
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CITY OF PHILADELPHIA                                                Contingent
          REVENUE DEPARTMENT                                                  Unliquidated
          P.O. BOX 1630                                                       Disputed
          PHILADELPHIA, PA 19105-1630
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CLERK OF THE COURT, SUPERIOR COURT
          OF                                                                  Contingent
          CALIFORNIA, COUNTY OF ORANGE                                        Unliquidated
          P.O. BOX 6040                                                       Disputed
          NEWPORT BEACH, CA 92658-6040
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          COMMERCE TECHNOLOGIES, LLC DBA                                      Contingent
          COMMERCEHUB                                                         Unliquidated
          25736 NETWORK PLACE                                                 Disputed
          CHICAGO, IL 60673-1257
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          COMPLETE COPY SYSTEMS                                               Contingent
          3300 BEVERLY BLVD.                                                  Unliquidated
          LOS ANGELES, CA 90004                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CONNELL BROS. CO. LLC                                               Contingent
          345 CALIFORNIA ST., 27TH FLOOR                                      Unliquidated
          SAN FRANCISCO, CA 94104                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CONTRACTORS STATE LICENSE BOARD                                     Contingent
          REGISTRAR OF CONTRACTORS                                            Unliquidated
          P. O. BOX 26000                                                     Disputed
          SACRAMENTO, CA 95826
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          COPIER EXPRESS                                                      Contingent
          17128 COLIMA ROAD SUITE 812                                         Unliquidated
          HACIENDA HEIGHTS, CA 91745                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CRAFTECH INTERNAITONAL, INC.                                        Contingent
          7042 KEARNY DR.                                                     Unliquidated
          HUNTINGTON BEACH, CA 92648                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,787.36
          CRESYN CO., LTD.                                                    Contingent
          8-11 JAM WON-DONG, SEECHO-GU,                                       Unliquidated
          SEOUL, REPUBLIC OF KOREA #137-902                                   Disputed
          SOUTH KOREA
                                                                             Basis for the claim:    Trade-HP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CUMMINS BUSINESS SERVICES (CBS)                                     Contingent
          2931 ELM HILL PIKE                                                  Unliquidated
          NASHVILLE, TN 37214                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CX & B UNITED CORP.                                                 Contingent
          1301 W. 253RD STREET                                                Unliquidated
          HARBOR CITY, CA 90710                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DAL (DISPLAY AND LIFE)
          5TH FL.55, DAEGO B/D, 212
          PYUNGCHO-DAERO                                                      Contingent
          DONGAN-GU. ANYANG-CITY, GYUNGGI-DO                                  Unliquidated
          431-815                                                             Disputed
          KOREA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $270.00
          DANOTECH CO., LTD.
          28F,NO.37,SEC. 2 SANMIN RD. BANQIAO                                 Contingent
          DIST                                                                Unliquidated
          NEW TAIPEI, 230                                                     Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:    Trade-Gaming
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DARFON ELECTRONICS CORP.                                            Contingent
          33341 NO.167 SHANGYING RD. GUEISHAN                                 Unliquidated
          TAOYUAN                                                             Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,872.53
          DAYLIGHT TRANSPORT, LLC                                             Contingent
          P.O. BOX 93155                                                      Unliquidated
          LONG BEACH, CA 90809                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DENTAL HEALTH SERVICES                                              Contingent
          3833 ATLANTIC AVE.                                                  Unliquidated
          LONG BEACH,, CA 90807                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DEPARTMENT OF TOXIC SUBSTANCES
          CONTROL                                                             Contingent
          ACCOUTING UNIT                                                      Unliquidated
          P. O. BOX 1288                                                      Disputed
          SACRAMENTO, CA 95812-1288
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.98
          DIGI-KEY Electronics 37528                                          Contingent
          P.O. BOX 250                                                        Unliquidated
          THIEF RIVER FALLS, MN 56701-0250                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Gaming
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DKSH AUSTRALIA PTY LTD.                                             Contingent
          14-17, DANSU COURT                                                  Unliquidated
          HALLAM, VIC 3803                                                    Disputed
          AUSTRALIA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DMV                                                                 Contingent
          P.O. BOX 942894                                                     Unliquidated
          SACRAMENTO, CA 94294-0894                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DN CASTECH                                                          Contingent
          SURVEY NO. 86, NH-27, AT-SHAPAR                                     Unliquidated
          RAJKOT, GUGJARAT 60024                                              Disputed
          INDIA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DOC ACQUISITION, LLC                                                Contingent
          2937 SW 27TH AVE, SUITE 202                                         Unliquidated
          MIAMI, FL 33133                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $900.00
          DONGGUAN SAMPO ELECTRONIC CO.,
          LTD.
          BUILDING B, SINTAVE INDUSTRIAL PARK,
          LUNDU ROAD, QISHA VILLAGE, SHATIAN                                  Contingent
          TOWN,                                                               Unliquidated
          DONGGUAN CITY                                                       Disputed
          CHINA, CN
                                                                             Basis for the claim:    Trade-Gaming
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DOW CHEMICAL PACIFIC LTD.                                           Contingent
          47/F, SUN HUNG KAI CENTRE                                           Unliquidated
          30 HARBOUR ROAD                                                     Disputed
          WAN CHAI, HK
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DSTAR TECHNOLOGY CO., LTD.
          SEAT 5, ZONE 2 FUQIAO INDUSTRIAL
          PARK,                                                               Contingent
          FUYONG TOWN, BAOAN DISTRICT,                                        Unliquidated
          SHENZHEN, GUANGDONG, 518128                                         Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DULUTH OFFICE CENTER OWNERS, LLC                                    Contingent
          P.O. BOX 161363                                                     Unliquidated
          ATLANTA, GA 30321-1363                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          DUN & BRADSTREET CREDIBILITY CORP.                                  Contingent
          P.O. BOX 742138                                                     Unliquidated
          LOS ANGELES, CA 90074-2138                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,139.20
          DUPONT SPECIALTY PRODUCTS USA, LLC                                  Contingent
          PO BOX 101727                                                       Unliquidated
          PASADENA, CA 91189-1727                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,587.85
          DWYER INSTRUMENTS, INC.                                             Contingent
          P.O. BOX 338                                                        Unliquidated
          MACHIGAN CITY, IN 46361                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,790.00
          E-CENTURY TECHNICAL & INDUSTRIAL
          CORP.                                                               Contingent
          NO. 50, JIANSAN RD.                                                 Unliquidated
          JHONGHE CITY                                                        Disputed
          TAIPEI COUNTY ROC
                                                                             Basis for the claim:    Trade-HP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          E.I. DU PONT DE NEMOURS & COMPANY                                   Contingent
          P.O. BOX 101727                                                     Unliquidated
          PASADENA, CA 91189-1727                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EAST BEST LLC                                                       Contingent
          1016 MONTANA DRIVE                                                  Unliquidated
          CHARLOTTE, NC 28216                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EASY MOVER INC.                                                     Contingent
          1847 LITTLE ORCHARD STREET                                          Unliquidated
          SAN JOSE, CA 95125-1038                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EBERLE CONTROLS GMBH                                                Contingent
          KLINGENHOFSTRASSE 71                                                Unliquidated
          NUERNBERG 90411                                                     Disputed
          GERMANY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ECCO/GREGORY, INC.                                                  Contingent
          P.O. BOX 5210                                                       Unliquidated
          WEST CHESTER, PA 19380                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ECONOMY RENTALS INC.                                                Contingent
          5511 E. WHITTIER BLVD.                                              Unliquidated
          E. LOS ANGELES, CA 90022                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EDOM TECHNOLOGY CO. LTD.                                            Contingent
          8F, NO.50, LANE 10, KEE HU ROAD, NEI HU                             Unliquidated
          TAIPEI, 114                                                         Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EGC ENTERPRISES, INC.                                               Contingent
          140 PARKER COURT                                                    Unliquidated
          CHARDON, OH 44024-1112                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EHP SOLUTIONS AKA EHP                                               Contingent
          INTERNATIONAL INC.                                                  Unliquidated
          11845 W. OLYMPIC BLVD SUITE 1100W                                   Disputed
          LOS ANGELES, CA 90064
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $752.25
          EIS, INC.
          ELECTRICAL INSULATION SUPPLIES, INC.                                Contingent
          FILE 98059                                                          Unliquidated
          P.O. BOX 98059                                                      Disputed
          CHICAGO, IL 60693-8059
                                                                             Basis for the claim:    Trade-Export
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $725.00
          ELECTRO STATIC TECHNOLOGY - ITW INC.                                Contingent
          33442 TREASURY CENTER                                               Unliquidated
          CHICAGO, IL 60694-3400                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ELLIOTT ELECTRIC SUPPLY                                             Contingent
          P.O. BOX 206524                                                     Unliquidated
          DALLAS, TX 75320-6524                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $964.20
          ELWOOD STAFFING SERVICES, INC.                                      Contingent
          P.O. BOX 1024                                                       Unliquidated
          COLUMBUS, IN 47202-1024                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Temp Agency
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $68,431.64
          EMERSON CLIMATE TECHNOLOGIES
          (SUZHOU) CO. LTD.                                                   Contingent
          NO.69 SUHONG WEST RAOD,                                             Unliquidated
          SUZHOU INDL. PARK, JIANGSU, 215021                                  Disputed
          CHINA
                                                                             Basis for the claim:    Trade-Export
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EMERSON CLIMATE TECHNOLOGIES, INC.                                  Contingent
          1675 WEST CAMPBELL ROAD                                             Unliquidated
          SIDNEY, OH 45365-0669                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,604.72
          EMERSON ELECTRIC (THAILAND) LTD.
          24 MOO 4. TAMBOL PLUAKDAENG                                         Contingent
          AMPHUR PLAUKDAENG,                                                  Unliquidated
          RAYONG 21140                                                        Disputed
          THAILAND
                                                                             Basis for the claim:    Trade-Export
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EMKA INC.                                                           Contingent
          1961 FULLING MILL RD                                                Unliquidated
          MIDDLETOWN, PA 17057                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ERICO LIMITED                                                       Contingent
          16 WAN LEE ROAD                                                     Unliquidated
          SINGAPORE 627946                                                    Disputed
          SINGAPORE
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $371.24
          ESSEX GROUP INC.                                                    Contingent
          P.O. BOX 90413                                                      Unliquidated
          CHICAGO, IL 60696-0413                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EULER HERMES ACI                                                    Contingent
          800 RED BROOK BLVD.                                                 Unliquidated
          OWINGS MILLS, MD 21117-1008                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EX INDUSTRIES                                                       Contingent
          22755-F SAVI RANCH PARKWAY                                          Unliquidated
          YORBA LINDA, CA 92887                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EXODUS DIRECT,LLC.                                                  Contingent
          P.O. BOX 695                                                        Unliquidated
          INDIANOLA, IA 50125-0695                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EXPERIAN                                                            Contingent
          P.O. BOX 881971                                                     Unliquidated
          LOS ANGELES, CA 90088-1971                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EXPO TECHNOLOGIES, INC.                                             Contingent
          9140 RAVENNA ROAD - UNIT #3                                         Unliquidated
          TWINSBURG, OH 44087                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EXPRESS LINE CORPORATION                                            Contingent
          901 WEST ARBOR VITAE ST.,                                           Unliquidated
          INGLEWOOD, CA 90301                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          F & L Petroleum Products                                            Contingent
          1543 W.16TH STREET                                                  Unliquidated
          LONG BEACH, CA 90813                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FABRICATION TECHNOLOGIES, INC.                                      Contingent
          1925 ENTERPRISE CT.,                                                Unliquidated
          LIBERTYVILLE, IL 60048                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $179,390.64
          FABRIQUE, LTD.                                                      Contingent
          28 SCHOOL STREET                                                    Unliquidated
          BRANFORD, CT 06405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-HP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FARBWERKE HERKULA SA/AG                                             Contingent
          FRIEDENSSTR.21                                                      Unliquidated
          SAINT-VITH, BELGIUM 4780                                            Disputed
          BELGIUM
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $470.00
          FASTLINK LOGISTICS                                                  Contingent
          4909 LAKEWOOD BLVD., SUITE# 401                                     Unliquidated
          LAKEWOOD, CA 90712                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,767.05
          FEDERAL EXPRESS CORPORATION                                         Contingent
          P.O. BOX 7221                                                       Unliquidated
          PASADENA, CA 91109-7321                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FEDERAL LOGISTICS, INC.                                             Contingent
          P.O. BOX 2370                                                       Unliquidated
          FRISCO, TX 75034                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $457.08
          FEDEX FREIGHT WEST, INC.                                            Contingent
          DEPT. LA                                                            Unliquidated
          P.O. BOX 21415                                                      Disputed
          PASADENA, CA 91185-1415
                                                                             Basis for the claim:    Freight
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $347.44
          FEDEX FREIGHT WEST, INC.                                            Contingent
          DEPT. LA                                                            Unliquidated
          P.O. BOX 21415                                                      Disputed
          PASADENA, CA 91185-1415
                                                                             Basis for the claim:    Freight
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $290.00
          FEFAN TECHNOLOGY CO., LTD.
          4F-1, NO.57 37TH RD,
          TAICHUNG INDUSTRIAL PARK, XITUN                                     Contingent
          DISTRICT                                                            Unliquidated
          TAICHUNG CITY 407                                                   Disputed
          TAIWAN
                                                                             Basis for the claim:    Trade-Gaming
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FINNITA FREE, INC.                                                  Contingent
          P.O. BOX 2741                                                       Unliquidated
          NEWPORT BEACH, CA 92659                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FIRST INSURANCE FUNDING CORP.                                       Contingent
          P.O. BOX 7000                                                       Unliquidated
          CAROL STREAM, IL 60197-7000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FIRST SHRIJI HOSPITALITY                                            Contingent
          1461 WEST TALLYHO CT.                                               Unliquidated
          #3E                                                                 Disputed
          ADDISON, IL 60101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FLORIDA DEPT. OF REVENUE                                            Contingent
          5050 W. TENNESSEE ST.,                                              Unliquidated
          BLDG. K                                                             Disputed
          TALLAHASSEE, FL 32399-0125
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FOSHAN SHUNDE MIDEA ELECTRICAL
          HEATING
          APPLIANCES MANUFACTURING COMPANY
          LTD.
          NO. 19 SANLE RD, BEIJIAO, SHUNDE,                                   Contingent
          FOSHAN                                                              Unliquidated
          GUANGDONG, P.R. CHINA                                               Disputed
          CHINA 00052-8311
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FREEMAN COMPANY                                                     Contingent
          8201 W. 47TH STREET                                                 Unliquidated
          MCCOOK, IL 60525                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,869.00
          FREIGHT CONNECTION                                                  Contingent
          318 AVENUE I, SUITE 199                                             Unliquidated
          REDONDO BEACH, CA 90277                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GALCO INDUSTRIAL ELECTRONICS                                        Contingent
          26010 PINEHURST DRIVE                                               Unliquidated
          MADISON HEIGHTS, MI 48071                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GALLANT RISK & INSURANCE SERVICES,
          INC.                                                                Contingent
          4160 TEMESCAL CANYON ROAD, SUITE#                                   Unliquidated
          402                                                                 Disputed
          CORONA, CA 92883
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GALLS, LLC                                                          Contingent
          P. O. BOX 71628                                                     Unliquidated
          CHICAGO, IL 60694-1628                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GAMESMAN LIMITED
          UNIT 6 CROMPION FIELDS CROMPION WAY                                 Contingent
          CRAWLEY, WEST SUSSEX RH10 9QB,                                      Unliquidated
          ENGLAND                                                             Disputed
          ENGLAND
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GANZHOU DEHUIDA TECHNOLOGY CO.
          LTD
          DEHUIDA SCIENCE AND TECHNOLOGY
          PARK                                                                Contingent
          HUOYANSHAN ROAD, ANYUAN DISTRICT,                                   Unliquidated
          GANZHOU CITY JIANGXI PROVINCE 342100                                Disputed
          P.R. CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GE POWER SWEDEN AB                                                  Contingent
          FINNSLATTEN, HUS 350                                                Unliquidated
          SE-721 76 VASTARDS                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GEORGIA DEPARTMENT OF REVENUE                                       Contingent
          PROCESSING CENTER                                                   Unliquidated
          P.O. BOX 105136                                                     Disputed
          ATLANTA, GA 30348-5136
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GEORGIA SECRETARY OF STATE                                          Contingent
          2 MLK, JR.DR. SUITE 313                                             Unliquidated
          DLOYD WEST TOWER                                                    Disputed
          ATLANTA, GA 30334-1530
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,595.60
          GEXPRO                                                              Contingent
          P.O. BOX 743448                                                     Unliquidated
          LOS ANGELES, CA 90074-3448                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,636.80
          GGEC HONG KONG LIMTED
          UNIT# 7-12, 6/F, STERLING CENTRE,
          11 CHEUNG YUE STREET, CHEUNG SHA                                    Contingent
          WAN                                                                 Unliquidated
          KOWLOON 0000                                                        Disputed
          HONG KONG
                                                                             Basis for the claim:    Trade-HP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,071.13
          GIBSON, DUNN & CRUTCHER, LLP                                        Contingent
          P.O. BOX 840723                                                     Unliquidated
          LOS ANGELES, CA 90084-0723                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GLEN MILLS INC.                                                     Contingent
          220 DELAWANNA AVE                                                   Unliquidated
          CLIFTON, NJ 07014                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $897.21
          GLOBAL EXCHANGE SERVICES
          C/O JP MORGAN                                                       Contingent
          LOCK BOX 29144                                                      Unliquidated
          NETWORK PLACE                                                       Disputed
          CHICAGO, IL 60673-1291
                                                                             Basis for the claim:    EDI Service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GM ROOFING aka GLM CAPITAL                                          Contingent
          CORPORATION                                                         Unliquidated
          P. O. BOX 3908                                                      Disputed
          SEAL BEACH, CA 90740
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GO IRON WORK'S INC.                                                 Contingent
          21106 S. ALAMEDA ST.,                                               Unliquidated
          CARSON, CA 90810                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GONZALEZ, SONYA                                                     Contingent
          1033 S. BLUFF RD. APT.6                                             Unliquidated
          MONTEBELLO, CA 90640                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GORDON & REES, LLP                                                  Contingent
          275 BATTERY STREET, 20TH FLOOR                                      Unliquidated
          SAN FRANCISCO, CA 94111                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GOVERNORS AMERICA CORP.                                             Contingent
          720 SILVER STREET                                                   Unliquidated
          AGAWAM, MA 01001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GRAINGER, INC.                                                      Contingent
          DEPT. 840515027                                                     Unliquidated
          PALATINE, IL 60038-0001                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GREAT AMERICAN INSURANCE CO.                                        Contingent
          P.O. BOX 89400                                                      Unliquidated
          CLEVELAND, OH 44101-6400                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GUANGDONG GALANZ MICROWAVE
          ELECTRICAL
          APPLIANCES MANUFACTURING CO., LTD.
          NO.3 XINGPU AVENUE, HUANGPU TOWN,                                   Contingent
          ZHONGSHAN CITY, GUANGDONG                                           Unliquidated
          PROVINCE                                                            Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GUANGDONG ZHANJIANG HOUSEHOLD
          ELECTRIC
          APPLIANCES INDUSTRIAL CO., LTD.
          77 LONGGUANG ROAD,LONGTOU                                           Contingent
          INDUSTRIAL ZON                                                      Unliquidated
          ZHANGJIANG, GUANGDONG 524054                                        Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAJOCA CORPORATION                                                  Contingent
          P.O. BOX 934752                                                     Unliquidated
          ATLANTA, GA 31193-4752                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
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 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HANSFORD SENSORS USA, INC.                                          Contingent
          2240 HWY 292                                                        Unliquidated
          INMAN, SC 29349                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAWK RIDGE SYSTEMS                                                  Contingent
          575 CLYDE AVENUE, SUITE 420                                         Unliquidated
          MOUNTAIN VIEW, CA 94043                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HAWKER ELECTRONICS LTD.
          57 THE AVENUE                                                       Contingent
          RUBERY INDUSTRIAL ESTATE                                            Unliquidated
          BIRMINGHAM B45 9AL                                                  Disputed
          UNITED KINGDOM, UK
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HEALTH NET OF CALIFORNIA INC.                                       Contingent
          FILE #52617                                                         Unliquidated
          LOS ANGELES, CA 90074-2617                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HEATHMAN HOTEL KIRKLAND                                             Contingent
          220 KIRKLAND AVE.,                                                  Unliquidated
          KIRKLAND, WA 98033                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,000,000.00
          HEMLOCK SEMICONDUCTOR OPERATIONS                                    Contingent
          12334 GEDDES ROAD                                                   Unliquidated
          ATTN: CFO
          HEMLOCK, MI 48626                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HITACHI METALS TAIWAN, LTD.                                         Contingent
          11F,NO.9 XIANGYANG RD.                                              Unliquidated
          ZHONGZHENG DISTRICT, TAIPEI CITY                                    Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HMR ASSOCIATES LLC                                                  Contingent
          4366 BRODDOCK TRAIL                                                 Unliquidated
          EAGAN, MN 55123-1980                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HOME EASY INDUSTRIAL CO., LTD.
          FLAT/RM 1.7/F, ROYAL COMMERCIAL                                     Contingent
          CENTRE                                                              Unliquidated
          56 PARKES STREET, JORDAN                                            Disputed
          HONG KONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HON HAI PRECISION INDUSTRY CO. LTD.
          66 CHUNG SHAN RD., TU-CHENG                                         Contingent
          INDUSTRIAL                                                          Unliquidated
          DISTRICT, TAIPEI HSIEN                                              Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HONG CHANG PRECISION INDUSTRIAL CO.
          LTD                                                                 Contingent
          NO.88, ERJIA RD., YINGGE DIST.,                                     Unliquidated
          NEW TAIPEI CITY 239                                                 Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HONGKONG WANGLU TECHNOLOGY
          LIMITED                                                             Contingent
          FLAT/RM A8 9/F SILVERCORP INT                                       Unliquidated
          TOWER 707-713 NATHAN RD MONGKOK KL                                  Disputed
          HONG KONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HRDIRECT                                                            Contingent
          P.O. BOX 669390                                                     Unliquidated
          POMPANO BEACH, FL 33066-9390                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HSIEH CHIH INDUSTRIAL LIBRARY
          PUBLISHING                                                          Contingent
          COMPANY                                                             Unliquidated
          22 CHUNGSHAN N. RD., 3RD SEC., TAIPEI,                              Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
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 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          HUBBELL POWER SYSTEMS, INC.                                         Contingent
          DEPT. 1210                                                          Unliquidated
          P.O. BOX 121210                                                     Disputed
          DALLAS, TX 75312-1210
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          IBM CORPORATION                                                     Contingent
          P. O. BOX 740867                                                    Unliquidated
          ATLANTA, GA 30374-0867                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          IMERYS FUSED MINERALS GREENEVILLE,                                  Contingent
          INC.                                                                Unliquidated
          P.O. BOX 117175                                                     Disputed
          ATLANTA, GA 30368
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          IMPRESSIONS WHQ, INC.                                               Contingent
          2330 COMMERCIAL BLVD., SUITE 600                                    Unliquidated
          STATE COLLEGE, PA 16821                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,697.92
          INPRO/SEAL LLC                                                      Contingent
          16185 COLLECTIONS CENTER DR.                                        Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          INT'L SECURITY CONFERENCE &
          EXPO/WEST                                                           Contingent
          C/O RELX INC. DBA REED EXHIBITIONS                                  Unliquidated
          P.O. BOX 9599                                                       Disputed
          NEW YORK, NY 10087-4599
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          INTEGRO USA INC.                                                    Contingent
          P.O. BOX 101805                                                     Unliquidated
          PASADENA, CA 91189-1805                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          INTELLIGENT SYSTEMS MARKETING (ISM)                                 Contingent
          11344 COLOMA RD. SUITE 405                                          Unliquidated
          GOLD RIVER, CA 95670                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          INTERNATIONAL HOME & HOUSEWARES
          SHOW                                                                Contingent
          IHA                                                                 Unliquidated
          6400 SHAFER COURT, SUITE 650                                        Disputed
          ROSEMONT, IL 60018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          INTERNATIONAL HOUSEWARES EXPO
          IHA: EXHIBITOR SALES                                                Contingent
          6400 SHAFER COURT                                                   Unliquidated
          SUITE 650                                                           Disputed
          ROSEMONT, IL 60018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          INTERTEK TESTING SERVICES NA,INC.                                   Contingent
          P.O. BOX #405176                                                    Unliquidated
          ATLANTA, GA 30384-5176                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          IRIS POWER LP
          3110 AMERICAN DRIVE                                                 Contingent
          MISSISSAUGA, ONTARIO                                                Unliquidated
          L4V 1T2                                                             Disputed
          CANADA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          J.B. HUNT TRANSPORT, INC.                                           Contingent
          P. O. BOX 749079                                                    Unliquidated
          LOS ANGELES, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          J.M. CARDEN SPRINKLER CO., INC.                                     Contingent
          2909 FLETCHER DRIVE                                                 Unliquidated
          LOS ANGELES, CA 90065                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JDI DISPLAY AMERICA, INC.                                           Contingent
          1740 TECHOLOGY DRIVE, SUITE 460                                     Unliquidated
          SAN JOSE, CA 95110                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JEUMONT ELECTRIC                                                    Contingent
          367 RUE DE L' INDUSTRIE                                             Unliquidated
          JEUMONT, NORD, 59572                                                Disputed
          FRANCE
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOHANSON TECHNOLOGY                                                 Contingent
          4001 CALLE TECATE                                                   Unliquidated
          CAMARILLO, CA 93060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JS TECHNOLOGY COMPANY LIMITED
          RM2103 EASEY COMM BLDG                                              Contingent
          253-261 HENNESSY RD. WAN                                            Unliquidated
          HONG KONG 999000                                                    Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $50.00
          KEDY TECHNOLOGY ELECTRONICS CO.,
          LTD.
          KEDI AVENUE, JIULONG NEW VILLAGE                                    Contingent
          ANYU COUNTY INDUSTRIAL PARK                                         Unliquidated
          GANZHOU, JIANGXI                                                    Disputed
          CHINA, CN
                                                                             Basis for the claim:    Trade-HP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,520.00
          KHANG & KHANG LLP                                                   Contingent
          4000 BARRANCA PARKWAY, SUITE 250                                    Unliquidated
          IRVINE, CA 92604                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consulting
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KING INDUSTRIES INC.                                                Contingent
          SCIENCE ROAD - P.O. BOX 588                                         Unliquidated
          NORWALK, CT 06852                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KLA-TENCOR CORPORATION                                              Contingent
          P.O. BOX 742332                                                     Unliquidated
          LOS ANGELES, CA 90074-2332                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $376.67
          KOMATSU FORKLIFT RETAIL OPERATIONS,                                 Contingent
          INC.                                                                Unliquidated
          P.O. BOX 749389                                                     Disputed
          LOS ANGELES, CA 90074-9398
                                                                             Basis for the claim:    Repair & Maintenance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KYOCERA INTERNATIONAL, INC.                                         Contingent
          P.O. BOX 100926                                                     Unliquidated
          ATLANTA, GA 30384-0926                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KYVAS INTERNATIONAL CO., LTD.                                       Contingent
          4TH/ FL., NO. 475, SEC.2, TIDINGDADAO,                              Unliquidated
          NEI-HU DISTRICT, TAIPEI, TAIWAN, R.O.C.                             Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          L.E.C. SERVICE, INC.                                                Contingent
          1865 W 222ND ST., SUITE A                                           Unliquidated
          TORRENCE, CA 90501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LANDSBERG                                                           Contingent
          P.O. BOX 101144                                                     Unliquidated
          PASADENA, CA 91189-1144                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEVI P. LLORICO                                                     Contingent
          540 N. CENTRAL AVENUE #B134                                         Unliquidated
          GLENDALE, CA 91203                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LEXUS FINANCIAL SERVICES                                            Contingent
          P. O. BOX 4102                                                      Unliquidated
          CAROL STREAM, IL 60197-4102                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LIAU, TOM                                                           Contingent
          2239 CABEHILL AVE                                                   Unliquidated
          LONG BEACH, CA 90815                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LINTON CRYSTAL TECHNOLOGIES                                         Contingent
          2180 BRIGHTON HENRIETTA TOWN LINE                                   Unliquidated
          RD.                                                                 Disputed
          ROCHESTER, NY 14623
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LIQUID CAPITAL EXCHANGE, INC.                                       Contingent
          FOR S B E, INC.                                                     Unliquidated
          P. O. BOX 168688                                                    Disputed
          IRVING, TX 75016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $118,770.50
          LITE-ON TECHNOLOGY CORPORATION                                      Contingent
          392, RUEY KUANG ROAD                                                Unliquidated
          NEIHU, TAIPEI, 144                                                  Disputed
          TAIWAN R.O.C.
                                                                             Basis for the claim:    Trade-HP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LIU & PARTNERS ATTORNEYS AT LAW
          ROOM C, 6F.,                                                        Contingent
          NO. 261, SEC 3, NANJING E. RD.                                      Unliquidated
          SONGSHAN DISTRICT. TAIPEI 10550                                     Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LODGING GOODS                                                       Contingent
          8182 ELDER CREEK RD.,                                               Unliquidated
          SACRAMENTO, CA 95824                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LOS ANGELES COUNTY FIRE DEPT.                                       Contingent
          PO BOX 513148                                                       Unliquidated
          LOS ANGELES, CA 90051-1148                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LOS ANGELES COUNTY TAX                                              Contingent
          P.O. BOX 54018                                                      Unliquidated
          LOS ANGELS, CA 90054-0018                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LOS ANGELES SHERIFF'S PROFESSIONAL
          ASSOC                                                               Contingent
          LASPA                                                               Unliquidated
          P.O. BOX 1010                                                       Disputed
          LAKEWOOD, CA 90714-1010
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LUCAS-MILHAUPT, INC.                                                Contingent
          P.O. BOX 774686                                                     Unliquidated
          CHICAGO, IL 60677-4006                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAG-TROL LONG BEACH INC.                                            Contingent
          705 WEST ANAHEIM STREET                                             Unliquidated
          LONG BEACH, CA 90813                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAGNETROL INTERNATIONAL                                             Contingent
          INCORPORATED                                                        Unliquidated
          8576 SOLUTION CENTER                                                Disputed
          CHICAGO, IL 60677-8005
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAGNIFICENT MARKETING INTL.                                         Contingent
          787 E. LILAC WAY                                                    Unliquidated
          AZUSA, CA 91702                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MAGTROL, INC.                                                       Contingent
          70 GARDENVILLE PARKWAY                                              Unliquidated
          BUFFALO, NY 14224-1322                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $40.00
          Majano Vilma                                                        Contingent
          15223 SOUTH RAYMOND AVE                                             Unliquidated
          APT. #2                                                             Disputed
          GARDENA, CA 90247
                                                                             Basis for the claim:    Employee Phone Expense
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $16.80
          McMASTER-CARR SUPPLY COMPANY                                        Contingent
          P.O.BOX 7690                                                        Unliquidated
          CHICAGO, IL 60680-7690                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Gaming
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MERCEDES-BENZ FINANCIAL SERVICES                                    Contingent
          P. O. BOX 5209                                                      Unliquidated
          CAROL STREAM, IL 60197-5209                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MERCURY ELECTRIC                                                    Contingent
          10532 PARK VILLA LANE                                               Unliquidated
          VILLA PARK, CA 92667                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          METRO EXPRESSLANES                                                  Contingent
          P. O. BOX 3339                                                      Unliquidated
          GARDENA, CA 90247                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MILLER, KAPLAN, ARASE & CO., LLP                                    Contingent
          4123 LANKERSHIM BLVD                                                Unliquidated
          NORTH HOLLYWOOD, CA 91602-2828                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,317.95
          MINCO PRODUCTS, INC.                                                Contingent
          NW 5915                                                             Unliquidated
          P. O. BOX 1450                                                      Disputed
          MINNEAPOLIS, MN 55485-5915
                                                                             Basis for the claim:    Trade-Export
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MINNESOTA DEPT. OF REVENUE                                          Contingent
          MAIL STATION 1110                                                   Unliquidated
          ST. PAUL, MN 55146-1110                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MJR MARKETING                                                       Contingent
          ATTN: MARK REITENBACH                                               Unliquidated
          1068 MARKLEY ROAD                                                   Disputed
          CINCINNATI, OH 45230
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,700.00
          MLA TRANS LLC                                                       Contingent
          P.O. BOX 654                                                        Unliquidated
          CORONA, CA 92878                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MODERNSOLID INDUSTRIAL CO., LTD.                                    Contingent
          11-2 WU NAN RD., WU CHI DIST                                        Unliquidated
          TAICHUNG CITY 43547                                                 Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,741.50
          MONTHES PALLETS, INC                                                Contingent
          P.O. BOX 1419                                                       Unliquidated
          MONTEBELLO, CA 90640                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Gaming
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MOUSER ELECTRONICS                                                  Contingent
          P.O. BOX 99319                                                      Unliquidated
          FORT WORTH, TX 76199-0319                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MPEGLA                                                              Contingent
          4600 S. ULSTER STREET, SUITE 400                                    Unliquidated
          DENVER, CO 80237                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MR. HOSE, INC.                                                      Contingent
          5574 E. WASHINGTON BLVD.                                            Unliquidated
          COMMERCE, CA 90040                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUELLER STREAMLINE CO.                                              Contingent
          1774 PAYSPHERE CIRCLE                                               Unliquidated
          CHICAGO, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MULTI MEDIA SYSTEMS                                                 Contingent
          9005 EXPOSITION BLVD.                                               Unliquidated
          LOS ANGELES, CA 90034                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MULTI-WING AMERICA INC.                                             Contingent
          15030 BERKSHIRE IND. PARKWAY                                        Unliquidated
          P.O. BOX 425                                                        Disputed
          BURTON, OH 44021
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MUTUAL OF OMAHA                                                     Contingent
          PAYMENT PROCESSING CENTER                                           Unliquidated
          P. O. BOX 2147                                                      Disputed
          OMAHA, NE 68103-2147
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NEOPOST USA INC.                                                    Contingent
          DEPT 3689                                                           Unliquidated
          P. O. BOX 123689                                                    Disputed
          DALLAS, TX 75312-3689
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NEW JERSEY SALES TAX                                                Contingent
          PO BOX 264                                                          Unliquidated
          TRENTON, NJ 08646-0264                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NEW YORK STATE SALES TAX
          NYS SALES TAX PROCESSING                                            Contingent
          JAF BUILDING                                                        Unliquidated
          P.O. BOX 1205                                                       Disputed
          NEW YORK, NY 10116-1205
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NGLIC
          C/O SUPERIOR VISION INSURANCE INC.                                  Contingent
          NGLIC                                                               Unliquidated
          P.O. BOX 201839                                                     Disputed
          DALLAS, TX 75320-1839
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NOVOTECHNIK US INC.                                                 Contingent
          155 NORTHBORO ROAD                                                  Unliquidated
          SOUTHBOROUGH, MA 01772                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NYE LUBIRCANTS, INC.                                                Contingent
          P.O. BOX 8927                                                       Unliquidated
          NEW BEDFORD, MA 02742                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OFFICE OF CALIFORNIA STATE
          CONTROLLER
          UNCLAIMED PROPERTY DIVISION                                         Contingent
          ACCOUNTING BUREAU                                                   Unliquidated
          P.O. BOX 942850                                                     Disputed
          SACRAMENTO, CA 94250-5873
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OLD DOMINION FREIGHT LINE INC.                                      Contingent
          P.O. BOX 742296                                                     Unliquidated
          LOS ANGELES, CA 90074-2296                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OMEGA ENGINEERING, INC                                              Contingent
          26904 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1269                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OMNICELL, INC.                                                      Contingent
          P.O. BOX 204650                                                     Unliquidated
          DALLAS, TX 75320-4650                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ORACLE AMERICA, INC                                                 Contingent
          P. BOX 44471                                                        Unliquidated
          SAN FRANCISCO, CA 94144                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSI BATTERIES INC. DBA OHLIN SALES
          INC.                                                                Contingent
          LOCKBOX 12-1976                                                     Unliquidated
          P.O. BOX 86                                                         Disputed
          MINNEAPOLIS, MN 55486-1976
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OTHELLO LIMITED                                                     Contingent
          2F NO.9 ALLEY 24, LANE 68, SEC.1                                    Unliquidated
          KUANG-FU RD., SAN-CHUNG, TAIPEI                                     Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,408.16
          PAIGE ELECTRIC COMPANY LP                                           Contingent
          P.O. BOX 821336                                                     Unliquidated
          PHILADELPHIA, PA 19182-1336                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PALMER HOLLAND, INC.                                                Contingent
          DEPT. 781606, P.O. BOX 78000                                        Unliquidated
          DETROIT, MI 48278-1606                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PARKER HANNIFIN CORP.                                               Contingent
          7928 COLLECTION CENTER DRIVE                                        Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PDC HSING SHENG WHA CO., LTD
          4F NO.15, WU CHUAN 5 RD., WU KU                                     Contingent
          HSIANG,                                                             Unliquidated
          TAIPEI HSIEN                                                        Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PETER, FARZIN                                                       Contingent
          35 LANTANA                                                          Unliquidated
          LAKE FOREST, CA 92630                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PFEIFFER VACUUM INC.                                                Contingent
          P.O. BOX 414278                                                     Unliquidated
          BOSTON, MA 02241-4278                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PGSA-EAST                                                           Contingent
          24 WADSWORTH CIRCLE                                                 Unliquidated
          BRAMPTON, AB L6Z 1W7                                                Disputed
          CA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PIEDMONT BUSHINGS & INSULATOR, LLC                                  Contingent
          PO. BOX 849                                                         Unliquidated
          WOODRUFF, SC 29388                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PNY TECHNLOGIES ASIA PACIFIC LIMITED                                Contingent
          10F-1, NO.1, TAIYUAN 2ST ST.,                                       Unliquidated
          ZHUBEI CITY, HSINCHU, 30288                                         Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PORTAGE ELECTRIC PRODUCTS,INC.                                      Contingent
          7700 FREEDOM AVE., N.W.                                             Unliquidated
          P.O. BOX 2170                                                       Disputed
          NORTH CANTON, OH 44720
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PRECISE COOLING SOLUTIONS LLC                                       Contingent
          255 N. VALLEY ROAD                                                  Unliquidated
          BARRINGTON, IL 60010                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PRECISION STEEL WAREHOSUE, INC.                                     Contingent
          P.O. BOX 92582                                                      Unliquidated
          CHICAGO, IL 60675-2582                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          PREMIUM ASSIGNMENT CORP.                                            Contingent
          P. O. BOX 8000                                                      Unliquidated
          TALLAHASSEE, FL 32314-8000                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,823.76
          PRIMAX ELECTRONICS LTD.                                             Contingent
          669, RUEY KUANG ROAD, NEIHU, 114,                                   Unliquidated
          TAIPEI                                                              Disputed
          TAIWAN R.O.C.
                                                                             Basis for the claim:    Trade-HP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          QUANTA STORAGE INC.
          3F NO.188 WENHUA 2ND RD., GUISHAN                                   Contingent
          SHIANG                                                              Unliquidated
          TAOYUAN COUNTY, 333 TAIWAN                                          Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          R & E FASTENER INC.                                                 Contingent
          P.O. BOX 5120                                                       Unliquidated
          SPARKS, NV 89432-5120                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          R & L CARRIERS                                                      Contingent
          P.O. BOX 10020                                                      Unliquidated
          PORT WILLIAM, OH 45164-2000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          R+L TRUCKLOAD SERVICES LLC                                          Contingent
          BANK OF AMERICA LOCKBOX SERVICES                                    Unliquidated
          LOCKBOX 74008195                                                    Disputed
          CHICAGO, IL 60674-8195
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          R.F. MACDONALD CO.                                                  Contingent
          25920 EDEN LANDING ROAD                                             Unliquidated
          HAYWARD, CA 94545                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RADIX WIRE                                                          Contingent
          8553 SOLUTION CENTER                                                Unliquidated
          LOCKBOX #778553                                                     Disputed
          CHICAGO, IL 60677-8005
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RANCILIO ASSOCIATES, INC.                                           Contingent
          11131 S. TOWNE SQUARE - A                                           Unliquidated
          ST. LOUIS, MO 63123                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RAY CAMP COMPANY                                                    Contingent
          P.O. BOX 7                                                          Unliquidated
          PALMETTO, GA 30268-0007                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $591.62
          READYREFRESH                                                        Contingent
          P. O. BOX 856158                                                    Unliquidated
          LOUISVILLE, KY 40285-6158                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          REISSMANN SENSORTECHNIK GMBH                                        Contingent
          D-74538 ROSENGARTEN-UTTENOFEN                                       Unliquidated
          GERMANY 53091                                                       Disputed
          GERMANY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RELX INC. DBA REED EXHIBITIONS                                      Contingent
          P.O. BOX 9599                                                       Unliquidated
          NEW YORK, NY 10087-4599                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Repworks, Inc.                                                      Contingent
          654 A. NEW LUDLOW RD.                                               Unliquidated
          SOUTH HADLEY, MA 01075                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          ROCKET SOFTWARE INC.                                                Contingent
          77 FOURTH AVE                                                       Unliquidated
          STE 100                                                             Disputed
          WALTHAM, MA 02451
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,823.00
          RR DONNELLEY LOGISTICS SERVICES                                     Contingent
          WORLDWIDE INC.                                                      Unliquidated
          P.O BOX 932721                                                      Disputed
          CLEVELAND, OH 44193
                                                                             Basis for the claim:    Freight
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SAI GLOBAL INC.                                                     Contingent
          P.O. BOX 311116                                                     Unliquidated
          LOCK BOX# T66072U                                                   Disputed
          DETROIT, MI 48231
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $564.72
          SAVVY SUPPLY, INC.                                                  Contingent
          5306 LINDBERGH LANE                                                 Unliquidated
          BELL, CA 90201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $398.84
          SC FUELS                                                            Contingent
          P.O. BOX 14014                                                      Unliquidated
          ORANGE, CA 92863-4014                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gasoline
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SCHULER PRESSEN G, BJ & CO. KG                                      Contingent
          POSTFACH 929                                                        Unliquidated
          D-73009 GOPPINGEN,                                                  Disputed
          GERMANY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SCUDDER TRUST CO.                                                   Contingent
          P.O. BOX 9565                                                       Unliquidated
          MANCHESTER, NH 03108                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $25.00
          SENTRY TECH SECURITY ALARM CO.                                      Contingent
          15712E GALE AVE.                                                    Unliquidated
          HACIENDA HEIGHTS, CA 91745                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SF EXPRESS CORPORATION                                              Contingent
          2805 W. EL SEGUNDO BLVD., SUITE 1 & 3                               Unliquidated
          HAWTHORNE, CA 90250                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $89,890.00
          SHANGHAI KORRUN BAGS & LUGGAGE
          PRODUCTS
          5F, NO.14 CAOHEJING HIGH-TECH PARK                                  Contingent
          NO. 518 XINZHUAN RD., SHANGHAI,                                     Unliquidated
          SONGJIANG 201612                                                    Disputed
          CHINA
                                                                             Basis for the claim:    Trade-HP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHELLEY KOSTIUK                                                     Contingent
          5112 LAUREL CANYON BLVD.                                            Unliquidated
          VALLEY VILLAGE, CA 91607                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHENZHEN CHUANGWEI ELECTRONIC
          APPLIANCE
          6F, TABLET BLDG.,SKYWORTH INDL.PARK,                                Contingent
          TANGTOU, BAO'AN DISTRICT,                                           Unliquidated
          SHENZHEN 518108                                                     Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHENZHEN CITY ALLENSON
          PHOTOELECTRIC
          CO., LTD.                                                           Contingent
          GUANGMING NEW DISTRICT, SHENZHEN,                                   Unliquidated
          518000                                                              Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $52.50
          SHENZHEN DI SI DA ELECTRON CO., LTD
          SEAT 5, ZONE 2 FUQIAO INDUSTRIAL PARK
          FUYONG TOWN, BAOAN DISTRICT,                                        Contingent
          SHENZHEN,                                                           Unliquidated
          GUANGDONG, 518128                                                   Disputed
          CHINA
                                                                             Basis for the claim:    Trade-Display
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $169,164.00
          SHENZHEN KTC COMMERCIAL DISPLAY
          TECHNOLOGY CO. LTD.
          NORTHERN WUHE ROAD, BANXUEGANG                                      Contingent
          INDUSTRY,                                                           Unliquidated
          BUJI, SHENZHEN, 518129                                              Disputed
          CHINA
                                                                             Basis for the claim:    Trade-Display
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,256.00
          SHENZHEN KTC TECH                                                   Contingent
          NORTHERN WUHE ROAD                                                  Unliquidated
          BANGXUEGANG INDUSTRY AREA,                                          Disputed
          SHENZHEN, CHINA
                                                                             Basis for the claim:    Trade-Display
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SHINE TAKE METAL CO., LTD.
          NO.33, LANE 346, JONG-FENG RD.,                                     Contingent
          NAN-SHYH SEC. 2, PING-JENG, TAOYUAN                                 Unliquidated
          324                                                                 Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $147.74
          SHIPPERS INSURANCE PROGRAM                                          Contingent
          P.O. BOX 607                                                        Unliquidated
          SULLIVAN, MO 63080                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $450.00
          SIAPIN HORTICULTURE, INC.                                           Contingent
          9103 PERKINS ST.,                                                   Unliquidated
          PICO RIVERA, CA 90660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Repaits & Maintenace
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SIBELCO ASIA PTE LTD.
          180 CLEMENCEAU AVE.                                                 Contingent
          HAW PAW CENTER #05-01                                               Unliquidated
          239922                                                              Disputed
          SINGAPORE
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SIRIUS COMPUTER SOLUTIONS, INC.                                     Contingent
          P.O. BOX 202289                                                     Unliquidated
          DALLAS, TX 75320-2289                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $20.28
          SoCalGas                                                            Contingent
          P.O.BOX C                                                           Unliquidated
          MONTEREY PARK, CA 91756                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SOLARANNA LTD.
          GRIPOLY MILLS RETAIL PARK,                                          Contingent
          UNIT 3-5, SIPER ROAD                                                Unliquidated
          CARDIFF CF118AA                                                     Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SOLLEGA INC.                                                        Contingent
          2480 MISSION STREET, SUITE 107B                                     Unliquidated
          SAN FRANCISCO, CA 94110                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $22.60
          SONGLIN TECHNOLOGY CORP.                                            Contingent
          NO. 1-7, LANE 489, DONGYONG ST.,                                    Unliquidated
          BADE CITY, TAOYUAN COUNTY 33458                                     Disputed
          TAIWAN
                                                                             Basis for the claim:    Trade-Gaming
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,096.36
          SOUTH BAY FABRICATION, INC.                                         Contingent
          15421 ELECTRONIC LANE                                               Unliquidated
          HUNTINGTON BEACH, CA 92649                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Gaming
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,605.29
          SOUTHERN CALIFORNIA EDISON                                          Contingent
          P.O. BOX 300                                                        Unliquidated
          ROSEMEAD, CA 91772-0001                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $65.00
          SOUTHERN CALIFORNIA IMMEDIATE
          MEDICAL                                                             Contingent
          CENTER                                                              Unliquidated
          7300 ALONDRA BLVD. SUITE 101                                        Disputed
          PARAMOUNT, CA 90723
                                                                             Basis for the claim:    Drug Test
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $63.71
          STAPLES ADVANTAGE                                                   Contingent
          P. O. BOX 105638                                                    Unliquidated
          ATLANTA, GA 30348-5638                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STAR BRITE BUILDING MAINTENANCE, INC.                               Contingent
          2688 DAWSON AVE                                                     Unliquidated
          SIGNAL HILL, CA 90755                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STARRAG USA INC.                                                    Contingent
          # DEPT. 781810                                                      Unliquidated
          P.O. BOX 78000                                                      Disputed
          DETROIT, MI 48278-1810
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STATE COMPENSATION INSURANCE FUND                                   Contingent
          P.O. BOX 7441                                                       Unliquidated
          SAN FRANCISCO, CA 94120-7441                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STATE OF CALIFORNIA                                                 Contingent
          FRANCHISE TAX BOARD                                                 Unliquidated
          P.O. BOX 942867                                                     Disputed
          SACRAMENTO, CA 94267-2021
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STORED ENERGY SYSTEMS, LLC                                          Contingent
          1840 INDUSTRIAL CIRCLE                                              Unliquidated
          LONGMONT, CO 80501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          STRIKE TECHNOLOGIES AKA PENBRO
          KELNICK
          (PTY) LTD.
          31 PARK AVENUE NORTH-HIGHWAY                                        Contingent
          BUSINESS PK                                                         Unliquidated
          CENTURION, GAUTENG, 0132                                            Disputed
          SOUTH AFRICA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Striko-Westofen-Dynarad Furnance Corp.                              Contingent
          29968 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,355.00
          SUZHOU BLUE BRIDGE ELECTRONIC CO.                                   Contingent
          LTD                                                                 Unliquidated
          WUZHONG DISTRICT, SUZHOU CITY                                       Disputed
          JIANGSU PROVINCE, CHINA
                                                                             Basis for the claim:    Trade-Gaming
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SWISSAM PRODUCTS LTD.                                               Contingent
          CITICORP CENTER, 18 WHITFIELD ROAD,                                 Unliquidated
          29TH FLOOR, NORTH PARK                                              Disputed
          HONG KONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $140.19
          T-MOBILE                                                            Contingent
          P.O. BOX 790047                                                     Unliquidated
          ST. LOUIS, MO 63179-0047                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telephone
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          T. L. ASHFORD                                                       Contingent
          P. O. BOX 17098                                                     Unliquidated
          FORT MITCHELL, KY 41017                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TAIWAN RECTRONIC ENTERPRISE CORP.                                   Contingent
          5F., NO.7, LANE 50, SECTION 3                                       Unliquidated
          NAN KANG ROAD, TAIPEI 115                                           Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $60,393.00
          TATUNG COMPANY                                                      Contingent
          22 CHUNGSHAN N. RD.                                                 Unliquidated
          SEC. 3                                                              Disputed
          CHINA
                                                                             Basis for the claim:    Trade-Consumer
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TAYLORLONG & ASSOCIATES                                             Contingent
          1718 SE CUTTER LANE, SUITE 200                                      Unliquidated
          VANCOUVER, WA 98661                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TEAM-ONE SAFETY SERVICES/ PAUL T.                                   Contingent
          PATINO                                                              Unliquidated
          18224 GREVILLEA AVE.                                                Disputed
          REDONDO BEACH, CA 90278
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TECHMAN ELECTRONICS (CHANGSHU) CO.
          LTD.
          NO. 66 DALIAN ROAD, HIGH-TECH IND.
          PARK
          CHANGSHU ECONOMIC DEVELOPMENT                                       Contingent
          ZONE,                                                               Unliquidated
          JIANGSU                                                             Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TED JOHNSON PROPANE                                                 Contingent
          5140 N. ELTON STREET                                                Unliquidated
          BALDWIN PARK, CA 91706                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $870.06
          TEMPEL DE MEXICO                                                    Contingent
          P.O. BOX 677888                                                     Unliquidated
          DALLAS, TX 75267-7888                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TEXAS COMPTROLLER OF PUBLIC                                         Contingent
          ACCOUNTS                                                            Unliquidated
          111 E. 17TH ST.                                                     Disputed
          AUSTIN, TX 78774-0100
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,201.99
          THE BRIGHT GROUP, LLC                                               Contingent
          1660 HELM DRIVE, SUITE #100                                         Unliquidated
          LAS VEGAS, NV 89119                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Gaming
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THE CHIDLEY & PETO COMPANY                                          Contingent
          P.O. BOX 309                                                        Unliquidated
          ITASCA, IL 60143-0309                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THE DOW CHEMICAL COMPANY                                            Contingent
          2030 WILLARD H DOW CENTER                                           Unliquidated
          MIDLAND, MI 48674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THE FRENCH CORPORATION DBA                                          Contingent
          CONNOMAC CORP                                                       Unliquidated
          340 WASHINGTON AVENUE                                               Disputed
          LA GRANGE, IL 60525
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THE NORTHEAST GROUP, LLC                                            Contingent
          129 MORGAN DRIVE, 1ST FLOOR                                         Unliquidated
          NORWOOD, MA 02062                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,870.00
          THE OUTDOOR RECREATION GROUP, LLC                                   Contingent
          DBA AGILE BRANDS                                                    Unliquidated
          3450 MOUNT VERNON DRIVE                                             Disputed
          LOS ANGELES, CA 90008
                                                                             Basis for the claim:    Trade-HP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THE SOCO GROUP a division of                                        Contingent
          SC COMMERCIAL, LLC                                                  Unliquidated
          5962 PRIESTLY DRIVE                                                 Disputed
          CARLSBAD, CA 92008
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THE TOLL ROADS                                                      Contingent
          VIOLATION DEPT                                                      Unliquidated
          P.O. BOX 57011                                                      Disputed
          IRVINE, CA 92619-7011
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          THT PRESSES, INC.                                                   Contingent
          7475 WEBSTER ST.,                                                   Unliquidated
          DAYTON, OH 45414                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TIEWRAPS.COM INC.                                                   Contingent
          P.O. BOX 421132                                                     Unliquidated
          SAN DIEGO, CA 92142                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TMA WORLDWIDE, INC.                                                 Contingent
          4038 AITKEN DAIRY RD.                                               Unliquidated
          ROCKLIN, CA 95677                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TMX LOGISTICS, INC.                                                 Contingent
          9660 PLAZA CIRCLE                                                   Unliquidated
          EL PASO, TX 79927                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TOPFLY CORPORATION
          NO.9, NEI-SHI ROAD, NEI-TSUOH VILLAGE                               Contingent
          LU CHU HSIANG, TAO-YUAN 338                                         Unliquidated
          TAIWAN,R.O.C                                                        Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TORRANCE ELECTRONICS, INC.                                          Contingent
          1545 WEST CARSON ST.                                                Unliquidated
          TORRANCE,, CA 90501                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TOUCHTONE CORP.                                                     Contingent
          P. O. BOX 5719                                                      Unliquidated
          IRVINE, CA 92616-5719                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TOYOTA FINANCIAL SERVICES                                           Contingent
          P. O. BOX 4102                                                      Unliquidated
          CAROL STEAM, IL 60197-4102                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRACKSTAR PRINTING INC.                                             Contingent
          1140 W. MAHALO PLACE,                                               Unliquidated
          RACHO DOMINGUEZ, CA 90220                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRAVELERS                                                           Contingent
          P.O. BOX 660317                                                     Unliquidated
          DALLAS, TX 75266-0317                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TREASURER STATE OF MAINE
          DEPT. OF ENVIRONMENTAL PROTECTION                                   Contingent
          NATURAL RESOURCES SERVICE CENTER                                    Unliquidated
          155 STATE HOUSE STATION                                             Disputed
          AUGUSTA, ME 04333-0155
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $418.15
          TRICO MFG. CORP.                                                    Contingent
          1235 HICKORY STREET                                                 Unliquidated
          PEWAUKEE, WI 53072-3999                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade-Export
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRLA GROUP, INC.                                                    Contingent
          490 CLOVERLEAF DRIVE                                                Unliquidated
          BALDWIN PARK, CA 91706                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TRUE VALUE                                                          Contingent
          8600 WEST BRYN MAWR AVENUE                                          Unliquidated
          CHICAGO, IL 60631                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          TYDEN BROOKS                                                        Contingent
          16036 COLLECTION CTR. DRIVE,                                        Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          U.S. CUSTOMS AND BORDER PROTECTION                                  Contingent
          P.O. BOX 979126                                                     Unliquidated
          ST. LOUIS, MO 63197-9000                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          U.S. GROUP CONSOLIDATOR INC.                                        Contingent
          618 GLASGOW AVENUE                                                  Unliquidated
          INGLEWOOD, CA 90301                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,668.00
          UCFS LASVEGAS, INC                                                  Contingent
          1725 S. ESCONDIDO BLVD, SUITE A                                     Unliquidated
          ESCONDIDO, CA 92025                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          UL AG                                                               Contingent
          75 REMITTANCE DRIVE, SUITE #1524                                    Unliquidated
          CHICAGO, IL 60675-1524                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $125.93
          ULINE                                                               Contingent
          P.O. BOX 88741                                                      Unliquidated
          CHICAGO, IL 60680-1741                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          UNITED CONCORDIA DENTAL PLANS OF                                    Contingent
          CALIFORNIA, INC.                                                    Unliquidated
          P.O. BOX 31001-0935                                                 Disputed
          PASADENA, CA 91110-0935
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          UNITED PARCEL SERVICE                                               Contingent
          PO BOX 894820                                                       Unliquidated
          LOS ANGELES, CA 90189-4820                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          UNIVERSAL FILTERS, INC.                                             Contingent
          1207 MAIN STREET                                                    Unliquidated
          ASBURY PARK,, NJ 07712                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          UNIVERSAL MICROELECTRONICS CO.,
          LTD.                                                                Contingent
          3, 27TH RD., TAICHUNG INDUSTRIAL PARK                               Unliquidated
          TAICHUNG                                                            Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $954.68
          UPS FREIGHT                                                         Contingent
          28013 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1280                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $715.46
          UPS SUPPLY CHAIN SOLUTIONS, INC.                                    Contingent
          28013 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1280                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          USPS-HASLER                                                         Contingent
          P.O. BOX 894757                                                     Unliquidated
          LOS ANGELES, CA 90189-4757                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VARIANT DISPLAYS INC.                                               Contingent
          5007 ONTARIO MILLS PKWY.                                            Unliquidated
          ONTARIO, CA 91764                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VARSITY LOGISTICS, INC.                                             Contingent
          ONE PARKWAY NORTH                                                   Unliquidated
          SUITE 400S                                                          Disputed
          DEERFIELD, IL 60015
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          VIHONOR OPTO-ELECTRONICS                                            Contingent
          #201 GANGSHAN N. ROAD                                               Unliquidated
          GANGSHAN TOWN, KAOSHIUNG HSIEN                                      Disputed
          TAIWAN, R.O.C.
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,016.69
          VISION EXPRESS/WRAG-TIME                                            Contingent
          9841 E. FRONTAGE ROAD                                               Unliquidated
          SOUTH GATE, CA 90280                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Freight
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WASHINGTON STATE                                                    Contingent
          DEPARTMENT OF REVENUE                                               Unliquidated
          P.O. BOX 34054                                                      Disputed
          SEATTLE, WA 98124-1054
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WASHINGTON STATE DEPT OF ECOLOGY                                    Contingent
          CASHIERING UNIT                                                     Unliquidated
          P.O. BOX 47611                                                      Disputed
          OLYMPIA, WA 98504-7611
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $473.53
          WASTE MANAGEMENT                                                    Contingent
          LA METRO                                                            Unliquidated
          P.O. BOX 541065                                                     Disputed
          LOS ANGELES, CA 90054-1065
                                                                             Basis for the claim:    Repair & Maintenance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WEIDMANN SYSTEMS INTERNATIONAL
          LTD.
          UNIT 18. 11/F.,HONGKONG INTERNATIONAL                               Contingent
          TRADE & EXHIBITION CENTRE                                           Unliquidated
          1 TRADEMART DRIVE, KOWLOON BAY                                      Disputed
          HONGKONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WESTERN STATES REGIONAL JOINT                                       Contingent
          BOARD                                                               Unliquidated
          920 S. ALVARADO ST.                                                 Disputed
          LOS ANGELES, CA 90006-3008
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $200.00
          WHITE NELSON DIEHL EVANS LLP                                        Contingent
          2875 MICHELLE DRIVE, SUITE 300                                      Unliquidated
          IRVINE, CA 92606                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tax Filing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $175.27
          WMMFA                                                               Contingent
          116 N. OAKES AVE, SUITE B                                           Unliquidated
          CLE ELUM, WA 98922                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Recycling Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WORLD JOURNAL                                                       Contingent
          231 ADRIAN ROAD                                                     Unliquidated
          MILLBRAE, CA 94030                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WORLD JOURNAL LA, LLC                                               Contingent
          1588 CORPORATE CENTER DRIVE                                         Unliquidated
          MONTEREY PARK, CA 91754                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          WU,YONG-MING                                                        Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          XIAMEN COMFORT SCIENCE &
          TECHNOLOGY
          GROUP CO., LTD.                                                     Contingent
          168#, QIANPU ROAD, SIMING ZONE                                      Unliquidated
          XIAMEN, FUJIAN 361008                                               Disputed
          CHINA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,331.20
          XIAMEN PRIMA TECHNOLOGY INC.                                        Contingent
          4TH FLOOR, NO. 618, JIAHE ROAD                                      Unliquidated
          XIAMEN, FUJIAN, P.R. CHINA 361006                                   Disputed
          CHINA
                                                                             Basis for the claim:    Trade-Display
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          XU HUI NATIONAL CO. LTD.
          2F., NO.3, ALY. 4, LN.326,                                          Contingent
          ZHONGZHNEG RD., NEW TAIPEI, BANQIAO                                 Unliquidated
          22052                                                               Disputed
          TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          YEN XIANG E-MATERIALS CO., LTD.                                     Contingent
          1F., NO.94, DEHUI ST., ZHONGSHAN DIST.,                             Unliquidated
          TAIPEI CITY 104                                                     Disputed
          TAIWAN, TW
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 60 of 62
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 Debtor       Tatung Company of America, Inc.                                                         Case number (if known)            2:19-bk-21521-NB
              Name

 3.380     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           YING TCHIN ELECTRONICS CO., LTD.                                   Contingent
           NO.2-3, EAST 9TH ST., K.E.P.Z.,                                    Unliquidated
           KAOHSIUNG, 806                                                     Disputed
           TAIWAN, R.O.C.
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.381     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           YRC FREIGHT                                                        Contingent
           P.O. BOX 100129                                                    Unliquidated
           PASADENA, CA 91189-0003                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           YUNG CHING LIN                                                     Contingent
           1065 N. GLENDORA AVENUE                                            Unliquidated
           COVINA, CA 91724                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           ZHONGSHAN CITY WHITE HORSE
           ELECTRIC CO.                                                       Contingent
           SHENGHUI NORTH INDUSTRIAL AREA                                     Unliquidated
           NANTOU ZHONG SHAN, GUANGDONG                                       Disputed
           CHINA
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.384     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           ZHONGSHAN GALANZ CONSUMER
           ELECTRIC
           APPLIANCES CO., LTD.
           MAXIN INDUSTRIAL ZONE, XINGPO ROAD,                                Contingent
           HUANGPO TOWN, ZHONGSHAN,                                           Unliquidated
           GUANGDONG 52842                                                    Disputed
           CHINA
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.385     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           ZYTRONIC DISPLAYS LTD.                                             Contingent
           WHITELEY ROAD                                                      Unliquidated
           BLAYTON, TYNE & WEAR, UK NE21 5NJ                                  Disputed
           UNITED KINGDOM
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 61 of 62
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              Name


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                     7,614.29
 5b. Total claims from Part 2                                                                       5b.   +   $                36,564,964.53

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   36,572,578.82




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 62 of 62
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                                                                                                   *Please take note that the inclusion herein of
                                                             Main Document    Page 77 of 163       the above-listed agreements shall not be
                                                                                                                        deemed to constitute an admission by the
 Fill in this information to identify the case:                                                                         Debtor that such agreements are executory
                                                                                                                        contracts, contracts, unexpired leases, or
 Debtor name         Tatung Company of America, Inc.                                                                    leases. The Debtor is investigating the nature
                                                                                                                        of these agreements and reserves all of its rights
                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES                        to contest the validity and/ or nature of any
 United States Bankruptcy Court for the:                                                                                agreement listed in this Schedule G.
                                                    DIVISION

 Case number (if known)         2:19-bk-21521-NB
                                                                                                                                 Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal                Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Real Property Lease for
              lease is for and the nature of              office space located in
              the debtor's interest                       Duluth, CA

                  State the term remaining                Approx. 2 years
                                                                                     DOC ACQUISITION LLC
              List the contract number of any                                        2937 SW 27TH AVENUE, SUITE 202
                    government contract                                              MIAMI, FL 33133


 2.2.         State what the contract or                  Logistic Services
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining                                           HEWLETT PACKARD COMPANY
                                                                                     8000 FOOTHILLS BLVD., R5-MS: 5229
              List the contract number of any                                        ATTN: BILL DALY
                    government contract                                              ROSEVILLE, CA 95747


 2.3.         State what the contract or                  Automobile Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     LEXUS FINANCIAL SERVICES
              List the contract number of any                                        P.O. BOX 4102
                    government contract                                              CAROL STREAM, IL 60197


 2.4.         State what the contract or                  Automobile Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     MERCEDES-BENZ FINANCIAL SERVICES
              List the contract number of any                                        P.O. BOX 5209
                    government contract                                              CAROL STREAM, IL 60197




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
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 Debtor 1 Tatung Company of America, Inc.                                                    Case number (if known)   2:19-bk-21521-NB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Automobile Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     TOYOTA FINANCIAL SERVICES
             List the contract number of any                                         P.O. BOX 4102
                   government contract                                               CAROL STREAM, IL 60197




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Tatung Company of America, Inc.

                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)         2:19-bk-21521-NB
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      GREEN ENERGY                      No. 19-2, Tatung 1st Road, Kuanyin               HEMLOCK                         D
             TECHNOLOGY,                       Taoyuan, Taiwan, R.O.C.                          SEMICONDUCTOR                    E/F        3.169
             INC.                                                                               OPERATIONS
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Tatung Company of America, Inc.

                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

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                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                            $22,672,368.23
       From 1/01/2019 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                            $38,809,374.77
       From 1/01/2018 to 12/31/2018
                                                                                                Other


       For year before that:                                                                    Operating a business                            $45,872,199.74
       From 1/01/2017 to 12/31/2017
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached Exhibit 3.                                                                             $0.00          Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Christina Sun                                               10/1/18 to                      $260,160.00           Wages owed from 10/1/18 to
               341 S. Antia Ave                                            9/30/19                                               9/30/19
               Los Angeles, CA 90049
               25% Shareholder, Director, Interim
               President

       4.2.    Huei-Jihn Jih                                               10/1/18 to                      $297,938.89           Wages owed from 10/1/18 to
               18946 Vickie Ave                                            9/30/19                                               9/30/19
               Cerritos, CA 90703
               Former President & CEO

       4.3.    Huei-Jihn Jih                                               10/12/18,                          $1,809.24          Reimbursement of Business
               18946 Vickie Ave                                            3/13/19,                                              Expenses
               Cerritos, CA 90703                                          7/30/19
               Former President & CEO

       4.4.    Tatung Company                                              10/1/18,                        $769,294.76           Consumer Products
               22 Chungshan N. Rd. Sec. 3                                  11/1/18,
               Taipei, Taiwan                                              12/3/18,
               50% Shareholder                                             1/2/19,
                                                                           2/8/19.
                                                                           2/27/19,
                                                                           4/1/19,
                                                                           4/15/19,
                                                                           5/28/19,
                                                                           8/21/19,
                                                                           9/18/19

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.




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       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case               Court or agency's name and              Status of case
               Case number                                                                   address
       7.1.    Hemlock Semiconductor                            Breach of contract           Circuit Court, County of                 Pending
               Corp. v. Tatung Company of                                                    Saginaw                                  On appeal
               America, Inc.                                                                 111 South Michigan Avenue                  Concluded
               13-020593-CK-2                                                                Saginaw, MI 48602

       7.2.    Commonwealth of Puerto                           CRT Antitrust                USDC Northern District of                  Pending
               Rico v. LG Electronics,                                                       CA                                       On appeal
               Tatung Company of America,                                                    450 Golden Gate Ave
                                                                                                                                      Concluded
               Inc. et al.                                                                   San Francisco, CA 94102
               07-cv-5944 JST

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss               Value of property
       how the loss occurred                                                                                                                                      lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.

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                Who was paid or who received                         If not money, describe any property transferred           Dates         Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Ardent Law Group, PC
                4340 Von Karman Ave
                Newport Beach, CA 92660                                                                                        9/11/2019            $3,669.00

                Email or website address
                https://ardentlawgroup.com/

                Who made the payment, if not debtor?




       11.2.    Ardent Law Group, PC
                4340 Von Karman Ave
                Newport Beach, CA 92660                                                                                        9/24/2019            $1,080.00

                Email or website address
                https://ardentlawgroup.com/

                Who made the payment, if not debtor?




       11.3.    E&W Consulting LLC
                2131 Crescent Drive
                Altadena, CA 91001                                                                                             9/24/2019           $55,000.00

                Email or website address
                https://www.ewconsultinginc.net/

                Who made the payment, if not debtor?




       11.4.    E&W Consulting LLC
                2131 Crescent Drive
                Altadena, CA 91001                                                                                             9/30/2019          $104,036.00

                Email or website address
                https://www.ewconsultinginc.net/

                Who made the payment, if not debtor?




       11.5.    Khang & Khang LLP
                18101 Von Karman Ave #330
                Irvine, CA 92612                                                                                               8/1/2019             $5,000.00

                Email or website address


                Who made the payment, if not debtor?




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                Who was paid or who received                         If not money, describe any property transferred           Dates          Total amount or
                the transfer?                                                                                                                          value
                Address
       11.6.    Levene, Neale, Bender, et. al
                10250 Constellation
                Boulevard
                Suite 1700
                Los Angeles, CA 90067                                                                                          9/17/2019           $25,000.00

                Email or website address
                www.lnbyb.com

                Who made the payment, if not debtor?




       11.7.    Levene, Neale, Bender, et. al
                10250 Constellation
                Boulevard
                Suite 1700
                Los Angeles, CA 90067                                                                                          9/30/2019           $51,717.00

                Email or website address
                www.lnbyb.com

                Who made the payment, if not debtor?




       11.8.    Six Degrees Law Group
                100 Wilshire Boulevard, Suite
                700
                Santa Monica, CA 90401                                                                                         9/17/2019            $5,000.00

                Email or website address
                http://www.6dlaw.com/

                Who made the payment, if not debtor?




       11.9.    Six Degrees Law Group
                100 Wilshire Boulevard, Suite
                700
                Santa Monica, CA 90401                                                                                         9/30/2019           $57,012.00

                Email or website address
                www.6dlaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers         Total amount or
                                                                                                                      were made                        value

13. Transfers not already listed on this statement

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    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was               Last balance
                Address                                         account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred




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                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Cathy Bank                                      XXXX-3336                  Checking                  9/27/19                      $17,430.24
                9650 Flair Drive                                                           Savings
                El Monte, CA 91731
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       18.2.    Cathy Bank                                      XXXX-5517                  Checking                  9/27/19                      $10,788.71
                9650 Flair Drive                                                           Savings
                El Monte, CA 91731                                                         Money Market
                                                                                           Brokerage
                                                                                           Other

       18.3.    Hua Nan Commercial Bank                         XXXX-6657                  Checking                  9/18/19                      $24,541.50
                707 Wilshire Blvd.                                                         Savings
                Suite 3100
                                                                                           Money Market
                Los Angeles, CA 90017
                                                                                           Brokerage
                                                                                           Other

       18.4.    Bank of Taiwan                                  XXXX-0994                  Checking                  9/18/19                      $17,816.34
                601 S. Figueroa St.                                                        Savings
                Suite 4525
                                                                                           Money Market
                Los Angeles, CA 90017
                                                                                           Brokerage
                                                                                           Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None




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       Owner's name and address                                      Location of the property             Describe the property                                      Value
       Jealous Devil, LLC                                            Tatung Company of                    Charcoal packed in bags for                           Unknown
       2629 Manhattan Ave, #214                                      America, Inc.                        restaurant use.
       Hermosa Beach, CA 90254                                       2850 El Presidio St.
                                                                     Long Beach, CA 90810


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To



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       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.       Linda Li                                                                                                            1985 to present
                    2616 Sonoma St.
                    Torrance, CA 90503
       26a.2.       Lawrence Shen                                                                                                       1988 to present
                    1640 Neil Armstrong
                    Montebello, CA 90640
       26a.3.       Grace Villa                                                                                                         1987 to present
                    13128 Andy St.
                    Cerritos, CA 90703
       26a.4.       Yupin Lin                                                                                                           1999 to present
                    16390 Whitefield Ct.
                    West Covina, CA 91790
       26a.5.       Ling-Ling Chen                                                                                                      2006 to present
                    4489 Spenser St.
                    Torrance, CA 90503
       26a.6.       Kew-Song CHen                                                                                                       1980 to 2018
                    15905 Hill St.
                    La Puente, CA 91744

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Tatung Company
                    22 Chungshan N. Rd. Sec 3
                    Taipei, Taiwan
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       White Nelson Diehl Evans LLP                                                                                        1999 to 2019
                    2875 Michelle Drive
                    Suite 300
                    Irvine, CA 92606
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.3.       East West Bank                                                                                                      2017 to 2019
                    800 E. Valley Blvd.
                    San Gabriel, CA 91776

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Tatung Company of America, Inc.
                    Attn: Linda Li
                    2850 El Presidio St.
                    Long Beach, CA 90810

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.


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           None
       Name and address
       26d.1.  East West Bank
                    800 E. Valley Blvd.
                    San Gabriel, CA 91776
       26d.2.       Bank of the West
                    300 South Grand Ave
                    7th Floor
                    Los Angeles, CA 90071
       26d.3.       Gallant Risk & Insurance Services, Inc.
                    4160 Temescal Canyon Road
                    Suite 402
                    Corona, CA 92883
       26d.4.       Integro Insurance Brokers
                    115 North El Molino Avenue
                    Pasadena, CA 91101
       26d.5.       AON Risk Services
                    PO Box 849832
                    Los Angeles, CA 90084
       26d.6.       Euler Hermes ACI
                    800 Red Brook Blvd.
                    Owings Mills, MD 21117
       26d.7.       Experian
                    PO Box 881971
                    Los Angeles, CA 90088

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Florencio Wee & David Frasco
       .                                                                                    9/30/2019                $6,063,039.75, weighted average

                Name and address of the person who has possession of
                inventory records
                Tatung Company of America, Inc.
                2850 E El Presidio St
                Long Beach, CA 90810


       27.2 Florencio Wee & David Frasco
       .                                                                                    6/30/2019                $6,615,061.82 weighted average

                Name and address of the person who has possession of
                inventory records
                Tatung Company of America, Inc.
                2850 E El Presidio St
                Long Beach, CA 90810


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.


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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Christina Sun                                  341 S. Antia Ave                                    Interim President, Director,          25% Interest
                                                      Los Angeles, CA 90049                               Shareholder

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Andrew Sun                                     2018 Manning Avenue                                 Director, Shareholder                 25% Interest
                                                      Los Angeles, CA 90064

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Tatung Company                                 22 Chungshan N. Rd. Sec 3                           Shareholder                           50% Interest
                                                      Taipei, Taiwan

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Dar-Kuan Huang                                 3459 Bahia Blance West                              Director                              0% Interest
                                                      Unit A
                                                      Laguna Woods, CA 92637
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jason Chen                                     5002 French Creek Road                              Chief Restructuring Officer           0% Interest
                                                      Shingle Springs, CA 95682



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Huei-Jihn Jih                                  18946 Vickie Ave                                    President & Chief                8/2016 to
                                                      Cerritos, CA 90703                                  Executive Officer                9/25/2019


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 See response to No. 4
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
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    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Tatung Company                                                                                             EIN:


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed
    cuted on
          on         October 30, 2019

                                                                        Jason Chen
 Signature
     ature of
           o indiv
              individual
                d idual signing on behalf of the debtor                 Printed name

 Position     relationship
     tion or rrel
              re
               e ationship to debtor        Chief Restructur
                                                  Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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EXHIBIT 3 TO SOFA
 Date          Name                                    Description            Amount
7/1/2019       3M TOUCH SYSTEMS                        Suppliers or Vendors   $ (132,679.40)
7/19/2019      3M TOUCH SYSTEMS                        Suppliers or Vendors   $ (30,702.44)
7/25/2019      3M TOUCH SYSTEMS                        Suppliers or Vendors   $ (23,785.00)
8/1/2019       3M TOUCH SYSTEMS                        Suppliers or Vendors   $ (76,145.00)
8/8/2019       3M TOUCH SYSTEMS                        Suppliers or Vendors   $ (60,165.00)
9/6/2019       3M TOUCH SYSTEMS                        Suppliers or Vendors   $ (29,735.00)
9/12/2019      3M TOUCH SYSTEMS                        Suppliers or Vendors   $ (126,125.00)
9/30/2019      3M TOUCH SYSTEMS                        Suppliers or Vendors   $ (136,517.25)
7/25/2019      A-1 COAST RENTALS                       Suppliers or Vendors   $      (81.37)
8/28/2019      A-1 COAST RENTALS                       Suppliers or Vendors   $      (81.37)
9/25/2019      A-1 COAST RENTALS                       Suppliers or Vendors   $      (81.37)
7/9/2019       ABB INC.                                Suppliers or Vendors   $   (1,540.62)
8/28/2019      ABB INC.                                Suppliers or Vendors   $     (690.00)
9/6/2019       ABB INC.                                Suppliers or Vendors   $   (1,162.00)
9/11/2019      ABB INC.                                Suppliers or Vendors   $   (2,256.00)
9/23/2019      ABB INC.                                Suppliers or Vendors   $     (198.00)
7/30/2019      ABLE INDUSTRIAL PRODUCTS, INC.          Suppliers or Vendors   $   (6,887.82)
7/2/2019       ACROX TECHNOLOGIES CO., LTD             Suppliers or Vendors   $ (78,851.52)
7/15/2019      ACROX TECHNOLOGIES CO., LTD             Suppliers or Vendors   $ (68,049.48)
7/29/2019      ACROX TECHNOLOGIES CO., LTD             Suppliers or Vendors   $ (45,932.52)
8/8/2019       ACROX TECHNOLOGIES CO., LTD             Suppliers or Vendors   $ (71,836.36)
8/14/2019      ACROX TECHNOLOGIES CO., LTD             Suppliers or Vendors   $ (86,925.60)
9/3/2019       ACROX TECHNOLOGIES CO., LTD             Suppliers or Vendors   $ (132,598.62)
9/10/2019      ACROX TECHNOLOGIES CO., LTD             Suppliers or Vendors   $ (159,226.60)
7/1/2019       ACULA TECHNOLOGY CORP.                  Suppliers or Vendors   $ (36,945.00)
7/16/2019      ACULA TECHNOLOGY CORP.                  Suppliers or Vendors   $ (45,912.00)
7/15/2019      ADP, INC.                               Suppliers or Vendors   $   (1,474.94)
8/9/2019       ADP, INC.                               Suppliers or Vendors   $   (1,623.58)
9/11/2019      ADP, INC.                               Suppliers or Vendors   $   (1,778.65)
8/28/2019      AJ ALARM SYSTEMS                        Suppliers or Vendors   $     (341.85)
7/9/2019       ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (6,310.24)
7/15/2019      ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,381.52)
7/25/2019      ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,148.72)
7/30/2019      ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,155.12)
8/9/2019       ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,142.32)
8/9/2019       ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,148.72)
8/19/2019      ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,155.12)
9/6/2019       ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,155.12)
9/6/2019       ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,148.72)
9/11/2019      ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,155.12)
9/17/2019      ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,381.52)
9/23/2019      ALL NATION SECURITY SERVICE, I          Suppliers or Vendors   $   (3,155.12)
7/12/2019      ALVIN RAMALI                            Suppliers or Vendors   $     (800.00)
9/17/2019      ALVIN RAMALI                            Suppliers or Vendors   $     (800.00)
7/24/2019      AMERICAN EXPRESS                        Suppliers or Vendors   $   (9,587.96)
7/24/2019      AMERICAN EXPRESS                        Suppliers or Vendors   $      (17.99)
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8/21/2019   AMERICAN EXPRESS                       Suppliers or Vendors   $    (1,471.88)
9/20/2019   AMERICAN EXPRESS                       Suppliers or Vendors   $    (1,591.28)
7/9/2019    AMRC, LLC                              Suppliers or Vendors   $      (345.00)
7/15/2019   ARDENT LAW GROUP, PC                   Service                $      (754.70)
8/9/2019    ARDENT LAW GROUP, PC                   Service                $    (3,010.60)
9/11/2019   ARDENT LAW GROUP, PC                   Service                $    (3,669.00)
9/24/2019   ARDENT LAW GROUP, PC                   Service                $    (1,080.00)
8/19/2019   ARIZONA DEPT. OF REVENUE               tax                    $        (7.49)
9/19/2019   ARIZONA DEPT. OF REVENUE               tax                    $       (28.27)
9/17/2019   ASKEW INDUSTRIAL CORP                  Suppliers or Vendors   $       (38.50)
7/9/2019    AT & T MOBILITY                        Suppliers or Vendors   $      (420.50)
8/9/2019    AT & T MOBILITY                        Suppliers or Vendors   $      (585.13)
9/11/2019   AT & T MOBILITY                        Suppliers or Vendors   $      (415.66)
7/9/2019    AT&T                                   Suppliers or Vendors   $      (202.36)
7/9/2019    AT&T                                   Suppliers or Vendors   $      (221.69)
7/9/2019    AT&T                                   Suppliers or Vendors   $    (1,420.34)
7/9/2019    AT&T                                   Suppliers or Vendors   $      (500.27)
7/15/2019   AT&T                                   Suppliers or Vendors   $      (260.17)
7/25/2019   AT&T                                   Suppliers or Vendors   $    (1,417.72)
7/25/2019   AT&T                                   Suppliers or Vendors   $      (197.63)
7/30/2019   AT&T                                   Suppliers or Vendors   $    (1,420.34)
7/30/2019   AT&T                                   Suppliers or Vendors   $      (504.73)
8/9/2019    AT&T                                   Suppliers or Vendors   $      (200.54)
8/9/2019    AT&T                                   Suppliers or Vendors   $      (218.19)
8/9/2019    AT&T                                   Suppliers or Vendors   $      (336.79)
8/20/2019   AT&T                                   Suppliers or Vendors   $    (1,430.50)
8/20/2019   AT&T                                   Suppliers or Vendors   $      (235.72)
8/28/2019   AT&T                                   Suppliers or Vendors   $    (1,420.34)
8/28/2019   AT&T                                   Suppliers or Vendors   $      (504.07)
9/6/2019    AT&T                                   Suppliers or Vendors   $      (251.56)
9/6/2019    AT&T                                   Suppliers or Vendors   $      (274.57)
9/13/2019   AT&T                                   Suppliers or Vendors   $      (346.73)
9/23/2019   AT&T                                   Suppliers or Vendors   $    (1,468.06)
9/23/2019   AT&T                                   Suppliers or Vendors   $      (226.10)
7/1/2019    AU OPTRONICS CORPORATION               Suppliers or Vendors   $   (33,258.00)
7/25/2019   B&T SALES LLC                          Suppliers or Vendors   $      (118.15)
8/19/2019   B&T SALES LLC                          Suppliers or Vendors   $      (368.15)
9/17/2019   B&T SALES LLC                          Suppliers or Vendors   $      (169.85)
7/24/2019   BANK OF THE WEST-#0766-MICHELL         Suppliers or Vendors   $    (3,806.83)
8/23/2019   BANK OF THE WEST-#0766-MICHELL         Suppliers or Vendors   $    (5,849.21)
9/23/2019   BANK OF THE WEST-#0766-MICHELL         Suppliers or Vendors   $    (1,594.31)
8/23/2019   BANK OF THE WEST-#5576-AMY             Suppliers or Vendors   $      (599.88)
8/23/2019   BANK OF THE WEST-#5576-AMY             Suppliers or Vendors   $    (1,799.00)
9/23/2019   BANK OF THE WEST-#5576-AMY             Suppliers or Vendors   $      (803.00)
7/24/2019   BANK OF THE WEST-#9005-EDDIE           Suppliers or Vendors   $      (305.07)
8/23/2019   BANK OF THE WEST-#9005-EDDIE           Suppliers or Vendors   $      (525.71)
9/23/2019   BANK OF THE WEST-#9005-EDDIE           Suppliers or Vendors   $      (594.11)
7/9/2019    BELDEN INC.                            Suppliers or Vendors   $    (4,951.35)
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7/25/2019   BELDEN INC.                            Suppliers or Vendors   $   (18,095.90)
8/19/2019   BELDEN INC.                            Suppliers or Vendors   $      (573.20)
7/25/2019   BEST WESTERN INT'L INC.                Suppliers or Vendors   $       (71.40)
7/25/2019   BING JENG (Bing) HWANG                 Suppliers or Vendors   $       (29.16)
7/1/2019    BI-SEARCH INTERNATIONAL INC.           Suppliers or Vendors   $   (16,435.00)
7/31/2019   BI-SEARCH INTERNATIONAL INC.           Suppliers or Vendors   $    (6,729.00)
8/28/2019   BI-SEARCH INTERNATIONAL INC.           Suppliers or Vendors   $    (5,037.00)
8/9/2019    BIZLINK TECHNOLOGY, INC.               Suppliers or Vendors   $    (4,000.00)
8/19/2019   BLUE CHIP PEST CONTROL, INC.           Suppliers or Vendors   $       (80.00)
8/28/2019   BLUE CHIP PEST CONTROL, INC.           Suppliers or Vendors   $       (80.00)
7/26/2019   BOARD OF EQUALIZATION                  tax                    $    (7,963.00)
8/19/2019   BOTTOMLINE TECHNOLOGIES (DE) I         Suppliers or Vendors   $    (4,950.17)
8/19/2019   BOYD CORPORATION                       Suppliers or Vendors   $    (2,500.00)
7/25/2019   BROOKS INTERNET SOFTWARE, INC.         Suppliers or Vendors   $       (58.32)
8/9/2019    BUREAU OF ELECTRONIC & APPLIAN         Suppliers or Vendors   $      (375.00)
7/15/2019   CALIFORNIA WATER SERVICE COMPA         Suppliers or Vendors   $      (219.31)
7/15/2019   CALIFORNIA WATER SERVICE COMPA         Suppliers or Vendors   $       (51.63)
8/9/2019    CALIFORNIA WATER SERVICE COMPA         Suppliers or Vendors   $      (385.51)
8/9/2019    CALIFORNIA WATER SERVICE COMPA         Suppliers or Vendors   $       (51.63)
9/6/2019    CALIFORNIA WATER SERVICE COMPA         Suppliers or Vendors   $       (51.63)
9/11/2019   CALIFORNIA WATER SERVICE COMPA         Suppliers or Vendors   $      (333.26)
8/30/2019   CENTRAL TRANSPORT LLC                  Suppliers or Vendors   $       (94.71)
9/17/2019   CENTRAL TRANSPORT LLC                  Suppliers or Vendors   $      (135.59)
7/12/2019   CHEETAH EXPRESS INC.                   Suppliers or Vendors   $      (532.80)
8/9/2019    CHEETAH EXPRESS INC.                   Suppliers or Vendors   $      (205.00)
8/28/2019   CHEETAH EXPRESS INC.                   Suppliers or Vendors   $       (95.00)
9/6/2019    CHEETAH EXPRESS INC.                   Suppliers or Vendors   $    (2,695.00)
9/17/2019   CHINESE CONSUMER YELLOW PAGES          Suppliers or Vendors   $    (1,440.00)
9/30/2019   CHRISTINA SUN                          Suppliers or Vendors   $    (6,780.00)
7/25/2019   CHUBB & SON                            Suppliers or Vendors   $    (4,376.06)
8/20/2019   CHUBB & SON                            Suppliers or Vendors   $    (4,376.06)
7/25/2019   COASTAL SECURITY CONSULTANTS L         Suppliers or Vendors   $       (79.10)
8/19/2019   COASTAL SECURITY CONSULTANTS L         Suppliers or Vendors   $      (230.05)
9/17/2019   COASTAL SECURITY CONSULTANTS L         Suppliers or Vendors   $      (235.70)
7/25/2019   COAXIAL SYSTEMS ASSOCIATES INC         Suppliers or Vendors   $       (10.45)
8/19/2019   COAXIAL SYSTEMS ASSOCIATES INC         Suppliers or Vendors   $       (82.40)
9/17/2019   COAXIAL SYSTEMS ASSOCIATES INC         Suppliers or Vendors   $       (16.70)
7/9/2019    COMMERCE TECHNOLOGIES, LLC DBA         Suppliers or Vendors   $      (167.90)
8/9/2019    COMMERCE TECHNOLOGIES, LLC DBA         Suppliers or Vendors   $      (226.30)
7/25/2019   CONNECTIVITY CONSULTANTS, INC.         Suppliers or Vendors   $      (110.50)
8/19/2019   CONNECTIVITY CONSULTANTS, INC.         Suppliers or Vendors   $       (77.65)
9/17/2019   CONNECTIVITY CONSULTANTS, INC.         Suppliers or Vendors   $      (172.85)
7/11/2019   CONNELL BROS. CO. LLC                  Suppliers or Vendors   $   (25,909.63)
7/29/2019   CRESYN CO., LTD.                       Suppliers or Vendors   $   (14,713.68)
8/26/2019   DAL (DISPLAY AND LIFE)                 Suppliers or Vendors   $    (1,587.90)
7/1/2019    DANOTECH CO., LTD.                     Suppliers or Vendors   $   (49,905.00)
8/1/2019    DANOTECH CO., LTD.                     Suppliers or Vendors   $   (47,565.00)
7/8/2019    DARFON ELECTRONICS CORP.               Suppliers or Vendors   $   (62,481.00)
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8/6/2019    DARFON ELECTRONICS CORP.              Suppliers or Vendors   $   (83,313.00)
8/26/2019   DARFON ELECTRONICS CORP.              Suppliers or Vendors   $   (20,817.00)
9/24/2019   DARFON ELECTRONICS CORP.              Suppliers or Vendors   $   (65,985.00)
7/30/2019   DAYLIGHT TRANSPORT, LLC               Suppliers or Vendors   $    (1,302.18)
8/9/2019    DAYLIGHT TRANSPORT, LLC               Suppliers or Vendors   $      (469.47)
9/6/2019    DAYLIGHT TRANSPORT, LLC               Suppliers or Vendors   $    (1,668.13)
9/11/2019   DAYLIGHT TRANSPORT, LLC               Suppliers or Vendors   $      (656.99)
9/17/2019   DAYLIGHT TRANSPORT, LLC               Suppliers or Vendors   $      (198.15)
9/25/2019   DAYLIGHT TRANSPORT, LLC               Suppliers or Vendors   $      (136.75)
7/25/2019   DENTAL HEALTH SERVICES                Suppliers or Vendors   $      (301.95)
8/28/2019   DENTAL HEALTH SERVICES                Suppliers or Vendors   $      (251.45)
7/15/2019   DIGI-KEY Electronics 37528            Suppliers or Vendors   $       (36.72)
7/25/2019   DIGI-KEY Electronics 37528            Suppliers or Vendors   $       (19.76)
8/9/2019    DIGI-KEY Electronics 37528            Suppliers or Vendors   $    (3,714.96)
9/6/2019    DIGI-KEY Electronics 37528            Suppliers or Vendors   $       (27.22)
7/25/2019   DLS INTERNATIONAL                     Suppliers or Vendors   $      (137.33)
8/19/2019   DLS INTERNATIONAL                     Suppliers or Vendors   $       (31.25)
9/17/2019   DLS INTERNATIONAL                     Suppliers or Vendors   $       (60.59)
8/9/2019    DMV                                   Suppliers or Vendors   $      (546.00)
8/9/2019    DMV                                   Suppliers or Vendors   $      (283.00)
8/9/2019    DMV                                   Suppliers or Vendors   $      (226.00)
8/19/2019   DMV                                   Suppliers or Vendors   $      (440.00)
9/6/2019    DMV                                   Suppliers or Vendors   $      (607.00)
7/15/2019   DOC ACQUISITION, LLC                  Suppliers or Vendors   $    (1,418.02)
8/19/2019   DOC ACQUISITION, LLC                  Suppliers or Vendors   $    (1,418.02)
7/1/2019    DOW CHEMICAL PACIFIC LTD.             Suppliers or Vendors   $   (84,543.43)
8/21/2019   DOW CHEMICAL PACIFIC LTD.             Suppliers or Vendors   $   (47,103.02)
7/24/2019   DSTAR TECHNOLOGY CO., LTD.            Suppliers or Vendors   $      (415.00)
7/25/2019   DUN & BRADSTREET CREDIBILITY C        Suppliers or Vendors   $    (1,088.91)
9/3/2019    E-CENTURY TECHNICAL & INDUSTRI        Suppliers or Vendors   $    (3,255.00)
9/23/2019   EDGEWOOD PARTNERS INSURANCE CE        Suppliers or Vendors   $      (250.95)
7/25/2019   EGC ENTERPRISES, INC.                 Suppliers or Vendors   $      (605.76)
7/25/2019   EHP SOLUTION (HAN BYUL KIM)           Suppliers or Vendors   $      (899.80)
8/19/2019   EHP SOLUTION (HAN BYUL KIM)           Suppliers or Vendors   $       (17.45)
9/17/2019   EHP SOLUTION (HAN BYUL KIM)           Suppliers or Vendors   $      (462.60)
8/9/2019    EIS, INC.                             Suppliers or Vendors   $      (752.25)
8/19/2019   EIS, INC.                             Suppliers or Vendors   $    (4,095.53)
9/23/2019   EIS, INC.                             Suppliers or Vendors   $      (752.25)
9/6/2019    ELECTRO STATIC TECHNOLOGY - IT        Suppliers or Vendors   $      (725.00)
7/9/2019    ELWOOD STAFFING SERVICES, INC.        Suppliers or Vendors   $    (1,731.94)
7/9/2019    ELWOOD STAFFING SERVICES, INC.        Suppliers or Vendors   $    (2,456.13)
7/9/2019    ELWOOD STAFFING SERVICES, INC.        Suppliers or Vendors   $    (3,336.00)
7/9/2019    ELWOOD STAFFING SERVICES, INC.        Suppliers or Vendors   $    (3,869.76)
7/25/2019   ELWOOD STAFFING SERVICES, INC.        Suppliers or Vendors   $    (3,202.56)
7/30/2019   ELWOOD STAFFING SERVICES, INC.        Suppliers or Vendors   $    (7,572.72)
8/9/2019    ELWOOD STAFFING SERVICES, INC.        Suppliers or Vendors   $    (3,669.60)
8/19/2019   ELWOOD STAFFING SERVICES, INC.        Suppliers or Vendors   $    (3,886.44)
9/6/2019    ELWOOD STAFFING SERVICES, INC.        Suppliers or Vendors   $    (7,856.28)
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9/11/2019   ELWOOD STAFFING SERVICES, INC.          Suppliers or Vendors   $    (8,423.40)
9/23/2019   ELWOOD STAFFING SERVICES, INC.          Suppliers or Vendors   $    (2,998.23)
9/30/2019   ELWOOD STAFFING SERVICES, INC.          Suppliers or Vendors   $   (12,000.00)
8/19/2019   EMERSON CLIMATE TECHNOLOGIES            Suppliers or Vendors   $   (44,732.00)
8/26/2019   EMERSON CLIMATE TECHNOLOGIES            Suppliers or Vendors   $   (24,746.80)
9/6/2019    EMERSON CLIMATE TECHNOLOGIES            Suppliers or Vendors   $   (31,081.32)
9/24/2019   EMERSON CLIMATE TECHNOLOGIES            Suppliers or Vendors   $    (1,675.00)
7/10/2019   EMERSON ELECTRIC (THAILAND) LT          Suppliers or Vendors   $   (29,937.00)
8/1/2019    EMERSON ELECTRIC (THAILAND) LT          Suppliers or Vendors   $    (6,641.00)
8/14/2019   EMERSON ELECTRIC (THAILAND) LT          Suppliers or Vendors   $   (18,246.28)
8/29/2019   EMERSON ELECTRIC (THAILAND) LT          Suppliers or Vendors   $   (29,817.76)
9/6/2019    EMERSON ELECTRIC (THAILAND) LT          Suppliers or Vendors   $   (64,786.28)
7/9/2019    ESSEX GROUP INC.                        Suppliers or Vendors   $    (1,132.72)
8/9/2019    ESSEX GROUP INC.                        Suppliers or Vendors   $      (533.83)
7/9/2019    EULER HERMES ACI                        Suppliers or Vendors   $      (220.00)
7/25/2019   EULER HERMES ACI                        Suppliers or Vendors   $      (333.33)
7/30/2019   EULER HERMES ACI                        Suppliers or Vendors   $      (333.33)
8/19/2019   EULER HERMES ACI                        Suppliers or Vendors   $      (428.33)
9/17/2019   EULER HERMES ACI                        Suppliers or Vendors   $      (333.33)
8/9/2019    EX INDUSTRIES                           Suppliers or Vendors   $    (1,633.60)
9/6/2019    EX INDUSTRIES                           Suppliers or Vendors   $      (502.80)
8/19/2019   EXPO TECHNOLOGIES, INC.                 Suppliers or Vendors   $    (5,517.00)
7/9/2019    EXPRESS LINE CORPORATION                Suppliers or Vendors   $    (1,131.20)
7/9/2019    EXPRESS LINE CORPORATION                Suppliers or Vendors   $    (1,823.98)
7/15/2019   EXPRESS LINE CORPORATION                Suppliers or Vendors   $    (2,961.28)
7/30/2019   EXPRESS LINE CORPORATION                Suppliers or Vendors   $      (629.64)
8/9/2019    EXPRESS LINE CORPORATION                Suppliers or Vendors   $    (7,765.26)
8/9/2019    EXPRESS LINE CORPORATION                Suppliers or Vendors   $    (7,398.73)
8/28/2019   EXPRESS LINE CORPORATION                Suppliers or Vendors   $    (8,365.55)
8/28/2019   EXPRESS LINE CORPORATION                Suppliers or Vendors   $    (3,288.54)
9/6/2019    EXPRESS LINE CORPORATION                Suppliers or Vendors   $   (27,467.04)
9/13/2019   EXPRESS LINE CORPORATION                Suppliers or Vendors   $    (5,739.61)
9/23/2019   EXPRESS LINE CORPORATION                Suppliers or Vendors   $   (30,367.21)
8/14/2019   F & L Petroleum Products                Suppliers or Vendors   $      (368.40)
7/9/2019    FABRIQUE, LTD.                          Suppliers or Vendors   $   (17,902.08)
7/9/2019    FABRIQUE, LTD.                          Suppliers or Vendors   $   (38,419.20)
7/30/2019   FABRIQUE, LTD.                          Suppliers or Vendors   $   (19,595.52)
9/6/2019    FABRIQUE, LTD.                          Suppliers or Vendors   $   (41,790.00)
9/11/2019   FABRIQUE, LTD.                          Suppliers or Vendors   $   (19,595.52)
9/23/2019   FABRIQUE, LTD.                          Suppliers or Vendors   $   (29,393.28)
7/9/2019    FASTLINK LOGISTICS                      Suppliers or Vendors   $      (170.00)
7/15/2019   FASTLINK LOGISTICS                      Suppliers or Vendors   $       (50.00)
7/25/2019   FASTLINK LOGISTICS                      Suppliers or Vendors   $      (170.00)
7/30/2019   FASTLINK LOGISTICS                      Suppliers or Vendors   $       (35.00)
8/9/2019    FASTLINK LOGISTICS                      Suppliers or Vendors   $      (235.00)
8/19/2019   FASTLINK LOGISTICS                      Suppliers or Vendors   $       (50.00)
8/28/2019   FASTLINK LOGISTICS                      Suppliers or Vendors   $      (135.00)
9/6/2019    FASTLINK LOGISTICS                      Suppliers or Vendors   $      (135.00)
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9/17/2019   FASTLINK LOGISTICS                   Suppliers or Vendors   $       (170.00)
8/9/2019    FEDERAL LOGISTICS, INC.              Suppliers or Vendors   $     (2,360.00)
7/9/2019    FEDEX FREIGHT WEST, INC.             Suppliers or Vendors   $       (619.78)
7/25/2019   FEDEX FREIGHT WEST, INC.             Suppliers or Vendors   $       (417.64)
8/19/2019   FEDEX FREIGHT WEST, INC.             Suppliers or Vendors   $       (199.32)
8/28/2019   FEDEX FREIGHT WEST, INC.             Suppliers or Vendors   $       (812.71)
9/25/2019   FEDEX FREIGHT WEST, INC.             Suppliers or Vendors   $       (457.08)
7/1/2019    FEFAN TECHNOLOGY CO., LTD.           Suppliers or Vendors   $    (48,041.55)
9/3/2019    FEFAN TECHNOLOGY CO., LTD.           Suppliers or Vendors   $    (32,465.00)
9/10/2019   FEFAN TECHNOLOGY CO., LTD.           Suppliers or Vendors   $     (1,767.00)
7/8/2019    FIRST INSURANCE FUNDING CORP.        Suppliers or Vendors   $     (7,882.87)
7/25/2019   FIRST INSURANCE FUNDING CORP.        Suppliers or Vendors   $     (9,523.56)
8/20/2019   FIRST INSURANCE FUNDING CORP.        Suppliers or Vendors   $     (9,523.56)
9/23/2019   FIRST INSURANCE FUNDING CORP.        Suppliers or Vendors   $     (9,523.56)
8/9/2019    FIRST SHRIJI HOSPITALITY             Suppliers or Vendors   $     (5,820.00)
7/25/2019   FLORENCIO LI WEE (LAWRENCE)          Suppliers or Vendors   $       (457.00)
9/6/2019    FLORENCIO LI WEE (LAWRENCE)          Suppliers or Vendors   $        (62.84)
9/17/2019   FLORENCIO LI WEE (LAWRENCE)          Suppliers or Vendors   $        (80.16)
7/19/2019   FLORIDA DEPT. OF REVENUE             tax                    $         (4.95)
8/27/2019   FLORIDA DEPT. OF REVENUE             tax                    $        (34.74)
9/19/2019   FLORIDA DEPT. OF REVENUE             tax                    $        (76.72)
9/11/2019   FREIGHT CONNECTION                   Suppliers or Vendors   $     (1,990.00)
9/25/2019   FREIGHT CONNECTION                   Suppliers or Vendors   $     (1,999.00)
7/19/2019   GANZHOU DEHUIDA TECHNOLOGY CO.       Suppliers or Vendors   $    (10,565.00)
9/17/2019   GANZHOU DEHUIDA TECHNOLOGY CO.       Suppliers or Vendors   $    (15,855.00)
7/19/2019   GEORGIA DEPARTMENT OF REVENUE        tax                    $        (18.49)
8/19/2019   GEXPRO                               Suppliers or Vendors   $     (5,520.60)
9/23/2019   GEXPRO                               Suppliers or Vendors   $     (5,595.60)
7/30/2019   GIBSON, DUNN & CRUTCHER, LLP         Service                $     (2,474.75)
8/19/2019   GIBSON, DUNN & CRUTCHER, LLP         Service                $       (567.63)
9/11/2019   GIBSON, DUNN & CRUTCHER, LLP         Service                $     (3,074.20)
8/19/2019   GLOBAL EXCHANGE SERVICES             Suppliers or Vendors   $       (896.99)
9/23/2019   GLOBAL EXCHANGE SERVICES             Suppliers or Vendors   $       (897.21)
7/30/2019   GONZALEZ, SONYA                      Suppliers or Vendors   $       (750.00)
7/25/2019   GREAT AMERICAN INSURANCE CO.         Suppliers or Vendors   $       (502.24)
8/28/2019   GREAT AMERICAN INSURANCE CO.         Suppliers or Vendors   $        (83.57)
9/3/2019    GUANGDONG GALANZ MICROWAVE ELE       Suppliers or Vendors   $    (19,245.36)
8/19/2019   HATCH INC.                           Suppliers or Vendors   $       (943.20)
7/30/2019   HEALTH NET OF CALIFORNIA INC.        Suppliers or Vendors   $    (39,227.89)
8/28/2019   HEALTH NET OF CALIFORNIA INC.        Suppliers or Vendors   $    (38,260.01)
7/19/2019   HOME EASY INDUSTRIAL CO., LTD.       Suppliers or Vendors   $     (3,661.84)
8/15/2019   HOME EASY INDUSTRIAL CO., LTD.       Suppliers or Vendors   $     (8,564.30)
7/1/2019    HON HAI PRECISION INDUSTRY CO.       Suppliers or Vendors   $   (114,100.00)
7/3/2019    HON HAI PRECISION INDUSTRY CO.       Suppliers or Vendors   $   (141,000.00)
7/19/2019   HON HAI PRECISION INDUSTRY CO.       Suppliers or Vendors   $    (42,300.00)
8/1/2019    HON HAI PRECISION INDUSTRY CO.       Suppliers or Vendors   $    (52,158.00)
8/8/2019    HON HAI PRECISION INDUSTRY CO.       Suppliers or Vendors   $   (132,442.00)
8/15/2019   HON HAI PRECISION INDUSTRY CO.       Suppliers or Vendors   $   (129,130.00)
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9/6/2019    HON HAI PRECISION INDUSTRY CO.         Suppliers or Vendors   $ (16,920.00)
7/22/2019   HONG CHANG PRECISION INDUSTRIA         Suppliers or Vendors   $ (45,685.90)
9/10/2019   HONG CHANG PRECISION INDUSTRIA         Suppliers or Vendors   $ (44,107.50)
7/25/2019   HUBBELL POWER SYSTEMS, INC.            Suppliers or Vendors   $ (36,105.00)
8/23/2019   HUBBELL POWER SYSTEMS, INC.            Suppliers or Vendors   $   (6,472.65)
7/30/2019   HUEI-JIHN JIH                          Suppliers or Vendors   $      (74.26)
9/25/2019   HUEI-JIHN JIH                          Suppliers or Vendors   $     (700.00)
7/9/2019    IBM CORPORATION                        Suppliers or Vendors   $   (2,543.15)
7/30/2019   IBM CORPORATION                        Suppliers or Vendors   $   (2,543.15)
9/6/2019    IBM CORPORATION                        Suppliers or Vendors   $   (2,543.15)
8/19/2019   IMERYS FUSED MINERALS GREENEVI         Suppliers or Vendors   $ (24,780.96)
8/28/2019   IMERYS FUSED MINERALS GREENEVI         Suppliers or Vendors   $   (5,217.04)
7/15/2019   INPRO/SEAL LLC                         Suppliers or Vendors   $   (4,974.33)
8/9/2019    INPRO/SEAL LLC                         Suppliers or Vendors   $     (964.55)
8/28/2019   INPRO/SEAL LLC                         Suppliers or Vendors   $     (259.99)
9/11/2019   INPRO/SEAL LLC                         Suppliers or Vendors   $   (4,321.54)
9/23/2019   INPRO/SEAL LLC                         Suppliers or Vendors   $     (316.87)
7/25/2019   INTERTEK TESTING SERVICES NA,I         Suppliers or Vendors   $   (3,945.00)
8/9/2019    INTERTEK TESTING SERVICES NA,I         Suppliers or Vendors   $   (4,950.00)
7/25/2019   J.M. CARDEN SPRINKLER CO., INC         Suppliers or Vendors   $   (1,303.00)
7/25/2019   JCLEMENTE & ASSOCIATES                 Suppliers or Vendors   $     (356.55)
8/20/2019   JCLEMENTE & ASSOCIATES                 Suppliers or Vendors   $   (1,040.20)
9/17/2019   JCLEMENTE & ASSOCIATES                 Suppliers or Vendors   $     (437.38)
7/9/2019    JDI DISPLAY AMERICA, INC.              Suppliers or Vendors   $ (69,619.20)
8/9/2019    JDI DISPLAY AMERICA, INC.              Suppliers or Vendors   $ (69,619.20)
8/28/2019   JDI DISPLAY AMERICA, INC.              Suppliers or Vendors   $ (139,238.40)
9/30/2019   JDI DISPLAY AMERICA, INC.              Suppliers or Vendors   $ (278,461.80)
7/15/2019   JOHN IOZZI                             Suppliers or Vendors   $      (40.00)
8/19/2019   JOHN IOZZI                             Suppliers or Vendors   $      (40.00)
9/17/2019   JOHN IOZZI                             Suppliers or Vendors   $      (40.00)
7/30/2019   JUAN DURAN                             Suppliers or Vendors   $     (285.00)
8/1/2019    KHANG & KHANG LLP                      Service                $   (5,000.00)
7/31/2019   KLA-TENCOR CORPORATION                 Suppliers or Vendors   $     (128.45)
8/19/2019   KOMATSU FORKLIFT RETAIL OPERAT         Suppliers or Vendors   $      (11.43)
7/2/2019    KUO HSIUNG HUANG                       Suppliers or Vendors   $   (3,953.00)
7/31/2019   KUO HSIUNG HUANG                       Suppliers or Vendors   $   (3,992.00)
8/30/2019   KUO HSIUNG HUANG                       Suppliers or Vendors   $   (4,482.00)
9/30/2019   KUO HSIUNG HUANG                       Suppliers or Vendors   $   (3,947.00)
8/28/2019   KYVAS INTERNATIONAL CO., LTD.          Suppliers or Vendors   $   (4,132.00)
9/30/2019   KYVAS INTERNATIONAL CO., LTD.          Suppliers or Vendors   $   (9,661.80)
8/19/2019   L.E.C. SERVICE, INC.                   Suppliers or Vendors   $     (812.01)
9/17/2019   L.E.C. SERVICE, INC.                   Suppliers or Vendors   $     (591.28)
7/9/2019    LANDSBERG                              Suppliers or Vendors   $   (3,202.46)
7/25/2019   LANDSBERG                              Suppliers or Vendors   $      (63.80)
9/6/2019    LANDSBERG                              Suppliers or Vendors   $   (2,584.00)
9/17/2019   LEVI P. LLORICO                        Suppliers or Vendors   $     (420.00)
7/9/2019    LEXUS FINANCIAL SERVICES               Suppliers or Vendors   $     (485.00)
8/9/2019    LEXUS FINANCIAL SERVICES               Suppliers or Vendors   $     (485.00)
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9/6/2019    LEXUS FINANCIAL SERVICES              Suppliers or Vendors   $      (485.00)
7/9/2019    LIAU, TOM                             Suppliers or Vendors   $      (152.82)
7/25/2019   LIAU, TOM                             Suppliers or Vendors   $      (123.16)
8/19/2019   LIAU, TOM                             Suppliers or Vendors   $      (173.88)
9/6/2019    LIAU, TOM                             Suppliers or Vendors   $      (109.66)
9/11/2019   LINDA Y. LI                           Suppliers or Vendors   $      (280.00)
7/9/2019    LIQUID CAPITAL EXCHANGE, INC.         Suppliers or Vendors   $    (6,000.00)
8/5/2019    LITE-ON TECHNOLOGY CORPORATION        Suppliers or Vendors   $   (57,524.70)
9/17/2019   LITE-ON TECHNOLOGY CORPORATION        Suppliers or Vendors   $   (38,344.80)
9/6/2019    LOS ANGELES COUNTY FIRE DEPT.         Suppliers or Vendors   $    (1,353.00)
7/25/2019   MAJANO VILMA                          Suppliers or Vendors   $       (40.00)
8/19/2019   MAJANO VILMA                          Suppliers or Vendors   $       (40.00)
9/11/2019   MAJANO VILMA                          Suppliers or Vendors   $       (40.00)
9/11/2019   McMASTER-CARR SUPPLY COMPANY          Suppliers or Vendors   $       (21.02)
9/23/2019   McMASTER-CARR SUPPLY COMPANY          Suppliers or Vendors   $       (39.91)
7/9/2019    MERCEDES-BENZ FINANCIAL SERVIC        Suppliers or Vendors   $    (1,198.24)
8/9/2019    MERCEDES-BENZ FINANCIAL SERVIC        Suppliers or Vendors   $    (1,198.24)
9/6/2019    MERCEDES-BENZ FINANCIAL SERVIC        Suppliers or Vendors   $    (1,198.24)
7/25/2019   METRO SALES GROUP LLC                 Suppliers or Vendors   $      (190.70)
8/19/2019   METRO SALES GROUP LLC                 Suppliers or Vendors   $      (117.80)
9/17/2019   METRO SALES GROUP LLC                 Suppliers or Vendors   $      (392.20)
7/9/2019    MICHAEL YU                            Suppliers or Vendors   $    (1,053.36)
7/25/2019   MIDWEST MARKETING,INC                 Suppliers or Vendors   $      (119.65)
8/19/2019   MIDWEST MARKETING,INC                 Suppliers or Vendors   $      (236.65)
9/17/2019   MIDWEST MARKETING,INC                 Suppliers or Vendors   $      (233.60)
7/30/2019   MIKE PIN-FAR LEE                      Suppliers or Vendors   $      (138.94)
8/28/2019   MIKE PIN-FAR LEE                      Suppliers or Vendors   $      (911.95)
9/17/2019   MIKE PIN-FAR LEE                      Suppliers or Vendors   $       (50.00)
7/9/2019    MINCO PRODUCTS, INC.                  Suppliers or Vendors   $   (14,660.06)
8/9/2019    MINCO PRODUCTS, INC.                  Suppliers or Vendors   $    (7,654.60)
8/28/2019   MINCO PRODUCTS, INC.                  Suppliers or Vendors   $    (7,654.60)
9/6/2019    MINCO PRODUCTS, INC.                  Suppliers or Vendors   $    (3,443.53)
8/9/2019    MLA TRANS LLC                         Suppliers or Vendors   $    (1,190.00)
8/28/2019   MLA TRANS LLC                         Suppliers or Vendors   $    (3,800.00)
9/6/2019    MLA TRANS LLC                         Suppliers or Vendors   $    (3,800.00)
9/11/2019   MLA TRANS LLC                         Suppliers or Vendors   $    (3,800.00)
9/6/2019    MODERNSOLID INDUSTRIAL CO., LT        Suppliers or Vendors   $      (597.50)
7/25/2019   MONTHES PALLETS, INC                  Suppliers or Vendors   $    (2,450.00)
8/9/2019    MONTHES PALLETS, INC                  Suppliers or Vendors   $    (1,300.00)
8/19/2019   MONTHES PALLETS, INC                  Suppliers or Vendors   $    (1,547.50)
9/17/2019   MONTHES PALLETS, INC                  Suppliers or Vendors   $    (1,150.00)
9/23/2019   MONTHES PALLETS, INC                  Suppliers or Vendors   $    (1,591.50)
7/15/2019   MOUSER ELECTRONICS                    Suppliers or Vendors   $      (104.50)
8/9/2019    MOUSER ELECTRONICS                    Suppliers or Vendors   $      (104.50)
9/6/2019    MPEGLA                                Suppliers or Vendors   $      (666.00)
7/25/2019   MUTUAL OF OMAHA                       Suppliers or Vendors   $      (190.06)
8/28/2019   MUTUAL OF OMAHA                       Suppliers or Vendors   $      (837.88)
9/25/2019   MUTUAL OF OMAHA                       Suppliers or Vendors   $      (845.10)
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7/9/2019    NEOPOST USA INC.                        Suppliers or Vendors   $       (505.96)
7/19/2019   NEW JERSEY SALES TAX                    tax                    $        (53.66)
9/19/2019   NEW YORK STATE SALES TAX                tax                    $        (98.64)
7/25/2019   NGLIC                                   Suppliers or Vendors   $       (253.80)
8/28/2019   NGLIC                                   Suppliers or Vendors   $       (253.36)
9/23/2019   NGLIC                                   Suppliers or Vendors   $       (260.04)
7/25/2019   OSI BATTERIES INC. DBA OHLIN S          Suppliers or Vendors   $     (1,800.00)
7/1/2019    OTHELLO LIMITED                         Suppliers or Vendors   $   (124,969.68)
7/16/2019   OTHELLO LIMITED                         Suppliers or Vendors   $   (124,969.68)
7/25/2019   OTHELLO LIMITED                         Suppliers or Vendors   $   (108,347.88)
8/1/2019    OTHELLO LIMITED                         Suppliers or Vendors   $    (94,495.32)
8/8/2019    OTHELLO LIMITED                         Suppliers or Vendors   $    (60,933.72)
8/19/2019   OTHELLO LIMITED                         Suppliers or Vendors   $   (277,341.48)
9/3/2019    OTHELLO LIMITED                         Suppliers or Vendors   $   (169,806.24)
9/10/2019   OTHELLO LIMITED                         Suppliers or Vendors   $    (23,306.00)
7/9/2019    PAIGE ELECTRIC COMPANY LP               Suppliers or Vendors   $     (1,179.49)
9/23/2019   PAIGE ELECTRIC COMPANY LP               Suppliers or Vendors   $    (17,408.16)
7/9/2019    PETER, FARZIN                           Suppliers or Vendors   $       (120.00)
7/25/2019   PGSA                                    Suppliers or Vendors   $       (452.05)
8/19/2019   PGSA                                    Suppliers or Vendors   $       (172.21)
9/17/2019   PGSA                                    Suppliers or Vendors   $       (316.06)
7/25/2019   PGSA-EAST                               Suppliers or Vendors   $       (155.25)
8/9/2019    PING-HUANG TSAI                         Suppliers or Vendors   $        (31.50)
9/6/2019    PING-HUANG TSAI                         Suppliers or Vendors   $        (41.04)
7/25/2019   PINNACLE MARKETING, INC.                Suppliers or Vendors   $        (47.35)
8/19/2019   PINNACLE MARKETING, INC.                Suppliers or Vendors   $       (140.20)
9/17/2019   PINNACLE MARKETING, INC.                Suppliers or Vendors   $       (274.50)
7/25/2019   PMA MARKETING, INC.                     Suppliers or Vendors   $       (427.50)
8/19/2019   PMA MARKETING, INC.                     Suppliers or Vendors   $     (2,176.28)
9/17/2019   PMA MARKETING, INC.                     Suppliers or Vendors   $       (967.05)
7/1/2019    PNY TECHNLOGIES ASIA PACIFIC L          Suppliers or Vendors   $    (58,460.40)
9/3/2019    PNY TECHNLOGIES ASIA PACIFIC L          Suppliers or Vendors   $     (1,878.00)
9/6/2019    PRECISION STEEL WAREHOSUE, INC          Suppliers or Vendors   $     (4,433.24)
7/29/2019   PRIMAX ELECTRONICS LTD.                 Suppliers or Vendors   $   (133,167.60)
8/5/2019    PRIMAX ELECTRONICS LTD.                 Suppliers or Vendors   $    (12,072.00)
8/14/2019   PRIMAX ELECTRONICS LTD.                 Suppliers or Vendors   $    (18,994.20)
8/28/2019   PRIMAX ELECTRONICS LTD.                 Suppliers or Vendors   $    (18,975.72)
9/3/2019    PRIMAX ELECTRONICS LTD.                 Suppliers or Vendors   $    (23,773.80)
9/10/2019   PRIMAX ELECTRONICS LTD.                 Suppliers or Vendors   $    (39,952.20)
9/17/2019   PRIMAX ELECTRONICS LTD.                 Suppliers or Vendors   $     (7,161.96)
7/25/2019   R.L. GRAHAM ASSOCIATES                  Suppliers or Vendors   $       (175.65)
8/19/2019   R.L. GRAHAM ASSOCIATES                  Suppliers or Vendors   $       (347.10)
9/17/2019   R.L. GRAHAM ASSOCIATES                  Suppliers or Vendors   $       (382.70)
7/25/2019   RANCILIO ASSOCIATES, INC.               Suppliers or Vendors   $       (494.85)
7/25/2019   READYREFRESH                            Suppliers or Vendors   $       (390.61)
9/25/2019   READYREFRESH                            Suppliers or Vendors   $       (591.62)
7/25/2019   REPWORKS, INC.                          Suppliers or Vendors   $       (276.45)
8/19/2019   REPWORKS, INC.                          Suppliers or Vendors   $       (332.20)
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8/23/2019   REPWORKS, INC.                         Suppliers or Vendors   $      (275.00)
9/17/2019   REPWORKS, INC.                         Suppliers or Vendors   $      (487.60)
8/9/2019    ROCKET SOFTWARE INC.                   Suppliers or Vendors   $    (1,501.04)
9/17/2019   ROYAL INDUSTRIAL SOLUTIONS             Suppliers or Vendors   $       (35.58)
7/9/2019    RR DONNELLEY LOGISTICS SERVICE         Suppliers or Vendors   $      (424.59)
9/6/2019    RR DONNELLEY LOGISTICS SERVICE         Suppliers or Vendors   $      (523.50)
9/25/2019   RR DONNELLEY LOGISTICS SERVICE         Suppliers or Vendors   $      (926.73)
7/25/2019   SAVVY SUPPLY, INC.                     Suppliers or Vendors   $      (240.90)
8/28/2019   SAVVY SUPPLY, INC.                     Suppliers or Vendors   $      (441.07)
7/18/2019   SC FUELS                               Suppliers or Vendors   $      (229.42)
7/25/2019   SC FUELS                               Suppliers or Vendors   $      (201.58)
8/19/2019   SC FUELS                               Suppliers or Vendors   $      (169.75)
8/28/2019   SC FUELS                               Suppliers or Vendors   $      (242.91)
9/17/2019   SC FUELS                               Suppliers or Vendors   $      (242.02)
9/25/2019   SC FUELS                               Suppliers or Vendors   $      (218.90)
7/9/2019    SENTRYTECH SECURITY ALARM CO.          Suppliers or Vendors   $       (25.00)
8/6/2019    SENTRYTECH SECURITY ALARM CO.          Suppliers or Vendors   $       (25.00)
8/28/2019   SENTRYTECH SECURITY ALARM CO.          Suppliers or Vendors   $       (25.00)
7/29/2019   SHANGHAI KORRUN BAGS & LUGGAGE         Suppliers or Vendors   $   (25,585.00)
9/3/2019    SHANGHAI KORRUN BAGS & LUGGAGE         Suppliers or Vendors   $   (21,945.00)
9/13/2019   SHENZHEN CHUANGWEI ELECTRONIC          Suppliers or Vendors   $   (92,193.00)
9/18/2019   SHENZHEN CHUANGWEI ELECTRONIC          Suppliers or Vendors   $    (7,985.00)
7/29/2019   SHENZHEN CITY ALLENSON PHOTOEL         Suppliers or Vendors   $    (1,292.51)
9/6/2019    SHENZHEN CITY ALLENSON PHOTOEL         Suppliers or Vendors   $    (3,625.86)
9/12/2019   SHENZHEN CITY ALLENSON PHOTOEL         Suppliers or Vendors   $      (230.00)
7/24/2019   SHENZHEN DI SI DA ELECTRON CO.         Suppliers or Vendors   $      (215.50)
9/3/2019    SHENZHEN DI SI DA ELECTRON CO.         Suppliers or Vendors   $   (18,195.00)
7/2/2019    SHENZHEN KTC COMMERCIAL DISPLA         Suppliers or Vendors   $   (18,820.00)
7/10/2019   SHENZHEN KTC COMMERCIAL DISPLA         Suppliers or Vendors   $    (4,185.00)
8/29/2019   SHENZHEN KTC COMMERCIAL DISPLA         Suppliers or Vendors   $   (87,735.00)
9/10/2019   SHENZHEN KTC COMMERCIAL DISPLA         Suppliers or Vendors   $   (83,190.00)
7/16/2019   SHENZHEN KTC TECHNOLOGY CO. LT         Suppliers or Vendors   $    (4,209.00)
8/1/2019    SHENZHEN KTC TECHNOLOGY CO. LT         Suppliers or Vendors   $   (31,067.40)
9/24/2019   SHENZHEN KTC TECHNOLOGY CO. LT         Suppliers or Vendors   $   (23,745.00)
7/10/2019   SHIPPERS INSURANCE PROGRAM             Suppliers or Vendors   $      (141.16)
7/15/2019   SHIPPERS INSURANCE PROGRAM             Suppliers or Vendors   $      (117.90)
8/19/2019   SHIPPERS INSURANCE PROGRAM             Suppliers or Vendors   $       (89.29)
7/25/2019   SIAPIN HORTICULTURE, INC.              Suppliers or Vendors   $      (450.00)
8/19/2019   SIAPIN HORTICULTURE, INC.              Suppliers or Vendors   $      (450.00)
9/17/2019   SIAPIN HORTICULTURE, INC.              Suppliers or Vendors   $      (450.00)
7/9/2019    SIRIUS COMPUTER SOLUTIONS, INC         Suppliers or Vendors   $    (5,354.89)
7/9/2019    SoCalGas                               Suppliers or Vendors   $       (21.71)
7/30/2019   SoCalGas                               Suppliers or Vendors   $       (23.92)
8/28/2019   SoCalGas                               Suppliers or Vendors   $       (19.83)
7/10/2019   SONGLIN TECHNOLOGY CORP.               Suppliers or Vendors   $   (10,058.10)
8/1/2019    SONGLIN TECHNOLOGY CORP.               Suppliers or Vendors   $    (3,045.00)
9/10/2019   SONGLIN TECHNOLOGY CORP.               Suppliers or Vendors   $   (23,962.60)
8/19/2019   SOUTH BAY FABRICATION, INC.            Suppliers or Vendors   $      (140.00)
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8/28/2019   SOUTH BAY FABRICATION, INC.            Suppliers or Vendors   $    (1,032.88)
9/11/2019   SOUTH BAY FABRICATION, INC.            Suppliers or Vendors   $    (3,124.35)
9/17/2019   SOUTH BAY FABRICATION, INC.            Suppliers or Vendors   $      (330.00)
9/23/2019   SOUTH BAY FABRICATION, INC.            Suppliers or Vendors   $    (1,484.00)
7/15/2019   SOUTHERN CALIFORNIA EDISON             Suppliers or Vendors   $    (2,997.18)
8/9/2019    SOUTHERN CALIFORNIA EDISON             Suppliers or Vendors   $    (3,620.54)
9/11/2019   SOUTHERN CALIFORNIA EDISON             Suppliers or Vendors   $    (3,218.06)
7/18/2019   STAPLES ADVANTAGE                      Suppliers or Vendors   $       (20.93)
9/20/2019   STAPLES ADVANTAGE                      Suppliers or Vendors   $      (718.89)
7/25/2019   STAR BRITE BUILDING MAINTENANC         Suppliers or Vendors   $    (3,136.32)
8/28/2019   STAR BRITE BUILDING MAINTENANC         Suppliers or Vendors   $    (3,136.32)
9/25/2019   STAR BRITE BUILDING MAINTENANC         Suppliers or Vendors   $    (3,136.32)
9/30/2019   STAR BRITE BUILDING MAINTENANC         Suppliers or Vendors   $    (3,136.32)
7/9/2019    STARRAG USA INC.                       Suppliers or Vendors   $    (1,395.10)
9/19/2019   Striko-Westofen-Dynarad Furnan         Suppliers or Vendors   $      (508.03)
7/22/2019   TAIWAN RECTRONIC ENTERPRISE CO         Suppliers or Vendors   $      (308.32)
7/15/2019   TED JOHNSON PROPANE                    Suppliers or Vendors   $      (433.90)
8/28/2019   TED JOHNSON PROPANE                    Suppliers or Vendors   $      (345.75)
7/19/2019   TEXAS COMPTROLLER OF PUBLIC AC         tax                    $      (403.28)
9/6/2019    TEXAS COMPTROLLER OF PUBLIC AC         tax                    $      (109.27)
9/19/2019   TEXAS COMPTROLLER OF PUBLIC AC         tax                    $    (1,961.78)
8/6/2019    THE BRIGHT GROUP, LLC                  Suppliers or Vendors   $    (2,002.26)
9/17/2019   THE BRIGHT GROUP, LLC                  Suppliers or Vendors   $    (1,201.99)
7/10/2019   THE DOW CHEMICAL COMPANY               Suppliers or Vendors   $   (52,601.00)
7/16/2019   THE DOW CHEMICAL COMPANY               Suppliers or Vendors   $   (22,053.75)
7/25/2019   THE NORTHEAST GROUP, LLC               Suppliers or Vendors   $       (41.94)
8/19/2019   THE NORTHEAST GROUP, LLC               Suppliers or Vendors   $       (59.64)
9/17/2019   THE NORTHEAST GROUP, LLC               Suppliers or Vendors   $       (74.14)
9/11/2019   THE OUTDOOR RECREATION GROUP,          Suppliers or Vendors   $    (5,870.00)
8/20/2019   THE TOLL ROADS                         Suppliers or Vendors   $       (64.12)
8/9/2019    TIEWRAPS.COM INC.                      Suppliers or Vendors   $    (2,478.00)
8/9/2019    TMA WORLDWIDE, INC.                    Suppliers or Vendors   $      (567.96)
7/9/2019    T-MOBILE                               Suppliers or Vendors   $       (36.16)
7/22/2019   T-MOBILE                               Suppliers or Vendors   $      (131.82)
8/6/2019    T-MOBILE                               Suppliers or Vendors   $       (36.16)
8/14/2019   T-MOBILE                               Suppliers or Vendors   $      (228.39)
8/28/2019   T-MOBILE                               Suppliers or Vendors   $       (36.16)
9/17/2019   T-MOBILE                               Suppliers or Vendors   $      (119.98)
8/12/2019   TOYOTA FINANCIAL SERVICES              Suppliers or Vendors   $      (276.44)
8/14/2019   TOYOTA FINANCIAL SERVICES              Suppliers or Vendors   $      (263.28)
9/10/2019   TOYOTA FINANCIAL SERVICES              Suppliers or Vendors   $      (263.28)
7/25/2019   TRUNG K. THAI                          Suppliers or Vendors   $    (1,111.45)
7/9/2019    U.S. GROUP CONSOLIDATOR INC.           Suppliers or Vendors   $   (17,014.58)
7/9/2019    U.S. GROUP CONSOLIDATOR INC.           Suppliers or Vendors   $   (12,523.89)
7/15/2019   U.S. GROUP CONSOLIDATOR INC.           Suppliers or Vendors   $    (9,223.81)
7/15/2019   U.S. GROUP CONSOLIDATOR INC.           Suppliers or Vendors   $   (14,917.30)
7/25/2019   U.S. GROUP CONSOLIDATOR INC.           Suppliers or Vendors   $   (13,164.57)
7/25/2019   U.S. GROUP CONSOLIDATOR INC.           Suppliers or Vendors   $   (20,441.00)
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7/30/2019   U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $    (7,947.53)
8/9/2019    U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $   (19,010.14)
8/9/2019    U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $   (10,709.86)
8/9/2019    U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $    (3,840.98)
8/9/2019    U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $   (11,084.90)
8/28/2019   U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $   (13,108.52)
8/28/2019   U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $   (26,622.80)
9/6/2019    U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $    (2,550.62)
9/11/2019   U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $    (8,376.11)
9/13/2019   U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $   (27,946.73)
9/17/2019   U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $    (5,740.24)
9/23/2019   U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $    (5,097.01)
9/30/2019   U.S. GROUP CONSOLIDATOR INC.            Suppliers or Vendors   $   (40,000.00)
7/9/2019    UCFS LASVEGAS, INC                      Suppliers or Vendors   $    (1,124.00)
8/9/2019    UCFS LASVEGAS, INC                      Suppliers or Vendors   $    (1,556.00)
8/19/2019   UCFS LASVEGAS, INC                      Suppliers or Vendors   $      (762.00)
8/28/2019   UCFS LASVEGAS, INC                      Suppliers or Vendors   $      (150.00)
9/6/2019    UCFS LASVEGAS, INC                      Suppliers or Vendors   $      (192.00)
9/25/2019   UCFS LASVEGAS, INC                      Suppliers or Vendors   $    (1,070.00)
7/30/2019   ULINE                                   Suppliers or Vendors   $      (105.56)
8/28/2019   ULINE                                   Suppliers or Vendors   $       (45.99)
7/25/2019   UNITED CONCORDIA DENTAL PLANS           Suppliers or Vendors   $    (1,862.60)
8/28/2019   UNITED CONCORDIA DENTAL PLANS           Suppliers or Vendors   $    (2,130.20)
9/23/2019   UNITED CONCORDIA DENTAL PLANS           Suppliers or Vendors   $    (1,976.60)
7/9/2019    UNITED PARCEL SERVICE                   Suppliers or Vendors   $      (549.31)
7/15/2019   UNITED PARCEL SERVICE                   Suppliers or Vendors   $      (692.02)
7/25/2019   UNITED PARCEL SERVICE                   Suppliers or Vendors   $    (1,436.06)
8/9/2019    UNITED PARCEL SERVICE                   Suppliers or Vendors   $    (1,035.66)
8/19/2019   UNITED PARCEL SERVICE                   Suppliers or Vendors   $      (478.72)
9/3/2019    UNITED PARCEL SERVICE                   Suppliers or Vendors   $      (570.19)
9/11/2019   UNITED PARCEL SERVICE                   Suppliers or Vendors   $      (416.76)
9/17/2019   UNITED PARCEL SERVICE                   Suppliers or Vendors   $      (300.57)
9/25/2019   UNITED PARCEL SERVICE                   Suppliers or Vendors   $      (817.99)
7/9/2019    UPS FREIGHT                             Suppliers or Vendors   $      (535.22)
8/9/2019    UPS FREIGHT                             Suppliers or Vendors   $      (694.24)
8/19/2019   UPS FREIGHT                             Suppliers or Vendors   $      (290.33)
9/25/2019   UPS FREIGHT                             Suppliers or Vendors   $      (591.59)
7/24/2019   UPS SUPPLY CHAIN SOLUTIONS, IN          Suppliers or Vendors   $       (82.06)
7/24/2019   UPS SUPPLY CHAIN SOLUTIONS, IN          Suppliers or Vendors   $    (2,735.66)
7/25/2019   UPS SUPPLY CHAIN SOLUTIONS, IN          Suppliers or Vendors   $      (208.19)
8/14/2019   VIHONOR OPTO-ELECTRONICS                Suppliers or Vendors   $    (4,425.00)
7/9/2019    VISION EXPRESS/WRAG-TIME                Suppliers or Vendors   $      (917.67)
7/15/2019   VISION EXPRESS/WRAG-TIME                Suppliers or Vendors   $    (1,340.81)
7/25/2019   VISION EXPRESS/WRAG-TIME                Suppliers or Vendors   $      (495.70)
7/30/2019   VISION EXPRESS/WRAG-TIME                Suppliers or Vendors   $    (2,907.62)
8/9/2019    VISION EXPRESS/WRAG-TIME                Suppliers or Vendors   $    (3,345.48)
8/19/2019   VISION EXPRESS/WRAG-TIME                Suppliers or Vendors   $    (1,781.06)
8/28/2019   VISION EXPRESS/WRAG-TIME                Suppliers or Vendors   $      (293.80)
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9/6/2019    VISION EXPRESS/WRAG-TIME              Suppliers or Vendors   $    (1,208.21)
9/11/2019   VISION EXPRESS/WRAG-TIME              Suppliers or Vendors   $      (684.69)
9/17/2019   VISION EXPRESS/WRAG-TIME              Suppliers or Vendors   $    (1,726.73)
9/25/2019   VISION EXPRESS/WRAG-TIME              Suppliers or Vendors   $    (1,635.15)
7/18/2019   WASHINGTON STATE                      tax                    $       (42.13)
8/27/2019   WASHINGTON STATE                      tax                    $       (99.13)
9/16/2019   WASHINGTON STATE                      tax                    $       (21.56)
8/19/2019   WASTE MANAGEMENT                      Suppliers or Vendors   $    (1,271.38)
8/5/2019    WEIDMANN SYSTEMS INTERNATIONAL        Suppliers or Vendors   $    (3,186.97)
9/11/2019   WENDY WU                              Suppliers or Vendors   $       (85.12)
8/12/2019   WESTERN STATES REGIONAL JOINT         Suppliers or Vendors   $      (295.00)
9/6/2019    WESTERN STATES REGIONAL JOINT         Suppliers or Vendors   $      (255.00)
9/25/2019   WESTERN STATES REGIONAL JOINT         Suppliers or Vendors   $      (295.00)
7/9/2019    WIDYAWATI RODRIGUEZ                   Suppliers or Vendors   $      (120.00)
9/11/2019   WMMFA                                 Suppliers or Vendors   $      (175.27)
9/17/2019   WORLD JOURNAL LA, LLC                 Suppliers or Vendors   $    (2,937.50)
7/2/2019    WU,YONG-MING                          Suppliers or Vendors   $    (1,884.00)
7/31/2019   WU,YONG-MING                          Suppliers or Vendors   $    (1,874.00)
8/30/2019   WU,YONG-MING                          Suppliers or Vendors   $    (1,801.00)
9/30/2019   WU,YONG-MING                          Suppliers or Vendors   $    (1,838.00)
8/14/2019   XIAMEN COMFORT SCIENCE & TECHN        Suppliers or Vendors   $   (21,590.00)
7/22/2019   XIAMEN PRIMA TECHNOLOGY INC.          Suppliers or Vendors   $      (375.00)
8/28/2019   YEN XIANG E-MATERIALS CO., LTD        Suppliers or Vendors   $    (3,839.00)
7/25/2019   ZHONGSHAN CITY WHITE HORSE ELE        Suppliers or Vendors   $   (12,348.12)
8/28/2019   ZHONGSHAN CITY WHITE HORSE ELE        Suppliers or Vendors   $   (10,463.16)
7/10/2019   ZHONGSHAN GALANZ CONSUMER ELEC        Suppliers or Vendors   $   (20,665.00)
7/18/2019   ZHONGSHAN GALANZ CONSUMER ELEC        Suppliers or Vendors   $   (21,873.20)
9/3/2019    ZHONGSHAN GALANZ CONSUMER ELEC        Suppliers or Vendors   $   (21,941.00)
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                    Central District of California - Los Angeles Division
 In re       Tatung Company of America, Inc.                                                                  Case No.      2:19-bk-21521-NB
                                                                              Debtor(s)                       Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 76,717.00
              Prior to the filing of this statement I have received                                       $                       0.00
              Balance Due                                                                                 $                 76,717.00

2.     $     1,717.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

4.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.    [Other provisions as needed]
                  Advising the Debtor with regard to the requirements of the Bankruptcy Court, Bankruptcy Code, Bankruptcy
                  Rules and the Office of the United States Trustee as they pertain to the Debtor; advising the Debtor with regard to
                  certain rights and remedies of its bankruptcy estate and the rights, claims and interests of creditors;
                  representing the Debtor in any proceeding or hearing in the Bankruptcy Court involving its estate unless the
                  Debtor is represented in such proceeding or hearing by other special counsel; conducting examinations of
                  witnesses, claimants or adverse parties and representing the Debtor in any adversary proceeding except to the
                  extent that any such adversary proceeding is in an area outside of LNBYB's expertise or which is beyond
                  LNBYB's staffing capabilities; preparing and assisting the Debtor in the preparation of reports, applications,
                  pleadings and orders including, but not limited to, applications to employ professionals, interim statements and
                  operating reports, initial filing requirements, schedules and statement of financial affairs, lease pleadings, cash
                  collateral pleadings, financing pleadings, and pleadings with respect to the Debtor's use, sale or lease of
                  property outside the ordinary course of business; representing the Debtor with regard to obtaining use of debtor
                  in possession financing and/or cash collateral including, but not limited to, negotiating and seeking Bankruptcy
                  Court approval of any debtor in possession financing and/or cash collateral pleading or stipulation and preparing
                  any pleadings relating to obtaining use of debtor in possession financing and/or cash collateral; assisting the
                  Debtor in the negotiation, formulation, preparation and confirmation of a plan of reorganization and the
                  preparation and approval of a disclosure statement in respect of the plan; and performing any other services
                  which may be appropriate in LNBYB's representation of the Debtor during its bankruptcy case.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Matters which are outside of LNBYB's specialization




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         Case 2:19-bk-21521-NB                    Doc 100 Filed 10/30/19 Entered 10/30/19 16:37:00                                                    Desc
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Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
State Bar No. & Email Address
Ron Bender 143364
10250 Constellation Blvd.
Suite 1700
Los Angeles, CA 90067
(310) 229-1234 Fax: (310) 229-1244
California State Bar Number: 143364 CA
rb@lnbyb.com




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:
                                                                                  CASE NO.: 2:19-bk-21521-NB
            Tatung Company of America, Inc.
                                                                                  CHAPTER: 11



                                                                                                       AMENDED
                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 53 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibilityy for errors and omissions.

Date: October 30, 2019
                                                                                         Signature
                                                                                           gnatur
                                                                                               urre off Debtor 1
                                                                                               u




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
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}




                        Tatung Company of America, Inc.
                        2850 East El Presidio Street
                        Long Beach, CA 90810


                        Ron Bender
                        Levene, Neale, Bender, Yoo & Brill LLP
                        10250 Constellation Blvd.
                        Suite 1700
                        Los Angeles, CA 90067


                        3M TOUCH SYSTEMS
                        P. O. BOX 846372
                        DALLAS, TX 75284-6372


                        6379.52
                        2006 SOUTH BAKER AVENUE
                        ONTARIO, CA 91761


                        A-1 COAST RENTALS
                        24000 CRENSHAW BLVD.
                        TORRANCE, CA 90505


                        ABB INC.
                        DEPT. 3009
                        CAROL STREAM, IL 60132-3009


                        ABLE INDUSTRIAL
                        2006 SOUTH BAKER AVENUE
                        ONTARIO, CA 91761


                        ACROX TECHNOLOGIES CO., LTD
                        4F., NO.89 MINSHAN ST., NEIHU DIST.,
                        TAIPEI CITY 114
                        TAIWAN
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                    ACT TEST PANELS LLC
                    P.O. BOX 673954
                    DETROIT, MI 48267-3954


                    ACULA TECHNOLOGY CORP.
                    11, ALLEY 21, LANE 20
                    DASHING RD., LUCHU DIST.
                    TAOYUAN CITY 33862
                    TAIWAN, R.O.C.


                    ADP, INC.
                    P.O. BOX 31001-1874
                    PASADENA, CA 91110-1874


                    AESA S.A.
                    CHEMIN DE LA PLAINE 7
                    COLOMBIER CH-2013
                    SWITZERLAND


                    AJ ALARM SYSTEMS
                    P.O. BOX 1069
                    YORBA LINDA, CA 92885


                    ALL NATION SECURITY SERVICE, INC.
                    3701 WILSHIRE BLVD #530
                    LOS ANGELES, CA 90010


                    ALLENLUND COMPANY, INC.
                    P.O. BOX 51083
                    LOS ANGELES, CA 90051


                    ALLIED ELECTRONICS INC.
                    P.O. BOX 2325
                    FORT WORTH, TX 76113-2325
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                    ALLIED SAFE & VAULT CO. INC.
                    425 WEST SECOND AVE.
                    SPOKANE, WA 99201


                    ALUMNI ASSOCIATION OF TAIPEI FIRST
                    GIRLS' HIGH SCHOOL
                    P.O. BOX 803
                    SAN GABRIEL, CA 91778


                    ALVIN RAMALI
                    9071 COBBLESTONE LANE
                    CYPRESS, CA 90630


                    AMERICAN EXPRESS
                    BOX 0001
                    LOS ANGELES, CA 90096-0001


                    AMPHENOL MARYLAND ,INC. dba WILCOXON
                    29531 NETWORK PLACE
                    CHICAGO, IL 60673-1295


                    AMRC, LLC
                    1225 PONCE DE LEON AVE., SUITE 1001
                    SAN JUAN 00907
                    PUERTO RICO


                    ANDERSON SHUMAKER COMPANY
                    824 SOUTH CENTRAL AVENUE
                    CHICAGO, IL 60644


                    AON RISK SERVICES
                    P. O. BOX 849832
                    LOS ANGELES, CA 90084-9832
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                    ARDENT LAW GROUP, PC
                    4340 VON KARMAN AVE,
                    SUITE 290
                    NEWPORT BEACH, CA 92660


                    ARIZONA DEPT. OF REVENUE
                    P.O. BOX 29082
                    PHOENIX, AZ 85038-9082


                    ASKEW INDUSTRIAL CORP
                    13071 ARCTIC CIRCLE
                    SANTA FE SPRING, CA 90670


                    AT&T
                    P. O. BOX 5025
                    CAROL STREAM, IL 60197-5025


                    AT&T
                    P. O. BOX 5019
                    CAROL STREAM, IL 60197-5019


                    AT&T
                    P.O. BOX 105262
                    ATLANTA, GA 30348-5262


                    AU OPTRONICS CORPORATION
                    1 LI-HSIN RD. 2, HSINCHU SCIENCE PARK,
                    HSINCHU 300
                    TAIWAN, R.O.C.


                    B&T SALES LLC
                    1772 CUPRITE COURT
                    CASTLE ROCK, CO 80108
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                    BAEYEUN SONG
                    4216 PAYNE ROAD
                    PLEASANTON, CA 94588


                    BANK OF THE WEST-#0766-MICHELLE
                    BANKCARD CENTER
                    PO BOX 4025
                    ALAMEDA, CA 94501


                    BANK OF THE WEST-#5576-AMY
                    OLD NUMBER #3536 FEB 2019 ENDED
                    PO BOX 4025
                    ALAMEDA, CA 94501


                    BANK OF THE WEST-#6837-BING
                    BANKCARD CENTER
                    PO BOX 4025
                    ALAMEDA, CA 94501


                    BANK OF THE WEST-#9005-EDDIE
                    BANKCARD CENTER
                    PO BOX 4025
                    ALAMEDA, CA 94501


                    BAUMER LTD.
                    DEPT. 106099
                    P.O. BOX 150468
                    HARTFORD, CT 06115-0468


                    BELDEN INC.
                    28884 NETWORK PLACE
                    CHICAGO, IL 60673-1288


                    BEST CHOICE FIRE PROTECTION CO.
                    10104 ARTESIA PLACE
                    BELLFOWER, CA 90706
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                    BEST WESTERN INTERNATIONAL
                    P.O. BOX 53505
                    PHOENIX, AZ 85072-3505


                    BI-SEARCH INTERNATIONAL INC.
                    17550 GILLETE AVENUE
                    IRVINE, CA 92614


                    BIZLINK TECHNOLOGY, INC.
                    47211 BAYSIDE PARKWAY
                    FREMONT, CA 94538


                    BLUE CHIP PEST CONTROL, INC.
                    16691 GOTHARD ST., SUITE H
                    HUNTINGTON BEACH, CA 92647


                    BOARD OF EQUALIZATION
                    ENVIRONMENT FEES DIVISION
                    P. O. BOX 942879
                    SACRAMENTO, CA 94279-6001


                    BOTTOMLINE TECHNOLOGIES DE INC.
                    P.O. BOX 412377
                    BOSTON, MA 02241-2377


                    BOYD CORPORATION
                    P. O. BOX 740877
                    LOS ANGELES, CA 90074-0877


                    BROOKS INTERNET SOFTWARE, INC.
                    356 W. SUNNYSIDE, SUITE A
                    IDAHO FALLS, ID 83402-4615
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                    BROWNELL LTD.
                    UNIT 2, ABBEY ROAD, PARK ROYAL
                    LONDON NW10 7XF
                    UNITED KINGDOM


                    BULL WILL CO. LTD.
                    3F. NO.199, RUIHU ST.,
                    NEIHU DIST, TAIPEI 114
                    TAIWAN


                    BUREAU OF ELECTRONIC & APPLIANCE REPAIR
                    STATE OF CALIFORNIA
                    DEPARTMENT OF CONSUMER AFFAIRS
                    P. O. BOX 942512
                    WEST SACRAMENTO, CA 94258-0512


                    CAL-LIFT, INC.
                    13027 CROSSROADS PARKWAY SOUTH
                    CITY OF INDUSTRY, CA 91746


                    CALIFORNIA DEPARTMENT OF TAX AND FEE
                    ADMINISTRATION, RETURN PROCESSING BRANCH
                    P.O. BOX 942879
                    SACRAMENTO, CA 94279-6001


                    CALIFORNIA WATER SERVICE COMPANY
                    P. O. BOX 51967
                    LOS ANGELES, CA 90051-6267


                    CaswStack
                    P.O. BOX 95045
                    CHICAGO, IL 60694-5045


                    CBM SYSTEMS INC.
                    1599 MONTE VISTA AVE
                    CLAREMONT, CA 91711
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                    CENTRAL CALIFORNIA FLUID SYSTEM TECH INC
                    325 BALBOA CIRCLE
                    CAMARILLO, CA 93012


                    CENTRAL TRANSPORT LLC
                    P.O. BOX 33299
                    DETROIT, MI 48232-5299


                    CHAOZHOU STONESONIC DIGITAL
                    WEST OF 2ND FLOOR FACTORY BUILDING
                    LOT D5-3.1 HZQH TECHZZONE, CHAOZHOU,
                    GUANGDONG PROVINCE, 521000
                    CHINA


                    CHEETAH EXPRESS INC.
                    835 GREENLEAF AVE,
                    ELK GROVE
                    VILLAGE, IL 60007


                    CHEN-SOURCE INC.
                    NO.50-16, SEC.1, MINSHENG N.RD, GUISHAN
                    DISTRICT, TAOYUAN CITY 33391
                    TAIWAN


                    CHIEFWAY TECHNOLOGY CO., LTD.
                    18 FL-7 NO. 109, SECTION 1, ZHONGSHAN RD
                    XIN ZHUANG CITY, TAIPEI COUNTY
                    TAIWAN


                    CHINA TRADERITE COMPANY LMITIED
                    RM A,81F,SUCCESS COMMERICAL BLDG.
                    245-251 HENNESSY RD., WANCHAI
                    HONG KONG


                    CHINESE CONSUMER YELLOW PAGES
                    3940 ROSEMEAD BLVD.
                    ROSEMEAD, CA 91770
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                    CHINESE OVERSEAS MARKETING SVC INC
                    C.O.M.S.C
                    3940 ROSEMEAD BLVD
                    ROSEMEAD, CA 91770


                    CHROMALOX INC.
                    P.O. BOX 536435
                    ATLANTA, GA 30353-6435


                    CHUBB & SON
                    P.O. BOX 382001
                    PITTSBURGH, PA 15250-8001


                    CHUNGHSIN TECHNOLOGY CO., LTD
                    618-2 # GONGREN WEST ROAD,TIAOJIANG AREA
                    TAIZHOU, ZHEJIANG, 318000
                    CHINA


                    CIM USA, INC.
                    10813 N. W. 30TH STREET, SUITE 108
                    MIAMI, FL 33172


                    CITY OF CARSON
                    BUSINESS LICENSE DIVISION
                    701 E. CARSON STREET
                    P. O. BOX 6234
                    CARSON, CA 90749-6234


                    CITY OF LOS ANGELES
                    P.O. BOX 30420
                    LOS ANGELES, CA 90030


                    CITY OF LOS ANGELES BUSINESS TAX
                    OFFICE OF FINANCE
                    P. O. BOX 513996
                    LOS ANGELES, CA 90051-3996
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                    CITY OF PHILADELPHIA
                    REVENUE DEPARTMENT
                    P.O. BOX 1630
                    PHILADELPHIA, PA 19105-1630


                    CLERK OF THE COURT, SUPERIOR COURT OF
                    CALIFORNIA, COUNTY OF ORANGE
                    P.O. BOX 6040
                    NEWPORT BEACH, CA 92658-6040


                    COASTAL SECURITY CONSULTANTS LLC
                    11712 NEVIS DRIVE
                    MIDLOTHIAN, VA 23114


                    COAXIAL SYSTEMS ASSOCIATES INC.
                    3896 BURNS ROAD
                    SUITE 103
                    PALM BEACH GARDENS, FL 33410


                    COMMERCE TECHNOLOGIES, LLC DBA
                    COMMERCEHUB
                    25736 NETWORK PLACE
                    CHICAGO, IL 60673-1257


                    COMPLETE COPY SYSTEMS
                    3300 BEVERLY BLVD.
                    LOS ANGELES, CA 90004


                    CONNECTIVITY CONSULTANTS, INC.
                    69 FLOYDS WAY
                    BLAIRSVILLE, GA 30512


                    CONNELL BROS. CO. LLC
                    345 CALIFORNIA ST., 27TH FLOOR
                    SAN FRANCISCO, CA 94104
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                    CONTRACTORS STATE LICENSE BOARD
                    REGISTRAR OF CONTRACTORS
                    P. O. BOX 26000
                    SACRAMENTO, CA 95826


                    COPIER EXPRESS
                    17128 COLIMA ROAD SUITE 812
                    HACIENDA HEIGHTS, CA 91745


                    CRAFTECH INTERNAITONAL, INC.
                    7042 KEARNY DR.
                    HUNTINGTON BEACH, CA 92648


                    CRESYN CO., LTD.
                    8-11 JAM WON-DONG, SEECHO-GU,
                    SEOUL, REPUBLIC OF KOREA #137-902
                    SOUTH KOREA


                    CUMMINS BUSINESS SERVICES CBS
                    2931 ELM HILL PIKE
                    NASHVILLE, TN 37214


                    CX & B UNITED CORP.
                    1301 W. 253RD STREET
                    HARBOR CITY, CA 90710


                    DAL DISPLAY AND LIFE
                    5TH FL.55, DAEGO B/D, 212 PYUNGCHO-DAERO
                    DONGAN-GU. ANYANG-CITY, GYUNGGI-DO
                    431-815
                    KOREA


                    DANOTECH CO., LTD.
                    28F,NO.37,SEC. 2 SANMIN RD. BANQIAO DIST
                    NEW TAIPEI, 230
                    TAIWAN, R.O.C.
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                    DARFON ELECTRONICS CORP.
                    33341 NO.167 SHANGYING RD. GUEISHAN
                    TAOYUAN
                    TAIWAN


                    DAYLIGHT TRANSPORT, LLC
                    P.O. BOX 93155
                    LONG BEACH, CA 90809


                    DENTAL HEALTH SERVICES
                    3833 ATLANTIC AVE.
                    LONG BEACH,, CA 90807


                    DEPARTMENT OF TOXIC SUBSTANCES CONTROL
                    ACCOUTING UNIT
                    P. O. BOX 1288
                    SACRAMENTO, CA 95812-1288


                    DIGI-KEY Electronics 37528
                    P.O. BOX 250
                    THIEF RIVER FALLS, MN 56701-0250


                    DKSH AUSTRALIA PTY LTD.
                    14-17, DANSU COURT
                    HALLAM, VIC 3803
                    AUSTRALIA


                    DLS INTERNATIONAL
                    3465 OLD MILL ROAD
                    HIGHLAND PARK, IL 60035


                    DMV
                    P.O. BOX 942894
                    SACRAMENTO, CA 94294-0894
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                    DN CASTECH
                    SURVEY NO. 86, NH-27, AT-SHAPAR
                    RAJKOT, GUGJARAT 60024
                    INDIA


                    DOC ACQUISITION LLC
                    2937 SW 27TH AVENUE, SUITE 202
                    MIAMI, FL 33133


                    DOC ACQUISITION, LLC
                    2937 SW 27TH AVE, SUITE 202
                    MIAMI, FL 33133


                    DONGGUAN SAMPO ELECTRONIC CO., LTD.
                    BUILDING B, SINTAVE INDUSTRIAL PARK,
                    LUNDU ROAD, QISHA VILLAGE, SHATIAN TOWN,
                    DONGGUAN CITY
                    CHINA, CN


                    DOW CHEMICAL PACIFIC LTD.
                    47/F, SUN HUNG KAI CENTRE
                    30 HARBOUR ROAD
                    WAN CHAI, HK


                    DSTAR TECHNOLOGY CO., LTD.
                    SEAT 5, ZONE 2 FUQIAO INDUSTRIAL PARK,
                    FUYONG TOWN, BAOAN DISTRICT,
                    SHENZHEN, GUANGDONG, 518128
                    CHINA


                    DULUTH OFFICE CENTER OWNERS, LLC
                    P.O. BOX 161363
                    ATLANTA, GA 30321-1363


                    DUN & BRADSTREET CREDIBILITY CORP.
                    P.O. BOX 742138
                    LOS ANGELES, CA 90074-2138
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                    DUPONT SPECIALTY PRODUCTS USA, LLC
                    PO BOX 101727
                    PASADENA, CA 91189-1727


                    DWYER INSTRUMENTS, INC.
                    P.O. BOX 338
                    MACHIGAN CITY, IN 46361


                    E-CENTURY TECHNICAL & INDUSTRIAL CORP.
                    NO. 50, JIANSAN RD.
                    JHONGHE CITY
                    TAIPEI COUNTY ROC


                    E.I. DU PONT DE NEMOURS & COMPANY
                    P.O. BOX 101727
                    PASADENA, CA 91189-1727


                    EAST BEST LLC
                    1016 MONTANA DRIVE
                    CHARLOTTE, NC 28216


                    EAST WEST BANK
                    9300 FLAIR DRIVE, 6TH FLOOR
                    EL MONTE, CA 91731


                    EASY MOVER INC.
                    1847 LITTLE ORCHARD STREET
                    SAN JOSE, CA 95125-1038


                    EBERLE CONTROLS GMBH
                    KLINGENHOFSTRASSE 71
                    NUERNBERG 90411
                    GERMANY
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                    ECCO/GREGORY, INC.
                    P.O. BOX 5210
                    WEST CHESTER, PA 19380


                    ECONOMY RENTALS INC.
                    5511 E. WHITTIER BLVD.
                    E. LOS ANGELES, CA 90022


                    EDOM TECHNOLOGY CO. LTD.
                    8F, NO.50, LANE 10, KEE HU ROAD, NEI HU
                    TAIPEI, 114
                    TAIWAN


                    EGC ENTERPRISES, INC.
                    140 PARKER COURT
                    CHARDON, OH 44024-1112


                    EHP SOLUTION HAN BYUL KIM
                    11845 W. OLYMPIC BLVD
                    SUITE 1100W
                    LOS ANGELES, CA 90064


                    EHP SOLUTIONS AKA EHP INTERNATIONAL INC.
                    11845 W. OLYMPIC BLVD SUITE 1100W
                    LOS ANGELES, CA 90064


                    EIS, INC.
                    ELECTRICAL INSULATION SUPPLIES, INC.
                    FILE 98059
                    P.O. BOX 98059
                    CHICAGO, IL 60693-8059


                    ELECTRO STATIC TECHNOLOGY - ITW INC.
                    33442 TREASURY CENTER
                    CHICAGO, IL 60694-3400
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                    ELLIOTT ELECTRIC SUPPLY
                    P.O. BOX 206524
                    DALLAS, TX 75320-6524


                    ELWOOD STAFFING SERVICES, INC.
                    P.O. BOX 1024
                    COLUMBUS, IN 47202-1024


                    EMERSON CLIMATE TECHNOLOGIES
                     SUZHOU CO. LTD.
                    NO.69 SUHONG WEST RAOD,
                    SUZHOU INDL. PARK, JIANGSU, 215021
                    CHINA


                    EMERSON CLIMATE TECHNOLOGIES, INC.
                    1675 WEST CAMPBELL ROAD
                    SIDNEY, OH 45365-0669


                    EMERSON ELECTRIC THAILAND LTD.
                    24 MOO 4. TAMBOL PLUAKDAENG
                    AMPHUR PLAUKDAENG,
                    RAYONG 21140
                    THAILAND


                    EMKA INC.
                    1961 FULLING MILL RD
                    MIDDLETOWN, PA 17057


                    EMPLOYMENT DEVELOPMENT DEPT.
                    BANKRUPTCY GROUP MIC 92E
                    P.O. BOX 826880
                    SACRAMENTO, CA 94280-0001


                    ERICO LIMITED
                    16 WAN LEE ROAD
                    SINGAPORE 627946
                    SINGAPORE
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                    ESSEX GROUP INC.
                    P.O. BOX 90413
                    CHICAGO, IL 60696-0413


                    EULER HERMES ACI
                    800 RED BROOK BLVD.
                    OWINGS MILLS, MD 21117-1008


                    EX INDUSTRIES
                    22755-F SAVI RANCH PARKWAY
                    YORBA LINDA, CA 92887


                    EXODUS DIRECT,LLC.
                    P.O. BOX 695
                    INDIANOLA, IA 50125-0695


                    EXPERIAN
                    P.O. BOX 881971
                    LOS ANGELES, CA 90088-1971


                    EXPO TECHNOLOGIES, INC.
                    9140 RAVENNA ROAD - UNIT #3
                    TWINSBURG, OH 44087


                    EXPRESS LINE CORPORATION
                    901 WEST ARBOR VITAE ST.,
                    INGLEWOOD, CA 90301


                    F & L Petroleum Products
                    1543 W.16TH STREET
                    LONG BEACH, CA 90813
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                    FABRICATION TECHNOLOGIES, INC.
                    1925 ENTERPRISE CT.,
                    LIBERTYVILLE, IL 60048


                    FABRIQUE, LTD.
                    28 SCHOOL STREET
                    BRANFORD, CT 06405


                    FARBWERKE HERKULA SA/AG
                    FRIEDENSSTR.21
                    SAINT-VITH, BELGIUM 4780
                    BELGIUM


                    FASTLINK LOGISTICS
                    4909 LAKEWOOD BLVD., SUITE# 401
                    LAKEWOOD, CA 90712


                    FEDERAL EXPRESS CORPORATION
                    P.O. BOX 7221
                    PASADENA, CA 91109-7321


                    FEDERAL LOGISTICS, INC.
                    P.O. BOX 2370
                    FRISCO, TX 75034


                    FEDEX FREIGHT WEST, INC.
                    DEPT. LA
                    P.O. BOX 21415
                    PASADENA, CA 91185-1415


                    FEFAN TECHNOLOGY CO., LTD.
                    4F-1, NO.57 37TH RD,
                    TAICHUNG INDUSTRIAL PARK, XITUN DISTRICT
                    TAICHUNG CITY 407
                    TAIWAN
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                    FINNITA FREE, INC.
                    P.O. BOX 2741
                    NEWPORT BEACH, CA 92659


                    FIRST INSURANCE FUNDING CORP.
                    P.O. BOX 7000
                    CAROL STREAM, IL 60197-7000


                    FIRST SHRIJI HOSPITALITY
                    1461 WEST TALLYHO CT.
                    #3E
                    ADDISON, IL 60101


                    FLORIDA DEPT. OF REVENUE
                    5050 W. TENNESSEE ST.,
                    BLDG. K
                    TALLAHASSEE, FL 32399-0125


                    FOSHAN SHUNDE MIDEA ELECTRICAL HEATING
                    APPLIANCES MANUFACTURING COMPANY LTD.
                    NO. 19 SANLE RD, BEIJIAO, SHUNDE, FOSHAN
                    GUANGDONG, P.R. CHINA
                    CHINA 00052-8311


                    FRANCHISE TAX BOARD
                    BANKRUPTCY SECTION, MS: A-340
                    P.O. BOX 2952
                    SACRAMENTO, CA 95812-2952


                    FREEMAN COMPANY
                    8201 W. 47TH STREET
                    MCCOOK, IL 60525


                    FREIGHT CONNECTION
                    318 AVENUE I, SUITE 199
                    REDONDO BEACH, CA 90277
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                    GALCO INDUSTRIAL ELECTRONICS
                    26010 PINEHURST DRIVE
                    MADISON HEIGHTS, MI 48071


                    GALLANT RISK & INSURANCE SERVICES, INC.
                    4160 TEMESCAL CANYON ROAD, SUITE# 402
                    CORONA, CA 92883


                    GALLS, LLC
                    P. O. BOX 71628
                    CHICAGO, IL 60694-1628


                    GAMESMAN LIMITED
                    UNIT 6 CROMPION FIELDS CROMPION WAY
                    CRAWLEY, WEST SUSSEX RH10 9QB, ENGLAND
                    ENGLAND


                    GANZHOU DEHUIDA TECHNOLOGY CO. LTD
                    DEHUIDA SCIENCE AND TECHNOLOGY PARK
                    HUOYANSHAN ROAD, ANYUAN DISTRICT,
                    GANZHOU CITY JIANGXI PROVINCE 342100
                    P.R. CHINA


                    GE POWER SWEDEN AB
                    FINNSLATTEN, HUS 350
                    SE-721 76 VASTARDS


                    GEORGIA DEPARTMENT OF REVENUE
                    PROCESSING CENTER
                    P.O. BOX 105136
                    ATLANTA, GA 30348-5136


                    GEORGIA SECRETARY OF STATE
                    2 MLK, JR.DR. SUITE 313
                    DLOYD WEST TOWER
                    ATLANTA, GA 30334-1530
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                    GEXPRO
                    P.O. BOX 743448
                    LOS ANGELES, CA 90074-3448


                    GGEC HONG KONG LIMTED
                    UNIT# 7-12, 6/F, STERLING CENTRE,
                    11 CHEUNG YUE STREET, CHEUNG SHA WAN
                    KOWLOON 0000
                    HONG KONG


                    GIBSON, DUNN & CRUTCHER, LLP
                    P.O. BOX 840723
                    LOS ANGELES, CA 90084-0723


                    GLEN MILLS INC.
                    220 DELAWANNA AVE
                    CLIFTON, NJ 07014


                    GLOBAL EXCHANGE SERVICES
                    C/O JP MORGAN
                    LOCK BOX 29144
                    NETWORK PLACE
                    CHICAGO, IL 60673-1291


                    GM ROOFING aka GLM CAPITAL CORPORATION
                    P. O. BOX 3908
                    SEAL BEACH, CA 90740


                    GO IRON WORK'S INC.
                    21106 S. ALAMEDA ST.,
                    CARSON, CA 90810


                    GONZALEZ, SONYA
                    1033 S. BLUFF RD. APT.6
                    MONTEBELLO, CA 90640
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                    GORDON & REES, LLP
                    275 BATTERY STREET, 20TH FLOOR
                    SAN FRANCISCO, CA 94111


                    GOVERNORS AMERICA CORP.
                    720 SILVER STREET
                    AGAWAM, MA 01001


                    GRAINGER, INC.
                    DEPT. 840515027
                    PALATINE, IL 60038-0001


                    GREAT AMERICAN INSURANCE CO.
                    P.O. BOX 89400
                    CLEVELAND, OH 44101-6400


                    GREEN ENERGY TECHNOLOGY, INC.
                    No. 19-2, Tatung 1st Road, Kuanyin
                    Taoyuan, Taiwan, R.O.C.


                    GUANGDONG GALANZ MICROWAVE ELECTRICAL
                    APPLIANCES MANUFACTURING CO., LTD.
                    NO.3 XINGPU AVENUE, HUANGPU TOWN,
                    ZHONGSHAN CITY, GUANGDONG PROVINCE
                    CHINA


                    GUANGDONG ZHANJIANG HOUSEHOLD ELECTRIC
                    APPLIANCES INDUSTRIAL CO., LTD.
                    77 LONGGUANG ROAD,LONGTOU INDUSTRIAL ZON
                    ZHANGJIANG, GUANGDONG 524054
                    CHINA


                    HAJOCA CORPORATION
                    P.O. BOX 934752
                    ATLANTA, GA 31193-4752
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                    HANSFORD SENSORS USA, INC.
                    2240 HWY 292
                    INMAN, SC 29349


                    HAWK RIDGE SYSTEMS
                    575 CLYDE AVENUE, SUITE 420
                    MOUNTAIN VIEW, CA 94043


                    HAWKER ELECTRONICS LTD.
                    57 THE AVENUE
                    RUBERY INDUSTRIAL ESTATE
                    BIRMINGHAM B45 9AL
                    UNITED KINGDOM, UK


                    HEALTH NET OF CALIFORNIA INC.
                    FILE #52617
                    LOS ANGELES, CA 90074-2617


                    HEATHMAN HOTEL KIRKLAND
                    220 KIRKLAND AVE.,
                    KIRKLAND, WA 98033


                    HEMLOCK SEMICONDUCTOR OPERATIONS
                    12334 GEDDES ROAD
                    ATTN: CFO
                    HEMLOCK, MI 48626


                    HEWLETT PACKARD COMPANY
                    8000 FOOTHILLS BLVD., R5-MS: 5229
                    ATTN: BILL DALY
                    ROSEVILLE, CA 95747


                    HITACHI METALS TAIWAN, LTD.
                    11F,NO.9 XIANGYANG RD.
                    ZHONGZHENG DISTRICT, TAIPEI CITY
                    TAIWAN
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                    HMR ASSOCIATES LLC
                    4366 BRODDOCK TRAIL
                    EAGAN, MN 55123-1980


                    HOME EASY INDUSTRIAL CO., LTD.
                    FLAT/RM 1.7/F, ROYAL COMMERCIAL CENTRE
                    56 PARKES STREET, JORDAN
                    HONG KONG


                    HON HAI PRECISION INDUSTRY CO. LTD.
                    66 CHUNG SHAN RD., TU-CHENG INDUSTRIAL
                    DISTRICT, TAIPEI HSIEN
                    TAIWAN, R.O.C.


                    HONG CHANG PRECISION INDUSTRIAL CO. LTD
                    NO.88, ERJIA RD., YINGGE DIST.,
                    NEW TAIPEI CITY 239
                    TAIWAN, R.O.C.


                    HONGKONG WANGLU TECHNOLOGY LIMITED
                    FLAT/RM A8 9/F SILVERCORP INT
                    TOWER 707-713 NATHAN RD MONGKOK KL
                    HONG KONG


                    HRDIRECT
                    P.O. BOX 669390
                    POMPANO BEACH, FL 33066-9390


                    HSIEH CHIH INDUSTRIAL LIBRARY PUBLISHING
                    COMPANY
                    22 CHUNGSHAN N. RD., 3RD SEC., TAIPEI,
                    TAIWAN


                    HUBBELL POWER SYSTEMS, INC.
                    DEPT. 1210
                    P.O. BOX 121210
                    DALLAS, TX 75312-1210
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                    IBM CORPORATION
                    P. O. BOX 740867
                    ATLANTA, GA 30374-0867


                    IBM CREDIT LLC
                    ONE NORTH CASTLE DRIVE
                    ARMONK, NY 10504


                    IBM Credit LLC
                    7100 Highlands Parkway
                    Smyrna, GA 30082


                    IMERYS FUSED MINERALS GREENEVILLE, INC.
                    P.O. BOX 117175
                    ATLANTA, GA 30368


                    IMPRESSIONS WHQ, INC.
                    2330 COMMERCIAL BLVD., SUITE 600
                    STATE COLLEGE, PA 16821


                    INPRO/SEAL LLC
                    16185 COLLECTIONS CENTER DR.
                    CHICAGO, IL 60693


                    INT'L SECURITY CONFERENCE & EXPO/WEST
                    C/O RELX INC. DBA REED EXHIBITIONS
                    P.O. BOX 9599
                    NEW YORK, NY 10087-4599


                    INTEGRO USA INC.
                    P.O. BOX 101805
                    PASADENA, CA 91189-1805
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                    INTELLIGENT SYSTEMS MARKETING ISM
                    11344 COLOMA RD. SUITE 405
                    GOLD RIVER, CA 95670


                    INTERNAL REVENUE SERVICE IRS
                    P.O. BOX 7346
                    PHILADELPHIA, PA 19101-7346


                    INTERNATIONAL HOME & HOUSEWARES SHOW
                    IHA
                    6400 SHAFER COURT, SUITE 650
                    ROSEMONT, IL 60018


                    INTERNATIONAL HOUSEWARES EXPO
                    IHA: EXHIBITOR SALES
                    6400 SHAFER COURT
                    SUITE 650
                    ROSEMONT, IL 60018


                    INTERTEK TESTING SERVICES NA,INC.
                    P.O. BOX #405176
                    ATLANTA, GA 30384-5176


                    IRIS POWER LP
                    3110 AMERICAN DRIVE
                    MISSISSAUGA, ONTARIO
                    L4V 1T2
                    CANADA


                    J.B. HUNT TRANSPORT, INC.
                    P. O. BOX 749079
                    LOS ANGELES, CA 90074


                    J.M. CARDEN SPRINKLER CO., INC.
                    2909 FLETCHER DRIVE
                    LOS ANGELES, CA 90065
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                    JCLEMENTE & ASSOCIATES
                    13013 MESA GRAND DRIVE
                    YUCAIPA, CA 92399-5702


                    JDI DISPLAY AMERICA, INC.
                    1740 TECHOLOGY DRIVE, SUITE 460
                    SAN JOSE, CA 95110


                    JEUMONT ELECTRIC
                    367 RUE DE L' INDUSTRIE
                    JEUMONT, NORD, 59572
                    FRANCE


                    JOHANSON TECHNOLOGY
                    4001 CALLE TECATE
                    CAMARILLO, CA 93060


                    JS TECHNOLOGY COMPANY LIMITED
                    RM2103 EASEY COMM BLDG
                    253-261 HENNESSY RD. WAN
                    HONG KONG 999000
                    CHINA


                    KEDY TECHNOLOGY ELECTRONICS CO., LTD.
                    KEDI AVENUE, JIULONG NEW VILLAGE
                    ANYU COUNTY INDUSTRIAL PARK
                    GANZHOU, JIANGXI
                    CHINA, CN


                    KHANG & KHANG LLP
                    4000 BARRANCA PARKWAY, SUITE 250
                    IRVINE, CA 92604


                    KING INDUSTRIES INC.
                    SCIENCE ROAD - P.O. BOX 588
                    NORWALK, CT 06852
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                    KLA-TENCOR CORPORATION
                    P.O. BOX 742332
                    LOS ANGELES, CA 90074-2332


                    KOMATSU FORKLIFT RETAIL OPERATIONS, INC.
                    P.O. BOX 749389
                    LOS ANGELES, CA 90074-9398


                    KYOCERA INTERNATIONAL, INC.
                    P.O. BOX 100926
                    ATLANTA, GA 30384-0926


                    KYVAS INTERNATIONAL CO., LTD.
                    4TH/ FL., NO. 475, SEC.2, TIDINGDADAO,
                    NEI-HU DISTRICT, TAIPEI, TAIWAN, R.O.C.
                    TAIWAN, R.O.C.


                    L.E.C. SERVICE, INC.
                    1865 W 222ND ST., SUITE A
                    TORRENCE, CA 90501


                    LANDSBERG
                    P.O. BOX 101144
                    PASADENA, CA 91189-1144


                    LEVI P. LLORICO
                    540 N. CENTRAL AVENUE #B134
                    GLENDALE, CA 91203


                    LEXUS FINANCIAL SERVICES
                    P. O. BOX 4102
                    CAROL STREAM, IL 60197-4102
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                    LEXUS FINANCIAL SERVICES
                    P.O. BOX 4102
                    CAROL STREAM, IL 60197


                    LIAU, TOM
                    2239 CABEHILL AVE
                    LONG BEACH, CA 90815


                    LINTON CRYSTAL TECHNOLOGIES
                    2180 BRIGHTON HENRIETTA TOWN LINE RD.
                    ROCHESTER, NY 14623


                    LIQUID CAPITAL EXCHANGE, INC.
                    FOR S B E, INC.
                    P. O. BOX 168688
                    IRVING, TX 75016


                    LITE-ON TECHNOLOGY CORPORATION
                    392, RUEY KUANG ROAD
                    NEIHU, TAIPEI, 144
                    TAIWAN R.O.C.


                    LIU & PARTNERS ATTORNEYS AT LAW
                    ROOM C, 6F.,
                    NO. 261, SEC 3, NANJING E. RD.
                    SONGSHAN DISTRICT. TAIPEI 10550
                    TAIWAN


                    LODGING GOODS
                    8182 ELDER CREEK RD.,
                    SACRAMENTO, CA 95824


                    LOS ANGELES COUNTY FIRE DEPT.
                    PO BOX 513148
                    LOS ANGELES, CA 90051-1148
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                    LOS ANGELES COUNTY TAX
                    P.O. BOX 54018
                    LOS ANGELS, CA 90054-0018


                    LOS ANGELES COUNTY TAX COLLECTOR
                    P.O. BOX 54110
                    LOS ANGELES, CA 90054-0110


                    LOS ANGELES SHERIFF'S PROFESSIONAL ASSOC
                    LASPA
                    P.O. BOX 1010
                    LAKEWOOD, CA 90714-1010


                    LUCAS-MILHAUPT, INC.
                    P.O. BOX 774686
                    CHICAGO, IL 60677-4006


                    MAG-TROL LONG BEACH INC.
                    705 WEST ANAHEIM STREET
                    LONG BEACH, CA 90813


                    MAGNETROL INTERNATIONAL INCORPORATED
                    8576 SOLUTION CENTER
                    CHICAGO, IL 60677-8005


                    MAGNIFICENT MARKETING INTL.
                    787 E. LILAC WAY
                    AZUSA, CA 91702


                    MAGTROL, INC.
                    70 GARDENVILLE PARKWAY
                    BUFFALO, NY 14224-1322
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                    Majano Vilma
                    15223 SOUTH RAYMOND AVE
                    APT. #2
                    GARDENA, CA 90247


                    McMASTER-CARR SUPPLY COMPANY
                    P.O.BOX 7690
                    CHICAGO, IL 60680-7690


                    MEGA INTERNATIONAL COMMERCIAL BANK
                    445 S. FIGUEROA STREET, SUITE 1900
                    LOS ANGELES, CA 90071


                    MERCEDES-BENZ FINANCIAL SERVICES
                    P. O. BOX 5209
                    CAROL STREAM, IL 60197-5209


                    MERCEDES-BENZ FINANCIAL SERVICES
                    P.O. BOX 5209
                    CAROL STREAM, IL 60197


                    MERCURY ELECTRIC
                    10532 PARK VILLA LANE
                    VILLA PARK, CA 92667


                    METRO EXPRESSLANES
                    P. O. BOX 3339
                    GARDENA, CA 90247


                    METRO SALES GROUP LLC
                    7 PILZ CT.
                    SUSSEX, NJ 07461
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                    MIDWEST MARKETING,INC
                    1807 S WASHINGTON,INC
                    NAPERVILLE, IL 60565


                    MILLER, KAPLAN, ARASE & CO., LLP
                    4123 LANKERSHIM BLVD
                    NORTH HOLLYWOOD, CA 91602-2828


                    MINCO PRODUCTS, INC.
                    NW 5915
                    P. O. BOX 1450
                    MINNEAPOLIS, MN 55485-5915


                    MINNESOTA DEPT. OF REVENUE
                    MAIL STATION 1110
                    ST. PAUL, MN 55146-1110


                    MJR MARKETING
                    ATTN: MARK REITENBACH
                    1068 MARKLEY ROAD
                    CINCINNATI, OH 45230


                    MLA TRANS LLC
                    P.O. BOX 654
                    CORONA, CA 92878


                    MODERNSOLID INDUSTRIAL CO., LTD.
                    11-2 WU NAN RD., WU CHI DIST
                    TAICHUNG CITY 43547
                    TAIWAN


                    MONTHES PALLETS, INC
                    P.O. BOX 1419
                    MONTEBELLO, CA 90640
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                    MOUSER ELECTRONICS
                    P.O. BOX 99319
                    FORT WORTH, TX 76199-0319


                    MPEGLA
                    4600 S. ULSTER STREET, SUITE 400
                    DENVER, CO 80237


                    MR. HOSE, INC.
                    5574 E. WASHINGTON BLVD.
                    COMMERCE, CA 90040


                    MUELLER STREAMLINE CO.
                    1774 PAYSPHERE CIRCLE
                    CHICAGO, IL 60674


                    MULTI MEDIA SYSTEMS
                    9005 EXPOSITION BLVD.
                    LOS ANGELES, CA 90034


                    MULTI-WING AMERICA INC.
                    15030 BERKSHIRE IND. PARKWAY
                    P.O. BOX 425
                    BURTON, OH 44021


                    MUTUAL OF OMAHA
                    PAYMENT PROCESSING CENTER
                    P. O. BOX 2147
                    OMAHA, NE 68103-2147


                    NEOPOST USA INC.
                    DEPT 3689
                    P. O. BOX 123689
                    DALLAS, TX 75312-3689
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                    NEW JERSEY SALES TAX
                    PO BOX 264
                    TRENTON, NJ 08646-0264


                    NEW YORK STATE SALES TAX
                    NYS SALES TAX PROCESSING
                    JAF BUILDING
                    P.O. BOX 1205
                    NEW YORK, NY 10116-1205


                    NGLIC
                    C/O SUPERIOR VISION INSURANCE INC.
                    NGLIC
                    P.O. BOX 201839
                    DALLAS, TX 75320-1839


                    NORTHEAST GROUP
                    129 MORGAN DRIVE
                    1ST FLOOR
                    NORWOOD, MA 02062


                    NOVOTECHNIK US INC.
                    155 NORTHBORO ROAD
                    SOUTHBOROUGH, MA 01772


                    NYE LUBIRCANTS, INC.
                    P.O. BOX 8927
                    NEW BEDFORD, MA 02742


                    OFFICE OF CALIFORNIA STATE CONTROLLER
                    UNCLAIMED PROPERTY DIVISION
                    ACCOUNTING BUREAU
                    P.O. BOX 942850
                    SACRAMENTO, CA 94250-5873


                    OLD DOMINION FREIGHT LINE INC.
                    P.O. BOX 742296
                    LOS ANGELES, CA 90074-2296
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                    OMEGA ENGINEERING, INC
                    26904 NETWORK PLACE
                    CHICAGO, IL 60673-1269


                    OMNICELL, INC.
                    P.O. BOX 204650
                    DALLAS, TX 75320-4650


                    ORACLE AMERICA, INC
                    P. BOX 44471
                    SAN FRANCISCO, CA 94144


                    OSI BATTERIES INC. DBA OHLIN SALES INC.
                    LOCKBOX 12-1976
                    P.O. BOX 86
                    MINNEAPOLIS, MN 55486-1976


                    OTHELLO LIMITED
                    2F NO.9 ALLEY 24, LANE 68, SEC.1
                    KUANG-FU RD., SAN-CHUNG, TAIPEI
                    TAIWAN


                    PAIGE ELECTRIC COMPANY LP
                    P.O. BOX 821336
                    PHILADELPHIA, PA 19182-1336


                    PALMER HOLLAND, INC.
                    DEPT. 781606, P.O. BOX 78000
                    DETROIT, MI 48278-1606


                    PARKER HANNIFIN CORP.
                    7928 COLLECTION CENTER DRIVE
                    CHICAGO, IL 60693
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                    PDC HSING SHENG WHA CO., LTD
                    4F NO.15, WU CHUAN 5 RD., WU KU HSIANG,
                    TAIPEI HSIEN
                    TAIWAN, R.O.C.


                    PETER, FARZIN
                    35 LANTANA
                    LAKE FOREST, CA 92630


                    PFEIFFER VACUUM INC.
                    P.O. BOX 414278
                    BOSTON, MA 02241-4278


                    PGSA-EAST
                    24 WADSWORTH CIRCLE
                    BRAMPTON, AB L6Z 1W7
                    CA


                    PGSA-WEST
                    24 WADESWORTH CIRCLE
                    BRAMPTON, AB L6Z 1W7
                    CA


                    PIEDMONT BUSHINGS & INSULATOR, LLC
                    PO. BOX 849
                    WOODRUFF, SC 29388


                    PINNACLE MARKETING
                    P.O. BOX 815035
                    DALLAS, TX 75381


                    PMA MARKETING, INC.
                    13940 CEDAR RD. #361
                    UNIVERSITY HEIGHTS, OH 44118
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                    PNY TECHNLOGIES ASIA PACIFIC LIMITED
                    10F-1, NO.1, TAIYUAN 2ST ST.,
                    ZHUBEI CITY, HSINCHU, 30288
                    TAIWAN, R.O.C.


                    PORTAGE ELECTRIC PRODUCTS,INC.
                    7700 FREEDOM AVE., N.W.
                    P.O. BOX 2170
                    NORTH CANTON, OH 44720


                    PRECISE COOLING SOLUTIONS LLC
                    255 N. VALLEY ROAD
                    BARRINGTON, IL 60010


                    PRECISION STEEL WAREHOSUE, INC.
                    P.O. BOX 92582
                    CHICAGO, IL 60675-2582


                    PREMIUM ASSIGNMENT CORP.
                    P. O. BOX 8000
                    TALLAHASSEE, FL 32314-8000


                    PRIMAX ELECTRONICS LTD.
                    669, RUEY KUANG ROAD, NEIHU, 114,
                    TAIPEI
                    TAIWAN R.O.C.


                    QUANTA STORAGE INC.
                    3F NO.188 WENHUA 2ND RD., GUISHAN SHIANG
                    TAOYUAN COUNTY, 333 TAIWAN
                    TAIWAN


                    R & E FASTENER INC.
                    P.O. BOX 5120
                    SPARKS, NV 89432-5120
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                    R & L CARRIERS
                    P.O. BOX 10020
                    PORT WILLIAM, OH 45164-2000


                    R L TRUCKLOAD SERVICES LLC
                    BANK OF AMERICA LOCKBOX SERVICES
                    LOCKBOX 74008195
                    CHICAGO, IL 60674-8195


                    R.F. MACDONALD CO.
                    25920 EDEN LANDING ROAD
                    HAYWARD, CA 94545


                    R.L. GRAHAM ASSOCIATES
                    5310 THOMPSON AVE.
                    KANSAS CITY, MO 64124-2238


                    RADIX WIRE
                    8553 SOLUTION CENTER
                    LOCKBOX #778553
                    CHICAGO, IL 60677-8005


                    RANCILIO ASSOCIATES, INC.
                    11131 S. TOWNE SQUARE - A
                    ST. LOUIS, MO 63123


                    RAY CAMP COMPANY
                    P.O. BOX 7
                    PALMETTO, GA 30268-0007


                    READYREFRESH
                    P. O. BOX 856158
                    LOUISVILLE, KY 40285-6158
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                    REISSMANN SENSORTECHNIK GMBH
                    D-74538 ROSENGARTEN-UTTENOFEN
                    GERMANY 53091
                    GERMANY


                    RELX INC. DBA REED EXHIBITIONS
                    P.O. BOX 9599
                    NEW YORK, NY 10087-4599


                    REPWORKS, INC.
                    654 A. NEW LUDLOW RD.
                    SOUTH HADLEY, MA 01075


                    Repworks, Inc.
                    654 A. NEW LUDLOW RD.
                    SOUTH HADLEY, MA 01075


                    ROCKET SOFTWARE INC.
                    77 FOURTH AVE
                    STE 100
                    WALTHAM, MA 02451


                    RR DONNELLEY LOGISTICS SERVICES
                    WORLDWIDE INC.
                    P.O BOX 932721
                    CLEVELAND, OH 44193


                    SAI GLOBAL INC.
                    P.O. BOX 311116
                    LOCK BOX# T66072U
                    DETROIT, MI 48231


                    SAVVY SUPPLY, INC.
                    5306 LINDBERGH LANE
                    BELL, CA 90201
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                    SC FUELS
                    P.O. BOX 14014
                    ORANGE, CA 92863-4014


                    SCHULER PRESSEN G, BJ & CO. KG
                    POSTFACH 929
                    D-73009 GOPPINGEN,
                    GERMANY


                    SCUDDER TRUST CO.
                    P.O. BOX 9565
                    MANCHESTER, NH 03108


                    SENTRY TECH SECURITY ALARM CO.
                    15712E GALE AVE.
                    HACIENDA HEIGHTS, CA 91745


                    SF EXPRESS CORPORATION
                    2805 W. EL SEGUNDO BLVD., SUITE 1 & 3
                    HAWTHORNE, CA 90250


                    SHANGHAI KORRUN BAGS & LUGGAGE PRODUCTS
                    5F, NO.14 CAOHEJING HIGH-TECH PARK
                    NO. 518 XINZHUAN RD., SHANGHAI,
                    SONGJIANG 201612
                    CHINA


                    SHELLEY KOSTIUK
                    5112 LAUREL CANYON BLVD.
                    VALLEY VILLAGE, CA 91607


                    SHENZHEN CHUANGWEI ELECTRONIC APPLIANCE
                    6F, TABLET BLDG.,SKYWORTH INDL.PARK,
                    TANGTOU, BAO'AN DISTRICT,
                    SHENZHEN 518108
                    CHINA
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                    SHENZHEN CITY ALLENSON PHOTOELECTRIC
                    CO., LTD.
                    GUANGMING NEW DISTRICT, SHENZHEN, 518000
                    CHINA


                    SHENZHEN DI SI DA ELECTRON CO., LTD
                    SEAT 5, ZONE 2 FUQIAO INDUSTRIAL PARK
                    FUYONG TOWN, BAOAN DISTRICT, SHENZHEN,
                    GUANGDONG, 518128
                    CHINA


                    SHENZHEN KTC COMMERCIAL DISPLAY
                    TECHNOLOGY CO. LTD.
                    NORTHERN WUHE ROAD, BANXUEGANG INDUSTRY,
                    BUJI, SHENZHEN, 518129
                    CHINA


                    SHENZHEN KTC TECH
                    NORTHERN WUHE ROAD
                    BANGXUEGANG INDUSTRY AREA,
                    SHENZHEN, CHINA


                    SHINE TAKE METAL CO., LTD.
                    NO.33, LANE 346, JONG-FENG RD.,
                    NAN-SHYH SEC. 2, PING-JENG, TAOYUAN 324
                    TAIWAN, R.O.C.


                    SHIPPERS INSURANCE PROGRAM
                    P.O. BOX 607
                    SULLIVAN, MO 63080


                    SIAPIN HORTICULTURE, INC.
                    9103 PERKINS ST.,
                    PICO RIVERA, CA 90660


                    SIBELCO ASIA PTE LTD.
                    180 CLEMENCEAU AVE.
                    HAW PAW CENTER #05-01
                    239922
                    SINGAPORE
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                    SIRIUS COMPUTER SOLUTIONS, INC.
                    P.O. BOX 202289
                    DALLAS, TX 75320-2289


                    SoCalGas
                    P.O.BOX C
                    MONTEREY PARK, CA 91756


                    SOLARANNA LTD.
                    GRIPOLY MILLS RETAIL PARK,
                    UNIT 3-5, SIPER ROAD
                    CARDIFF CF118AA
                    UNITED KINGDOM


                    SOLLEGA INC.
                    2480 MISSION STREET, SUITE 107B
                    SAN FRANCISCO, CA 94110


                    SONGLIN TECHNOLOGY CORP.
                    NO. 1-7, LANE 489, DONGYONG ST.,
                    BADE CITY, TAOYUAN COUNTY 33458
                    TAIWAN


                    SOUTH BAY FABRICATION, INC.
                    15421 ELECTRONIC LANE
                    HUNTINGTON BEACH, CA 92649


                    SOUTHERN CALIFORNIA EDISON
                    P.O. BOX 300
                    ROSEMEAD, CA 91772-0001


                    SOUTHERN CALIFORNIA IMMEDIATE MEDICAL
                    CENTER
                    7300 ALONDRA BLVD. SUITE 101
                    PARAMOUNT, CA 90723
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                    STAPLES ADVANTAGE
                    P. O. BOX 105638
                    ATLANTA, GA 30348-5638


                    STAR BRITE BUILDING MAINTENANCE, INC.
                    2688 DAWSON AVE
                    SIGNAL HILL, CA 90755


                    STARRAG USA INC.
                    # DEPT. 781810
                    P.O. BOX 78000
                    DETROIT, MI 48278-1810


                    STATE BOARD OF EQUALIZATION
                    ACCOUNT INFO GROUP, MIC:29
                    P.O. BOX 942879
                    SACRAMENTO, CA 94279-0029


                    STATE COMPENSATION INSURANCE FUND
                    P.O. BOX 7441
                    SAN FRANCISCO, CA 94120-7441


                    STATE OF CALIFORNIA
                    FRANCHISE TAX BOARD
                    P.O. BOX 942867
                    SACRAMENTO, CA 94267-2021


                    STORED ENERGY SYSTEMS, LLC
                    1840 INDUSTRIAL CIRCLE
                    LONGMONT, CO 80501


                    STRIKE TECHNOLOGIES AKA PENBRO KELNICK
                     PTY LTD.
                    31 PARK AVENUE NORTH-HIGHWAY BUSINESS PK
                    CENTURION, GAUTENG, 0132
                    SOUTH AFRICA
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                    Striko-Westofen-Dynarad Furnance Corp.
                    29968 NETWORK PLACE
                    CHICAGO, IL 60673


                    SUZHOU BLUE BRIDGE ELECTRONIC CO. LTD
                    WUZHONG DISTRICT, SUZHOU CITY
                    JIANGSU PROVINCE, CHINA


                    SWISSAM PRODUCTS LTD.
                    CITICORP CENTER, 18 WHITFIELD ROAD,
                    29TH FLOOR, NORTH PARK
                    HONG KONG


                    T-MOBILE
                    P.O. BOX 790047
                    ST. LOUIS, MO 63179-0047


                    T. L. ASHFORD
                    P. O. BOX 17098
                    FORT MITCHELL, KY 41017


                    TAIWAN RECTRONIC ENTERPRISE CORP.
                    5F., NO.7, LANE 50, SECTION 3
                    NAN KANG ROAD, TAIPEI 115
                    TAIWAN


                    TATUNG COMPANY
                    22 CHUNGSHAN N. RD.
                    SEC. 3
                    CHINA


                    TAYLORLONG & ASSOCIATES
                    1718 SE CUTTER LANE, SUITE 200
                    VANCOUVER, WA 98661
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                    TEAM-ONE SAFETY SERVICES/ PAUL T. PATINO
                    18224 GREVILLEA AVE.
                    REDONDO BEACH, CA 90278


                    TECHMAN ELECTRONICS CHANGSHU CO. LTD.
                    NO. 66 DALIAN ROAD, HIGH-TECH IND. PARK
                    CHANGSHU ECONOMIC DEVELOPMENT ZONE,
                    JIANGSU
                    CHINA


                    TED JOHNSON PROPANE
                    5140 N. ELTON STREET
                    BALDWIN PARK, CA 91706


                    TEMPEL DE MEXICO
                    P.O. BOX 677888
                    DALLAS, TX 75267-7888


                    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
                    111 E. 17TH ST.
                    AUSTIN, TX 78774-0100


                    THE BRIGHT GROUP, LLC
                    1660 HELM DRIVE, SUITE #100
                    LAS VEGAS, NV 89119


                    THE CHIDLEY & PETO COMPANY
                    P.O. BOX 309
                    ITASCA, IL 60143-0309


                    THE DOW CHEMICAL COMPANY
                    2030 WILLARD H DOW CENTER
                    MIDLAND, MI 48674
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                    THE FRENCH CORPORATION DBA CONNOMAC CORP
                    340 WASHINGTON AVENUE
                    LA GRANGE, IL 60525


                    THE NORTHEAST GROUP, LLC
                    129 MORGAN DRIVE, 1ST FLOOR
                    NORWOOD, MA 02062


                    THE OUTDOOR RECREATION GROUP, LLC
                    DBA AGILE BRANDS
                    3450 MOUNT VERNON DRIVE
                    LOS ANGELES, CA 90008


                    THE SOCO GROUP a division of
                    SC COMMERCIAL, LLC
                    5962 PRIESTLY DRIVE
                    CARLSBAD, CA 92008


                    THE TOLL ROADS
                    VIOLATION DEPT
                    P.O. BOX 57011
                    IRVINE, CA 92619-7011


                    THT PRESSES, INC.
                    7475 WEBSTER ST.,
                    DAYTON, OH 45414


                    TIEWRAPS.COM INC.
                    P.O. BOX 421132
                    SAN DIEGO, CA 92142


                    TMA WORLDWIDE, INC.
                    4038 AITKEN DAIRY RD.
                    ROCKLIN, CA 95677
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                    TMX LOGISTICS, INC.
                    9660 PLAZA CIRCLE
                    EL PASO, TX 79927


                    TOPFLY CORPORATION
                    NO.9, NEI-SHI ROAD, NEI-TSUOH VILLAGE
                    LU CHU HSIANG, TAO-YUAN 338 TAIWAN,R.O.C
                    TAIWAN, R.O.C.


                    TORRANCE ELECTRONICS, INC.
                    1545 WEST CARSON ST.
                    TORRANCE,, CA 90501


                    TOUCHTONE CORP.
                    P. O. BOX 5719
                    IRVINE, CA 92616-5719


                    TOYOTA FINANCIAL SERVICES
                    P. O. BOX 4102
                    CAROL STEAM, IL 60197-4102


                    TOYOTA FINANCIAL SERVICES
                    P.O. BOX 4102
                    CAROL STREAM, IL 60197


                    TRACKSTAR PRINTING INC.
                    1140 W. MAHALO PLACE,
                    RACHO DOMINGUEZ, CA 90220


                    TRAVELERS
                    P.O. BOX 660317
                    DALLAS, TX 75266-0317
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                    TREASURER STATE OF MAINE
                    DEPT. OF ENVIRONMENTAL PROTECTION
                    NATURAL RESOURCES SERVICE CENTER
                    155 STATE HOUSE STATION
                    AUGUSTA, ME 04333-0155


                    TRICO MFG. CORP.
                    1235 HICKORY STREET
                    PEWAUKEE, WI 53072-3999


                    TRLA GROUP, INC.
                    490 CLOVERLEAF DRIVE
                    BALDWIN PARK, CA 91706


                    TRUE VALUE
                    8600 WEST BRYN MAWR AVENUE
                    CHICAGO, IL 60631


                    TYDEN BROOKS
                    16036 COLLECTION CTR. DRIVE,
                    CHICAGO, IL 60693


                    U.S. CUSTOMS AND BORDER PROTECTION
                    P.O. BOX 979126
                    ST. LOUIS, MO 63197-9000


                    U.S. GROUP CONSOLIDATOR INC.
                    618 GLASGOW AVENUE
                    INGLEWOOD, CA 90301


                    UCFS LASVEGAS, INC
                    1725 S. ESCONDIDO BLVD, SUITE A
                    ESCONDIDO, CA 92025
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                    UL AG
                    75 REMITTANCE DRIVE, SUITE #1524
                    CHICAGO, IL 60675-1524


                    ULINE
                    P.O. BOX 88741
                    CHICAGO, IL 60680-1741


                    UNITED CONCORDIA DENTAL PLANS OF
                    CALIFORNIA, INC.
                    P.O. BOX 31001-0935
                    PASADENA, CA 91110-0935


                    UNITED PARCEL SERVICE
                    PO BOX 894820
                    LOS ANGELES, CA 90189-4820


                    UNIVERSAL FILTERS, INC.
                    1207 MAIN STREET
                    ASBURY PARK,, NJ 07712


                    UNIVERSAL MICROELECTRONICS CO., LTD.
                    3, 27TH RD., TAICHUNG INDUSTRIAL PARK
                    TAICHUNG
                    TAIWAN, R.O.C.


                    UPS FREIGHT
                    28013 NETWORK PLACE
                    CHICAGO, IL 60673-1280


                    UPS SUPPLY CHAIN SOLUTIONS, INC.
                    28013 NETWORK PLACE
                    CHICAGO, IL 60673-1280
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                    USPS-HASLER
                    P.O. BOX 894757
                    LOS ANGELES, CA 90189-4757


                    VARIANT DISPLAYS INC.
                    5007 ONTARIO MILLS PKWY.
                    ONTARIO, CA 91764


                    VARSITY LOGISTICS, INC.
                    ONE PARKWAY NORTH
                    SUITE 400S
                    DEERFIELD, IL 60015


                    VIHONOR OPTO-ELECTRONICS
                    #201 GANGSHAN N. ROAD
                    GANGSHAN TOWN, KAOSHIUNG HSIEN
                    TAIWAN, R.O.C.


                    VISION EXPRESS/WRAG-TIME
                    9841 E. FRONTAGE ROAD
                    SOUTH GATE, CA 90280


                    WASHINGTON STATE
                    DEPARTMENT OF REVENUE
                    P.O. BOX 34054
                    SEATTLE, WA 98124-1054


                    WASHINGTON STATE DEPT OF ECOLOGY
                    CASHIERING UNIT
                    P.O. BOX 47611
                    OLYMPIA, WA 98504-7611


                    WASTE MANAGEMENT
                    LA METRO
                    P.O. BOX 541065
                    LOS ANGELES, CA 90054-1065
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                    WEIDMANN SYSTEMS INTERNATIONAL LTD.
                    UNIT 18. 11/F.,HONGKONG INTERNATIONAL
                    TRADE & EXHIBITION CENTRE
                    1 TRADEMART DRIVE, KOWLOON BAY
                    HONGKONG


                    WESTERN STATES REGIONAL JOINT BOARD
                    920 S. ALVARADO ST.
                    LOS ANGELES, CA 90006-3008


                    WHITE NELSON DIEHL EVANS LLP
                    2875 MICHELLE DRIVE, SUITE 300
                    IRVINE, CA 92606


                    WMMFA
                    116 N. OAKES AVE, SUITE B
                    CLE ELUM, WA 98922


                    WORLD JOURNAL
                    231 ADRIAN ROAD
                    MILLBRAE, CA 94030


                    WORLD JOURNAL LA, LLC
                    1588 CORPORATE CENTER DRIVE
                    MONTEREY PARK, CA 91754


                    WU,YONG-MING



                    XIAMEN COMFORT SCIENCE & TECHNOLOGY
                    GROUP CO., LTD.
                    168#, QIANPU ROAD, SIMING ZONE
                    XIAMEN, FUJIAN 361008
                    CHINA
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                    XIAMEN PRIMA TECHNOLOGY INC.
                    4TH FLOOR, NO. 618, JIAHE ROAD
                    XIAMEN, FUJIAN, P.R. CHINA 361006
                    CHINA


                    XU HUI NATIONAL CO. LTD.
                    2F., NO.3, ALY. 4, LN.326,
                    ZHONGZHNEG RD., NEW TAIPEI, BANQIAO
                    22052
                    TAIWAN


                    YEN XIANG E-MATERIALS CO., LTD.
                    1F., NO.94, DEHUI ST., ZHONGSHAN DIST.,
                    TAIPEI CITY 104
                    TAIWAN, TW


                    YING TCHIN ELECTRONICS CO., LTD.
                    NO.2-3, EAST 9TH ST., K.E.P.Z.,
                    KAOHSIUNG, 806
                    TAIWAN, R.O.C.


                    YRC FREIGHT
                    P.O. BOX 100129
                    PASADENA, CA 91189-0003


                    YUNG CHING LIN
                    1065 N. GLENDORA AVENUE
                    COVINA, CA 91724


                    ZHONGSHAN CITY WHITE HORSE ELECTRIC CO.
                    SHENGHUI NORTH INDUSTRIAL AREA
                    NANTOU ZHONG SHAN, GUANGDONG
                    CHINA


                    ZHONGSHAN GALANZ CONSUMER ELECTRIC
                    APPLIANCES CO., LTD.
                    MAXIN INDUSTRIAL ZONE, XINGPO ROAD,
                    HUANGPO TOWN, ZHONGSHAN, GUANGDONG 52842
                    CHINA
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                    ZYTRONIC DISPLAYS LTD.
                    WHITELEY ROAD
                    BLAYTON, TYNE & WEAR, UK NE21 5NJ
                    UNITED KINGDOM
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Ron Bender 143364
10250 Constellation Blvd.
Suite 1700
Los Angeles, CA 90067
(310) 229-1234 Fax: (310) 229-1244
California State Bar Number: 143364 CA
rb@lnbyb.com




     Attorney for: Debtor
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.: 2:19-bk-21521-NB
         Tatung Company of America, Inc.                                      ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 11

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Jason Chen                                                              , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.      I have personal knowledge of the matters set forth in this Statement because:
           I am the president or other officer or an authorized agent of the Debtor corporation
           I am a party to an adversary proceeding
           I am a party to a contested matter
           I am the attorney for the Debtor corporation
2.a.        The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
            class of the corporation’s(s’) equity interests:
            See Addendum
   b.      There are no entities that directly or indirectly own 10% or more of anyy class
                                                                                      clas
                                                                                      cl ass of the corporation’s equity interest.

10/30/2019                                                                              By:
Date                                                                                            Signature     Debtor,
                                                                                                   naturre of D ebtor, or attorney for Debtor
                                                                                                                eb

                                                                                        Name:         Jason
                                                                                                      Ja
                                                                                                       aso   Chen
                                                                                                         son C hen
                                                                                                      Printed name of Debtor, or attorney for
                                                                                                      Debtor




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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                     Addendum to Corporate Ownership Statement Pursuant to
                  F.R.B.P. 1007(a)(1) and 7007.1, and Local Bankruptcy Rule 1002-5
The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
class of the corporation’s(s’) equity interests:
 Tatung Company




___________________________________________________________________________
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December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
